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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

D&T PARTNERS, LLC (successor in interest           §
to ACET VENTURE PARTNERS, LLC),                    §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §
                                                   §
BAYMARK PARTNERS, LP;                              §
BAYMARK PARTNERS                                   §
MANAGEMENT, LLC;                                   §
SUPER G CAPITAL, LLC;                              §            CIVIL CAUSE NO. 3:21-CV-01171
SG CREDIT PARTNERS, INC.;                          §
BAYMARK ACET HOLDCO, LLC;                          §
BAYMARK ACET DIRECT INVEST, LLC;                   §
BAYMARK PARTNERS;                                  §
DAVID HOOK; TONY LUDLOW;                           §
MATTHEW DENEGRE;                                   §
WILLIAM SZETO;                                     §
MARC COLE;                                         §
STEVEN BELLAH:                                     §
ZHEXIAN “JANE” LIN;                                §
DANA MARIE TOMERLIN;                               §
PADASAMAI VATTANA;                                 §
PAULA KETTER;                                      §
VANESSA TORRES; and                                §
WINDSPEED TRADING, LLC,                            §
                                                   §
                Defendants.                        §

                                    ORIGINAL COMPLAINT

        NOW COMES D&T Partners, LLC (successor in interest to ACET Venture Partners, LLC),

Plaintiff, and files this Original Complaint for civil violations of the Racketeer Influenced and Corrupt

Organizations Act (18 U.S.C. § 1964(c)) (“RICO”), fraud, civil conspiracy to commit fraud, breach of

fiduciary duties, civil conspiracy to commit breach of fiduciary duties, and Texas Uniform Fraudulent

Transfer Act violations against (i) Baymark Partners, LP; (ii) Baymark Partners Management, LLC

(“BP Management”); (iii) Super G Capital, LLC (“Super G”); (iv) SG Credit Partners, Inc. (“SG

Credit”); (v) Baymark ACET Holdco, LLC; (vi) Baymark ACET Direct Invest, LLC; (vii) Baymark

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Partners (“Baymark”); (viii) David Hook (“Hook”); (ix) Tony Ludlow (“Ludlow”); (x) Matthew

Denegre (“Denegre”); (xi) William Szeto (“Szeto”); (xii) Marc Cole (“Cole”); (xiii) Steven Bellah

(“Bellah”); (xiv) Zhexian “Jane” Lin (“Lin”); (xv) Dana Marie Tomerlin (“Tomerlin”); (xvi) Padasamai

Vattana (“Vattana”); (xvii) Paula Ketter (“Ketter”); (xviii) Vanessa Torres (“Torres”); and (xix)

Windspeed Trading, LLC (“Windspeed”). Predicate acts giving rise to the RICO claims include (i)

mail fraud in violation of 18 U.S.C. § 1341; (ii) wire fraud in violation of 18 U.S.C. § 1343; (iii)

obstruction of the due administration of justice in violation of 18 U.S.C. § 1503; (iv) bankruptcy fraud

in violation of 18 U.S.C. § 152; and (v) money laundering in violation of 18 U.S.C. § 1956. In support

thereof, Plaintiff states as follows:

                                          I.    SHORT SUMMARY

    1. “Matthew, shut the fuc* up.”1 During the deposition of Defendant and co-conspirator

Matthew Denegre, fellow Defendant and co-conspirator Tony Ludlow2 interrupted and exclaimed,

“Matthew, shut the fuc* up,” after a question was posed about the fraudulent foreclosure sale at issue

in this case. Denegre refused to answer the then-pending question after Ludlow, his boss, interrupted

the deposition. It was, at the time, Ludlow and his co-conspirators’ latest obstructionist act designed

to carry out their criminal enterprise.3

    2. Baymark is a criminal enterprise. Baymark4 and its directors orchestrated a multi-million-

dollar fraudulent transfer and engaged in a years-long pattern of racketeering. They orchestrated the



1 See infra note 72 and accompanying text; see infra p. 128; see also Exhibit 1, Dep. of Matt Denegre, 128:17-129:01. All

exhibits hereto are adopted and incorporated by reference in this Original Complaint for all purposes and as if set forth
herein in full.
2 Ludlow is a licensed attorney and CPA in the state of Texas.
3 Some of the defendants to this suit are parties to an ongoing state court proceeding: D&T Partners v. ACET Global,

LLC, Cause No. DC-19-09828 (116th District Court of Dallas County) (J., Parker). Plaintiff anticipates seeking a limited
stay of that suit or other relief.
4 As stated above, Baymark Partners is referred to in this Complaint as “Baymark.” However, Baymark; Baymark ACET

Holdco, LLC; Baymark Partners, LP; Baymark ACET Direct Invest, LLC; and Baymark Management, LLC were
collectively used as a sham to commit fraud under the umbrella of Baymark and at the direction and control of Denegre,
Ludlow, and Hook.

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wholesale transfer of ACET Global, LLC’s (“ACET Global”) assets and operations to an entity that

they secretly owned and controlled—all in avoidance of its creditor, D&T Partners, LLC (“D&T

Partners”). Six months after transferring those assets and operations, they drafted, executed, and

backdated documents intended to create a misleading and false trail of a foreclosure. As a result of

their fraud and collusive after-the-fact “foreclosure” (of phantom assets), they stole millions of dollars.

This sophisticated fraud involved the wholesale theft of ACET Global’s intellectual property and the

use of a secret set of books. Baymark and its principals laundered funds and proceeds of their frauds

through a string of shell entities. They carried out a bankruptcy fraud designed to cover up the fraud.5

Baymark and its principals then engaged in the solicitation of perjury and committed extensive perjury

and obstruction of proceedings. They committed tax fraud to further the scheme. Aiders and

abettors—not all of whom are currently named as defendants in this lawsuit—emboldened the

Defendants.

    3. The Defendants conspired to defraud D&T Partners. D&T Partners is and was a secured

creditor of ACET Global. ACET Global owed a $3.2 million note (“D&T Note”) to D&T Partners.

(Exhibit 12, Secured Promissory Note). A security interest in all of ACET Global’s assets secured the

D&T Note. (Exhibit 11, Security Agreement). Payments on the D&T Note came due on October 31,

2018. (Exhibit 12).

    4. Baymark held 100% beneficial ownership in, and control over, ACET Global through a string

of shell entities that were, according to Baymark’s managing director and partner, Hook, “just pieces

of paper.” (Exhibit 7, Dep. of David Hook, 165:01-04). Ludlow and Hook owned Baymark. They

and their co-defendants carried out a fraudulent scheme to transfer ACET Global’s assets and business

operations to a new entity that they secretly owned and controlled.




5 The bankruptcy court denied relief.



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    5. Two weeks before the $3.2 million D&T Note payments came due, the Defendants carried

out the fraudulent transfer of ACET Global’s assets (tangible and intangible) and complete business

operations to a newly formed entity: Windspeed. That transfer was designed to allow the Defendants

to continue the business operations free from D&T Partners’ security interest in ACET Global’s assets

and business operations.

    6. The scheme was set in motion in 2017. The critical steps were carried out in the summer and

fall of 2018. On September 27, 2018, Szeto, while still operating as the Baymark-installed CEO of

ACET Global, filed a certificate of formation for Windspeed. (Exhibit 13, Windspeed Certificate of

Formation). Baymark and Super G utilized Szeto to form Windspeed to hide their interest in the new

entity.

    7. Baymark, Super G, and Szeto beneficially owned Windspeed. (Exhibit 14, Windspeed

Operating Agreement). They memorialized the ownership in an undisclosed agreement whereby

Baymark Partners held warrants (exercisable for a nominal price of $100) for 40% of Windspeed.

(Exhibit 15, Warrant Purchase Agreement (Windspeed-Baymark)). Super G also held warrants

(exercisable for a nominal price of $100) for 40% of Windspeed. (Exhibit 16, Warrant Purchase

Agreement (Windspeed-Super G Capital)). Szeto held the remaining 20% of Windspeed. (Exhibit 14).

    8. Baymark and Super G, however, maintained complete operational control over Windspeed

through guaranteed board positions under Windspeed’s operating agreement. Under that agreement,

Baymark and Super G, together, controlled all decisions regarding Windspeed.

    9. Baymark, Super G, and Szeto, as part of their fraudulent-transfer scheme, caused ACET

Global to transfer all of its assets and operations to Windspeed in October of 2018.

    10. The following occurred after this October 2018 transfer: (i) the Defendants caused Szeto to

simultaneously serve as the CEO of ACET Global and Windspeed; (ii) the Defendants transferred all




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of ACET Global’s employees to Windspeed;6 (iii) the Defendants transferred all of ACET Global’s

assets to Windspeed (e.g., desks, microwave, inventory, and intellectual property); (iv) Denegre

instructed Szeto to maintain “two separate books for obvious reasons” for Windspeed and ACET Global;

(v) Ludlow and Denegre requested “consolidated reports” for ACET Global and Windspeed; (vi)

Ludlow testified that he did not know where ACET Global’s inventory was located between October

of 2018 and March of 2019;7 (vii) Windspeed usurped ACET Global’s website and published a carbon

copy of ACET Global’s former website; (viii) Windspeed began to sell the same distinct and unique

ACET products that would later be reflected on ACET Global’s inventory of items in a fraudulent

“Foreclosure Sale Agreement,” which would not be drafted and executed for another six months; (ix)

the Defendants did not segregate ACET Global’s inventories from Windspeed’s, but instead sold both

off indiscriminately;8 (x) the Defendants “s[old] off all the ACET inventory;”9 (xi) the Defendants

diverted revenues from the sale of ACET Global’s inventory;10 (xii) the Defendants continued to

conduct the business’s operations,11 purchasing new assets and inventory under ACET Global’s

existing accounts; “finishe[d] up ACET’s business,”12 utilizing the “same employees,”13 “same

equipment,”14 “same vendors,”15 and “the same customers;”16 and usurped ACET Global’s partner

and marketplace accounts and relationships;17 (xiii) the Defendants wrongfully attempted to change

an issued IRS Form 1099-K, which reported that Windspeed had received revenue in every month of

2018, to reflect that the revenue reported was to ACET instead; and (xiv) the Defendants caused the


6 See infra pp. 67-70..
7 See infra p. 77; see also Exhibit 3, Dep. of Tony Ludlow, 22:25-23:02.
8 See infra pp. 82-24; see also Exhibit 4, Dep. of Dana Tomerlin, 47:02-14.
9 See infra p. 82; see also Exhibit 2, Dep. of William Szeto, 219:01-13.
10 See infra pp. 86-87; see also Exhibit 2, Dep. of William Szeto, 251:21-25.
11 See infra p. 84; see also Exhibit 5, Dep. of Jane Lin, 77:04-08; Exhibit 4, Dep of Dana Tomerlin, 37:17-38:07.
12 See infra p. 85; see also Exhibit 2, Dep. of William Szeto, 200:09-201:09.
13 See infra p. 85.
14 Id.
15 Id.
16 Id.
17 On December 5, 2018, for example, Jane Lin, a former employee of ACET Global, executed an Authorize.Net Request

for a New Account Owner to be the new account owner of an ACET Global account (using her Windspeed email address).

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intentional deletion of all of ACET Global’s emails and electronic data after the October 2018 default

on the D&T Note.18

    11. In January of 2019, after most of ACET Global’s inventory had been sold, Baymark and Super

G coordinated to serve a Notice of Disposition and Sale of Collateral (“Notice”) upon ACET Global

to provide notice of a “foreclosure” on the very assets that the Defendants had already transferred to Windspeed

months before. (Exhibit 17, Notice of Disposition and Sale of Collateral). Hallett & Perrin represented

Baymark as its legal counsel. Hallett & Perrin and Super G’s law firm drafted this Notice. Hallett &

Perrin then drafted a Foreclosure Sale Agreement between Windspeed and Super G (despite the fact

that it now maintains that it did not represent Windspeed),19 and “backdated” the Foreclosure Sale

Agreement at Baymark’s instruction. Hallett & Perrin has, in sworn testimony, acknowledged

that it backdated the Foreclosure Sale Agreement, and justified the backdating (which was not

effective dating, but was actual backdating) with the following testimony: “it’s not uncommon to

backdate something.”20 (Exhibit 18, Foreclosure Sale Agreement).

    12. The Foreclosure Sale Agreement “memorialized” a sham transaction. First, it was backdated

to March 1, 2019. Second, it stated that Windspeed was purchasing the assets (the same assets that it

had already taken over and begun selling/utilizing some six months before) for $514,144.86. Notably,

ACET Global owed Super G $514,515 at this time—an amount that the Defendants and Hallett &

Perrin have testified was “not correlated with the value of ACET Global’s assets.”21 Also of note,

Baymark had contributed exactly $516,000 of “capital” to ACET Global from 2017 until the date of

the execution of the Foreclosure Sale Agreement.


18 See infra pp. 129-31; see also Exhibit 2, Dep. of William Szeto, 124:11-20, and 260:07. Likewise, Ludlow (and others)

further testified to the spoliation right after the fraudulent transfer and breach of the D&T Note in October 2018. See
Exhibit 3, Dep. of Tony Ludlow, 113:05-18.
19 Hallett & Perrin not only drafted the purported Foreclosure Sale Agreement, it served as the notice attorney for

Windspeed. As detailed at Exh. 38 and paragraph 206 hereof, Super G’s attorney has admitted that Hallett & Perrin
represented Windspeed in the transaction.
20 See infra p. 105; see also Exhibit 6, Dep. of Julie Smith, 35:07-36:01.
21 See infra p. 108; see also Exhibit 3, Dep. of Tony Ludlow, 174:08-175-04.



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    13. In actuality, ACET Global’s assets were worth millions of dollars. Just several months later

(as set forth in paragraph 17 and in more detail later), Baymark, Ludlow, and Hook informed the IRS

that the assets were worth more than $3 million—although only months before then, they (fraudulently)

informed a federal bankruptcy court that the assets were worth a mere $30,000.

    14. On October 23, 2019, Ludlow, Denegre, and Baymark filed a fraudulent bankruptcy petition

to complete and mask their fraud. The bankruptcy petition falsely stated that within two years of the

petition ACET Global had not transferred any inventory to any person. (Exhibit 19, Bankruptcy

Petition). Indeed, as set forth in the Bankruptcy Section of this Complaint below, the bankruptcy

petition, which Ludlow signed, contained an alarming number of knowingly and intentionally false

statements intended to hide the October 2018 transfer of ACET Global’s assets to an entity that

Baymark and its affiliates owned. The bankruptcy petition included material false statements that (i)

no accountant or other person (other than Denegre) had ACET Global’s books and records; (ii) no

inventories of ACET Global had been taken within two years of the petition; (iii) there had been no

transfers of any assets to insiders or affiliates; (iv) ACET Global and its affiliates had not stored any

inventories or property in an offsite storage unit within a year of the petition; (v) ACET Global had

not transferred any property other than in the ordinary course of business; and (vi) the property

transferred to Super G was only valued at $30,000 (despite a “purchase price” of $514,000 in the

fraudulent Foreclosure Sale Agreement between Windspeed and Super G).

    15. The Defendants engaged in the fraudulent scheme well aware of the legal risks. Indeed,

Baymark consulted with its legal counsel, Hallett & Perrin, who advised Baymark that the transaction

gave rise to criminal and civil fraud risks. Nonetheless, that same law firm drafted the transaction

documents. Those communications were subject to the crime-fraud exception.

    16. Several of the co-conspirators have been deposed in another judicial matter. They deliberately

and knowingly gave false testimony in those matters—the most recent acts in furtherance of their


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conspiracy and fraudulent scheme. That testimony was part of a scheme to carry out their fraud, to

obstruct justice, and to mask their bankruptcy fraud.

    17. After executing the fraud and transferring all of ACET Global’s assets to Windspeed, Baymark

unwittingly left a detailed admission of the damages and the value of ACET Global’s assets by filing

federal tax returns with the Internal Revenue Service. (Exhibit 20, ACET 2019 Tax Return). In the

2019 tax return reporting of ACET Global’s assets and activities, Baymark, Ludlow, and Hook

reported that ACET Global had $3.169 million of assets as of December 31, 2018.22 Ludlow executed

a tax return under penalty of perjury averring as much. (Exhibit 21, ACET 2019 Efile Authorization).

    18. Additionally, Ludlow submitted a 2019 tax return to the IRS reflecting that Baymark had

received $2,907,290 in “proceeds” from the foreclosure sale of ACET Global’s assets.23 (Exhibit 20).

He also signed a return reflecting that ACET Global had paid a management fee of $112,500 to

Baymark’s management company, evidencing its efforts to siphon off funds for the benefit of

Baymark’s principals.24

    19. To date, not a penny has been paid on the D&T Note. They have intimated willingness to

settle for nuisance-suit figures.

                                        II. JURISDICTION & VENUE

    20. This Court has subject matter jurisdiction over this action under 18 U.S.C. § 1964. This Court

has original subject-matter jurisdiction under 18 U.S.C. § 1964(c) and 28 U.S.C. § 1331 because this

action arises, in part, under the Federal Racketeer Influenced and Corrupt Organizations Act (“Federal

RICO”).

    21. Venue is proper in this judicial district under 18 U.S.C. § 1965 and 28 U.S.C. § 1391 because

Defendants are subject to personal jurisdiction in this judicial district and reside in this district.


22 See infra note 71 and accompanying text; see infra p. 132; see also Exhibit 7, Dep. of David Hook, 158:03-23.
23 See infra pp. 127, 132, 133; see also Exhibit 7, Dep. of David Hook, 161:08-24.
24 See infra pp. 122, 133; see also Exhibit 7, Dep. of David Hook, 159:04-21.



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    22. A substantial part of the events or omissions giving rise to the action occurred in this district.

28 U.S.C. § 1391(a)(2).

    23. A substantial part of this action arises under the laws of the United States. 28 U.S.C. §§ 1331

and 1337.

    24. This Court has personal jurisdiction over Defendant Super G because Super G has

purposefully directed actions at this forum to obtain benefits from the scheme. Super G entered into

a contract with an entity domiciled in and doing business in Texas (i.e., ACET Global); had an

employee in Texas (i.e., Steven Bellah); became an owner of, and board member of, a Texas-based

entity (Windspeed); and conspired with Texas-based persons. The exercise of jurisdiction over Super

G is reasonable.

    25. Likewise, the Court has personal jurisdiction over Defendant SG Credit because it has

purposefully directed actions at this forum to obtain benefits from the scheme. SG Credit assumed a

contract with an entity domiciled in and doing business in Texas (i.e., ACET Global); had an employee

in Texas (i.e., Steven Bellah); assumed ownership of, and a board member seat of, a Texas-based entity

(Windspeed); and conspired with Texas-based persons.

    26. This Court has personal jurisdiction over Cole because he purposefully directed actions at this

forum to obtain benefits from the scheme. Cole was the executive and primary beneficiary of Super

G Capital and SG Credit Partners. Cole was engaged personally in many of the acts pled in this

Complaint. The exercise of jurisdiction over Cole is reasonable.

    27. This Court further has personal jurisdiction over Super G, SG Credit, and Cole under 28

U.S.C. § 1965(b) because in any action brought under the Federal RICO statute in a U.S. District

Court, that Court may cause parties residing in another district to be summoned to that district if the

“ends of justice require” it. Given these facts, and that no other district has personal jurisdiction over




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all defendants, the ends of justice require this Court’s exercise of personal jurisdiction over Super G,

SG Credit, and Cole.

    28. Along with the acts alleged in this Complaint, the Defendants directly or indirectly used the

means and instrumentalities of interstate commerce and the United States mail.

    29. Baymark Partners is an enterprise within the meaning of 18 U.S.C. §1961(4) that operates in

interstate commerce and the activities of which affect interstate commerce.

                                                  III. PARTIES25

    30. Plaintiff D&T Partners, LLC (successor in interest to ACET Venture Partners, LLC) is a

limited liability company formed in the state of Texas.

    31. Defendant Baymark Partners, LP was a limited partnership formed in the state of Delaware,

although it forfeited its certificate and limited liability status in Texas over a decade ago. It may be

served with process at 5700 Granite Parkway, Suite 435, Plano, Texas 75024, or wherever it may be

found.

    32. Defendant BP Management is a limited liability company formed in the state of Texas and

may be served with process at 5700 Granite Parkway, Suite 435, Plano, Texas 75024, or wherever it

may be found.

    33. Defendant Super G is a limited liability company formed in the state of Delaware and may be

served with process at 23 Corporate Plaza Drive, Suite 135, Newport Beach, California 92660, or

wherever it may be found.

    34. Defendant SG Credit is a corporation formed in the state of Delaware and may be served with

process at 301 Carnation Avenue, Corona Del Mar, California 92625, or wherever it may be found.26



25 Plaintiff reserves the right to add ACET Global, LLC as a defendant.
                                                                     However, at this time, it has deliberately elected
not to do so.
26 According to the sworn testimony of Marc Cole, the “SG” in SG Credit Partners is an acronym that stands for “Super

G”—that is, “Super G” Credit Partners, LP.

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   35. Defendant Baymark ACET Holdco, LLC is a limited liability company formed in the state of

Texas and may be served with process at 5700 Granite Parkway, Suite 435, Plano, Texas 75024, or

wherever it may be found.

   36. Defendant ACET Direct Invest, LLC is a limited liability company formed in the state of Texas

and may be served with process at 5700 Granite Parkway, Suite 435, Plano, Texas 75024, or wherever

it may be found.

   37. Defendant Baymark Management, LLC is a limited liability company formed in the state of

Texas and may be served with process at 5700 Granite Parkway, Suite 435, Plano, Texas 75024, or

wherever it may be found.

   38. Defendant Baymark is a general partnership between Hook and Ludlow with its principal

place of business at 5700 Granite Parkway, Suite 435, Plano, Texas 75024. Its management and

employees hold it out as “Baymark Partners.”

   39. Defendant Hook is an individual and managing director of Baymark at all times relevant to

this Complaint. He can be served with process at his office at Baymark Partners, 5700 Granite

Parkway, Suite 435, Plano, Texas 75024, or wherever he may be found.

   40. Defendant Ludlow is an individual and managing director of Baymark at all times relevant to

this Complaint. He can be served with process at his office at Baymark Partners, 5700 Granite

Parkway, Suite 435, Plano, Texas 75024, or wherever he may be found.

   41. Defendant Denegre is an individual and a director of Baymark at all times relevant to this

Complaint. He can be served with process at his office at Baymark Partners, 5700 Granite Parkway,

Suite 435, Plano, Texas 75024.

   42. Defendant Szeto is an individual and the CEO of ACET Global and Windspeed at all times

relevant to this Complaint. He can be served with process at his office at Baymark Partners, 5700

Granite Parkway, Suite 435, Plano, Texas 75024.


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   43. Defendant Cole is an individual and the Managing Director of SG Credit and CFO of Super

G at all times relevant to this complaint. He can be served with process at his place of residence at

215 Redlands St, Playa Del Rey, California 90293.

   44. Defendant Bellah is an individual and senior executive of SG Credit and Super G at all times

relevant to this complaint. He can be served with process at his place of residence at 647 Lake Park

Dr, Coppell, Texas 75019.

   45. Defendant Lin is an individual and Accountant for Windspeed and ACET Global at all times

relevant to this Complaint. She can be served with process at her place of residence at 4536 Bending

Oak Trail, Plano, Texas 75024.

   46. Defendant Tomerlin is an individual and fulfillment center employee at Windspeed and ACET

Global at all times relevant to this Complaint. She can be served at her place of residence at 3701

Lamesa Drive, Garland, Texas 75041.

   47. Defendant Vattana is an individual and Sales Manager for Windspeed and ACET Global at all

times relevant to this Complaint. She can be served at her place of residence at 1468 Santa Anita

Boulevard, Irving, Texas 75060.

   48. Defendant Ketter is an individual and fulfillment center employee at Windspeed and ACET

Global at all times relevant to this Complaint. She can be served at her place of residence at 4528 W

Pioneer Dr, Apt 383, Irving, Texas 75061.

   49. Defendant Torres is an individual and employee at Windspeed and ACET Global at all times

relevant to this Complaint. Her current address or location for service of process is currently

unknown.

   50. Defendant Windspeed is a limited liability company formed in the state of Texas and may be

served with process at 2711 N. Haskell Ave., Suite 2400, Dallas, Texas 75024, or wherever it may be

found.


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                                                   IV. FACTS

    51. In the summer of 2017, Baymark and its principals (i.e., Ludlow, Hook, and Denegre)

approached Tomer Damti (“Damti”) seeking to purchase the assets of ACET Venture Partners, LLC.

D&T Partners was engaged in a successful e-commerce business and had built a significant e-

commerce platform. Baymark and its principals wanted to diversify their operations and particularly

sought a platform to engage in e-commerce. They planned to ultimately divest the company of its

assets and operations and to use those assets to bolster other business investments and operations.

    52. Baymark Forms ACET Global to Purchase the Assets. Following negotiations, Baymark

structured a transaction to purchase the assets of ACET Venture Partners, LLC for $ 4,050,000.

Baymark formed an entity to serve as the vehicle for the purchase: ACET Global. Via multiple shell

companies (as further described below), Baymark held 100% beneficial ownership of ACET Global.27

    53. The Asset Purchase Agreement. ACET Global purchased the assets of ACET Venture

Partners, LLC according to an Asset Purchase Agreement (the “APA”) dated July 14, 2017.

    54. The Shell Entities That Hook Describes as “Just Pieces of Paper.” Before the APA,

Baymark ACET Direct Invest, LLC wholly owned and controlled Baymark ACET Holdco, LLC.

Baymark (and Ludlow and Hook) controlled Baymark ACET Direct Invest, LLC. Baymark ACET Direct

Invest, LLC remained the majority member of Baymark ACET Holdco, LLC after the APA. At that

time, Baymark ACET Holdco, LLC wholly owned and controlled ACET Global. Baymark (and

Ludlow and Hook) ultimately controlled Baymark ACET Direct Invest and, by extension, also controlled


27 Nonetheless, David Hook, the managing member of Baymark Partners and the president of ACET Global, has

maintained under oath that Baymark Partners actually owned and owns ACET Global directly. He has testified as follows:

         Q. Okay. So, Baymark Partners owned ACET Global?
         A. Part of it.
         Q. What do you mean “part of it”?
         A. Majority.
         Q. Okay. Baymark Partners owned the majority of ACET Global?
         A. Yeah. One of those entities.
(Exhibit 7, Dep. of David Hook, 84:03-09).

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Baymark ACET Holdco, LLC and ACET Global. Ludlow and Hook also ultimately exercised control

over BP Management, as well as Baymark.

    55. According to Hook, the string of Baymark shell entities were “just pieces of paper.” (Exhibit

7, Dep. of David Hook, 165:01-04). Nothing truly happened within the shell entities. Further, the shell

companies didn’t do anything or serve an economic purpose. Hook has testified to this effect

regarding the shell entities:

                A. They were entities. So, they’re either -- in our office at Baymark Partners.
                Q. So, they -- they shared Baymark Partners’ office?
                                  MR. PERRIN: Objection, form.
                A. It -- it’s an entity. It’s a piece of paper.
                Q. (By Mr. Freeman) Right. So, I mean, I – I get it. Each of these entities
                is -- just basically is a piece of paper?
                                  MR. PERRIN: Objection, form.
                A. Yes.

(Exhibit 7, Dep. of David Hook, 164:19-165:4) (bold added).

                A. They got formed due to the buying of the company. There’s nothing that happens
                in there at all.
                Q. (By Mr. Freeman) They don’t do anything, really?
                A. No.

(Exhibit 7, Dep. of David Hook, 166:6-10) (bold added).

                Q. Okay. I mean, are these entities, like, they just all kind of the same to you?
                               MR. PERRIN: Objection, form.
                A. Yes, and -- yes.

(Exhibit 7, Dep. of David Hook, 45:24-46:02).

    56. Indeed, Hook elaborated on the fact that the string of shell entities, over which he, as

managing member of Baymark, had authority, was a façade:

                Q. Okay. Mr. Hook, whenever -- for each of your -- your Baymark entities
                involved in this -- you know, we went over quite a number of them. And
                you’ll recall these included ACET Global, LLC; Baymark ACET Holdco,
                LLC; Baymark ACET Direct Invest, LLC; Baymark Management, LLC;
                Baymark Partners -- the various interest -- entities. Do each of these entities
                have their own email?
                                 MR. PERRIN: Objection, form.


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               A. No.
               Q. (By Mr. Freeman) No?
               A. No.
               Q. So, what email address do you use when you’re corresponding on behalf
               of those entities?
               A. David@Baymarkpartners or Dhook@baymarkpartners.com.
               Q. Okay. So that’s your Baymark Partners’ email address?
               A. Those two are, uh-huh.
               Q. Okay. And do you have a separate phone number for each of these
               entities?
               A. No.
               Q. Okay. So what phone number do you use when you’re corresponding on
               behalf of these entities?
               A. [REDACTED]
               Q. Is that your Baymark Partners’ phone number?
               A. Yes.
               Q. Do each of these entities have separate bank accounts?
               A. I don’t think so.
               Q. Okay. So they just use Baymark Partners’ bank accounts?
                                 MR. PERRIN: Objection, form.
               A. Yeah. Again, the Baymark Management is our operating company.
               Q. (By Mr. Freeman) Okay. And who are its directors or officers?
               A. Tony Ludlow and myself.
               Q. Okay. That’s Baymark Management, LLC?
               A. I think it’s an LLC.
               Q. With these other entities, did they -- did they hold -- any of them have a
               board of directors?
                                 MR. PERRIN: Objection, form.
               A. No.
               Q. (By Mr. Freeman) Did any of them hold meetings?
               A. No.
               Q. Are there any minutes from any meetings related to these companies?
               A. No.
               Q. Any resolutions for these companies?
               A. No.
               Q. Where were their offices?
               A. They were entities. So, they’re either -- in our office at Baymark Partners.
               Q. So, they -- they shared Baymark Partners’ office?
                                 MR. PERRIN: Objection, form.
               A. It -- it’s an entity. It’s a piece of paper.
               Q. (By Mr. Freeman) Right. So, I mean, I – I get it. Each of these
               entities is -- just basically is a piece of paper?
                                 MR. PERRIN: Objection, form.
               A. Yes.
               Q. (By Mr. Freeman) Okay. I mean, did they have any employees?
               A. No.
               Q. Did they have attorneys?
               A. No.

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               Q. Did they have, you know, extra capital?
               A. No.
               Q. I mean, were these just, like, single-venture entities; or did they have
               multiple purposes?
               A. No.
                               MR. PERRIN: Objection, form.
               Q. (By Mr. Freeman) I mean, where did their revenues go?
               A. They didn’t have any revenues.
               Q. Did they have any, like, corporate processes or formalities they went
               through?
               A. No.
                               MR. PERRIN: Objection, form.
               Q. (By Mr. Freeman) Who ultimately controlled them?
                               MR. PERRIN: Objection, form.
               A. I don’t know how to answer that question. There’s no control.
               Q. (By Mr. Freeman) I mean, who -- who ended up controlling or making
               decisions for them?
                               MR. PERRIN: Objection, form.
               A. They got formed due to the buying of the company. There’s nothing
               that happens in there at all.
               Q. (By Mr. Freeman) They don’t do anything, really?
               A. No.
                               MR. PERRIN: Objection, form.
               Q. (By Mr. Freeman) They’re just a piece of paper for the file to -- for all
               the paperwork?
                               MR. PERRIN: Objection, form.
               A. They -- they serve a purpose, but it’s a legal purpose.
               Q. (By Mr. Freeman) Okay. Not like a real economic purpose, I guess?
                               MR. PERRIN: Objection, form.
               A. No.
               Q. (By Mr. Freeman) Okay. Did they have -- you know, if they shared the
               office space with you, did they have separate signs?
                               MR. PERRIN: Objection, form.
               A. No. And it’s not “they.” There’s no “they.”
               Q. (By Mr. Perrin) Okay. I mean, did -- it’s just y’all?
               A. Yes.
               Q. Just Baymark Partners?
               A. Yes.
               Q. Okay. I mean, did you keep a -- like, effectively keep a consolidated
               balance sheet, then?
                               MR. PERRIN: Objection, form.
               A. No. There’s no bank account. There’s nothing.
               Q. (By Mr. Freeman) Nothing. Okay.

(Exhibit 7, Dep. of David Hook, 162:16-167:10) (bold added).

   57. Ludlow, who was Hook’s partner, has testified to the same effect:


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                   Q. When you’re corresponding on behalf of Baymark Partners Management,
                   what e-mail address do you use?
                   A. Keep it simple. It’s all used under my convenient e-mail address that I have
                   at Baymark Partners. Dludlow@baymarkpartners.
                   Q. Okay. So you use your Baymark Partners e-mail address. Do you use a
                   different signature block?
                   A. No, I don’t.
                   Q. Does -- do you have a different phone number for Baymark Partners
                   Management?
                   A. I do not.
                   Q. Different office location?
                   A. It is the same office location.
                   Q. Does it have different, distinct employees?
                   A. Trying to -- So there are certain people that work on some or the other, but
                   it’s -- for convenience, I would say it’s the same employees. Different
                   employees work on different things.
                   Q. Same employees. Okay. Are they paid by Baymark Partners?
                   A. Paid by Baymark Management.
                   Q. Baymark Management?
                   A. Baymark Partner – yeah. Baymark Management.
                   Q. Is that the entity we were just talking about, or is that a different entity?
                   A. It’s the same.

(Exhibit 3, Dep. of Tony Ludlow, 101:2-102:3).

                   Q. Did Baymark Partners management, did it have -- you know, did it have a
                   separate sign outside to designate, outside the office?
                   A. No, it didn’t.
                   Q. And no separate website, right?
                   A. No, it didn’t.

(Exhibit 3, Dep. of Tony Ludlow, 103:20-25).

    58. Szeto and Windspeed. At the time of the APA, Baymark had not yet formed Windspeed.

But Baymark had a plan in place to do so. Baymark intended to utilize Szeto to obscure both the

formation of Windspeed and its ties to Baymark. Szeto’s father had used the name “Windspeed

Trading,” and Szeto was partial to the entity name. (Exhibit 2, Dep. of William Szeto, 194:03-05).28

At the time of the APA, Baymark and Denegre were not working on any other transaction involving




28 See Exhibit 2, Dep. of William Szeto, 194:03-05 (“Windspeed Trading happened to be one of the names my

dad use. So we try to figure out what name to use, and we said, Well, let’s just use that name.”).

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an entity or project named Windspeed. (Exhibit 1, Dep. of Matt Denegre, 168:15-23).29 But Denegre

nonetheless had a recurring weekly call scheduled on his calendar for “Windspeed” that first began

on June 13, 2017, roughly a month before closing on the APA. (Exhibit 1, Dep. of Matt Denegre,

15:12-19; 169:08-24).30

     59. The APA’s Terms. Under the APA, ACET Global agreed to (1) pay $850,000 to D&T

Partners, subject to certain adjustments; (2) provide a subordinated secured promissory note in the

amount of $3,230,000 in favor of D&T Partners; and (3) to provide D&T Partners with a 25% common

membership interest in Baymark ACET Holdco, LLC.




29       Q. Okay. There wasn’t some other Windspeed you were working with before that?
         A. Before what?
         Q. Before that time in 2018.
         A. No.
         Q. You’re sure of that?
         A. Certain of it.
         Q. Absolutely certain?
         A. Yes.
(Exhibit 1, Dep. of Matt Denegre, 168:15-23).
30       Q. Did you have a weekly call on your calendar for the subject of Windspeed at any time?
         A. I may have.
         Q. Did you have a weekly call on your calendar for the subject of Windspeed in 2017?
         A. What do you mean by “weekly call”?
         Q. A recurring weekly calendar.
         A. I may have.
(Exhibit 1, Dep. of Matt Denegre, 15:12-1).

         Q. Okay. Does it appear to be a weekly recurring calendar marker?
         A. Yes, it does.
         Q. And is the organizer Matt Denegre?
         A. Yes.
         Q. Okay. And is the subject “Windspeed weekly call”?
         A. Yes, it is.
         Q. Okay. And is the date -- the starting date June 13th of 2017?
         A. That’s what it says in this email.
         Q. Was the ACET transaction closed in the summer of 2017 as well?
         A. July 2017.
         Q. Okay. Does this appear to be a true and correct copy of what it reflects?
         A. This all looks true and correct.
(Exhibit 1, Dep. of Matt Denegre 169:08-24).

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   60. The $3.2 Million Note. As part of the transaction, ACET Global, LLC entered into a

promissory note with D&T Partners, memorializing the $3,230,000 payable to D&T Partners (i.e., the

D&T Note). The first installment payment was to come due in October of 2018. (Exhibit 12).

   61. The Security Agreement. Separately, Baymark ACET Holdco, LLC entered into a Security

Agreement (the “Security Agreement”) with D&T Partners. (Exhibit 11).

   62. Baymark Makes False Representations. Hook and Ludlow, as the principals for Baymark,

ensured Damti that he would be the CEO of ACET Global and that he would maintain managerial

authority and discretion. Damti’s presence as CEO would, given his knowledge of the business,

operations, and industry, safeguard Plaintiff’s interest in the transaction and was a substantial

inducement to enter into the transaction. In reality, Hook and Ludlow did not actually intend to keep

Damti as the CEO or to provide him with managerial authority or discretion. Hook and Ludlow

intended to keep Damti around long enough to learn the platform and to complete the fall selling

season. After that, Hook and Ludlow planned to remove ACET Global’s assets. Throughout this

time, Hook and Ludlow refused to provide Damti with authority to function as a “CEO” and then

Denegre, on behalf of Baymark, improperly purported to terminate and remove Damti.

   63. The Super G Collateral Assignment. Following the APA, Hook caused ACET Global to

enter into a Collateral Assignment of Rights Under Acquisition Transaction Documents and

Subordination Agreement (the “Collateral Assignment”) with Super G, which provided that Super G

would provide a term loan facility of up to $1,000,000 (“the Super G Note”). (Exhibit 24, Collateral

Assignment of Rights).

   64. Super G and Bellah. Baymark had a pre-existing and uniquely close relationship with Bellah,

who was an officer of Super G. Bellah was located and worked in Dallas, Texas. Super G, through

Bellah, closely coordinated the “Windspeed” plan.




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     65. Super G was not a “financial institution.” It was a small outfit of individuals who engaged in

unorthodox investments and practices—seeking high-risk, high-return investments. They were a

perfect fit with Baymark.

     66. Cole, as Super G’s Chief Financial Officer, exercised virtually unfettered control over Super

G’s investments. Cole held and used many titles with Super G—whatever was needed to facilitate

business. He has acknowledged this in sworn testimony:

                   Q. What position, specifically, did you hold at Super G?
                   A. Many. I took the title of chief financial officer because we needed
                   someone in that seat for investor purposes. I took the title of chief credit
                   officer at one point. It was a three-partner organization, and I was one of
                   three partners.
                   Q. Who were those partners?
                   A. Myself, Darrin Ginsberg, and Jon Engleking.

(Exhibit 8, Dep. of Marc Cole, 79:13-21).

     67. Super G had a rudimentary record-keeping system, maintaining its records on Dropbox. All

the records related to the transactions at issue were also stored in Super G’s Dropbox folder.31

Although Cole maintains that he has moved from Super G to SG Credit,32 he still maintains access to

all of Super G’s records via its Dropbox account:

                   A. Super G had a Dropbox filing system. Nearly everything was electronic
                   other than a deed or a mortgage that it received as collateral. Everything was
                   electronic. There was a folder tree, if you will, hierarchy of what files were
                   important to a loan transaction, and that the employees were required to
                   maintain a fairly strict adherence to that so that it wasn’t haphazard.
                   We terminated all of the employee access to the -- to the Dropbox system.
                   Because it was a friendly separation, I kept my files; Alex and the other
                   employees kept their files, other than terminated employees who had to
                   surrender everything. They never do, but to the extent you can.

(Exhibit 8, Dep. of Marc Cole, 94:4-17).


31         Q. The terms of the loan file, are all of the records you just mentioned, are those maintained in the loan file?
           A. Yes.
           Q. Are those maintained on Dropbox?
           A. Yes.
(Exhibit 8, Dep. of Marc Cole, 110:09-14).
32 See supra note 26.



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     68. As a small, unorthodox outfit, Super G had no document-retention policy or document-

destruction policy.33 According to Cole, at the time of the transactions at issue, Super G had become

a “rubber stamp” for what Cole and his team wanted to do.34

     69. According to Cole’s testimony, during 2017, Super G was “way too small an[d]

entrepreneurial” to memorialize many of its transactions, and decisions were “really [just a] thumbs

up or thumbs down” type of process.35 Further elaborating on the lack of records that one would

expect with a typical entity in the industry, Cole testified that:

                  Q. (BY MR. FREEMAN) Okay. And what type of record gets made to
                  memorialize that?
                  A. At the time, none. It [Super G] was a very small business at the time.
                  Q. So is that just an oral approval?
                  A. Yes.
                  Q. Is that done by phone or in person?
                  A. It would likely be done by a call with Steve in his home office and me in
                  my Newport Beach office.

(Exhibit 8, Dep. of Marc Cole, 25:23-26:06).

     70. Indeed, Cole confirms that he approved the transactions at issue, which obtained “investment

committee” approval because the “investment committee” consisted of one person: Cole. As he

testified:

                  A. Yes. Any – the proposal required capital, and any capital required the
                  investment committee, which at the time would have been me.

33       Q. Did Super G or does Super G have a document-retention policy?
         A. No.
         Q. Does it have a document-destruction policy?
         A. No.
(Exhibit 8, Dep. of Marc Cole, 93:23-94:02).

          Q. Okay. Does SG Credit Partners have a document-retention policy?
          A. No.
          Q. Does it have a document-destruction policy?
          A. No.
(Exhibit 8, Dep, of Marc Cole, 79:01-05).
34 See Exhibit 8, Dep. of Marc Cole, 104:13-15 (“It [Super G] was moving towards a Darrin rubber stamp of what my team

wanted to do.”).
35 See Exhibit 8, Dep. of Marc Cole, 104:20-24 (“A bank would have a response memorialized and, sort of, saved with the

transaction. At some point, Super G Capital moved to an email approval process, but in 2017, it was way too small an
entrepreneurial. It was really thumbs up or thumbs down.”).

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                    Q. (BY MR. FREEMAN) Okay. And what type of record gets made to
                    memorialize that?
                    A. At the time, none. It was a very small business at the time.

(Exhibit 8, Dep. of Marc Cole, 25:20-26:01).

     71. Nonetheless, when Cole “transitioned” to SG Credit,36 he and his associates maintained access

to the records from their group’s loan clients, including ACET Global. As Cole has admitted in

testimony:

                    A. So when Alex and I left Super G Capital, we maintained records from our
                    former loan clients. And so Alex and I both have the Dropbox file system
                    that was in place at the time. We have those -- we retained a copy of those
                    files.

(Exhibit 8, Dep. of Marc Cole, 37:23-38:02). Indeed, Cole was the Super G corporate representative

and agent in 2021. The ACET Global transaction was transferred to Cole and SG Credit, and Cole

and his associates oversaw and handled the ACET matter—continuing the fraudulent scheme in the

same manner.

                                 The Subordination to Super G Capital

     72. The Collateral Assignment contemplated that D&T Partners’ security interest under the Security

Agreement would be subordinated to Super G’s lien. (Exhibit 24). D&T Partners subordinated its security

interest to Super G based on Hook, Ludlow, and Baymark’s representations in June and July of 2017

that (1) Damti would maintain managerial authority and discretion and (2) ACET Global did not intend

(and that Baymark, Hook, and Ludlow did not intend to cause it) to default on the loan to D&T Partners

or default on the loan from Super G. As a result, Baymark, on false pretenses, induced D&T Partners to

subordinate its security interest under the Collateral Assignment.

     73. Baymark Required and Drafted the Subordination Agreement. Notably, Baymark

Partners is the party that sought the subordination agreement. In fact, Super G has testified that it



36 See supra note 26.



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did not draft the subordination agreement that Baymark required and that the subordination

agreement does not look like its standard agreement or any document used in any other deal.37

                                          The Termination of Damti

     74. On February 12, 2018, Denegre, purporting to represent Ludlow and Baymark, informed

Damti that he was terminating Damti’s employment with ACET Global. Despite this, Denegre admits

that he was not an employee or agent of ACET Global. (Exhibit 1, Dep. of Matt Denegre, 27:13-22).38

     75. Denegre stated that the termination was based on poor performance by the company.

However, at the time of the February “termination,” January 2018 revenues for ACET Global, LLC

were 248.26% of those in January 2017. The termination was, in fact, part of the plan to injure ACET

Global to carry out the plan to fraudulently transfer its assets.




37       Q. (BY MR. FREEMAN) Mr. Cole, do you recognize this document, or have you seen it before?
         A. Yes.
         Q. And what is this?
         A. This appears to be -- in conjunction with Super G Capital’s loan, this document confirms that all
         of the assets of ACET Global are -- that Super G Capital is going to be the first lien lender, and that the
         seller, who took a note, that that note was subordinated to Super G Capital’s first lien.
         Q. Okay. Who asked you to sign this document?
                             MR. PERRIN: Objection, form.
         A. This was part of the transaction documents with the loan agreement.
         Q. (BY MR. FREEMAN) And who asked you to sign it?
         A. It would have been presented to me by the deal team, which was, at a minimum, Steve Bellah and whoever
         else was assisting Steve in the transaction, including counsel.
         Q. Is that the first time you would have seen that document?
         A. Yes.
         Q. Would it have been sent to you by that group?
(Exhibit 8, Dep. of Marc Cole, 119:02-25).

         Q. This doesn’t look like a Collateral Assignment of Rights that you’ve ever received from them before, does it?
         A. No.
                           MR. PERRIN: Objection, form.
         A. The loan agreement looks standard, but this does not look standard.
         Q. (BY MR. FREEMAN) Are you aware of any other Super G deals with a document that looks like this?
(Exhibit 8, Dep. of Marc Cole, 120:17-25).
38 Ludlow admits that he was also not an officer of ACET Global and did not ever have express authorization for the

termination. (Exhibit 3, Dep. of Tony Ludlow, 87:7-14; 251:12-252:06). Despite this, Ludlow has represented himself to
be the president of ACET Global.

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                           Baymark Installs Szeto as CEO of ACET Global

     76. On or around February 14, 2018, Szeto became the CEO of ACET Global. Accordingly,

Szeto held himself out as the CEO and president of ACET Global. (Exhibit 2, Dep. of William Szeto,

41:01-13); (Exhibit 3, Dep. of Tony Ludlow, 87:10-12).39

     77. Szeto’s Unusual Arrangement. The arrangement, however, was unusual by any standard.

Baymark installed Szeto as the “CEO” of ACET Global. Hook, who was the president of ACET

Global, has testified that Szeto took on the role as CEO and “was working for free” and that there

was no financial promise made to him or expectation of any financial reward:

                 Q. Okay. And, so, did you hire Mr. Szeto?
                 A. I think ACET Global hired Mr. Szeto.
                 Q. So ACET Global hired Mr. Szeto?
                 A. I believe so.
                 Q. While you were the president of ACET Global; correct?
                 A. Correct.
                 Q. And, so, ACET Global hires Mr. Szeto while you were president and what?
                 Does he become the CEO of ACET Global?
                 A. I don’t -- I don’t recall what his title is, but he was -- I don’t recall. I think
                 he worked for Tomer at the beginning. And if I’m not mistaken, I think he
                 was working for free. I don’t -- I don’t -- I’m not positive, but he could have
                 worked for free for a while under Tomer.
                 Q. Okay. Why would he work for free?
                 A. Because he was retired and he had made enough money and he thought
                 that he could help the company.
                 Q. Okay. Was there anything promised to him?
                 A. No, not that I know of.
                 Q. No financial benefit whatsoever to go in and run this company?
                                  MR. PERRIN: Objection, form.
                 A. Well, like I said, I think he worked for free. I don’t know if he’s -- took a
                 salary or not. I don’t recall.

(Exhibit 7, Dep. of David Hook, 133:21-134:22).




39       Q Bill Szeto’s position at ACET Global at that time?
         A. He was the CEO.
(Exhibit 3, Dep. of Tony Ludlow, 87:10-12).

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    78. Szeto was actually brought on to help form Windspeed and to serve as a puppet (though he

was a paid puppet) in carrying out the planned wind down of ACET Global’s operations and the

fraudulent transfer of its assets to Windspeed for the benefit of Baymark, Super G, and Szeto.

    79. During February of 2018, the final month in which Damti served as CEO, ACET Global

remained in compliance with the Super G Note. As Super G’s corporate representative, Cole has

testified:

               Q. Okay. And did the company [ACET Global] at that time comply -- was
               it compliant with the then existing loan agreements as of the end of January
               2018?
               A. Yes.
               Q. And was it in compliance with the then existing loan agreements as of
               the end of February 2018?
               A. I believe the -- yes, it was.

(Exhibit 8, Dep. of Marc Cole, 171:13-19).




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                  Szeto and Baymark Deliberately Fail to Pay the D&T Note

   80. However, immediately after Baymark installed Szeto as the new “CEO,” ACET Global

defaulted on its note to Super G, as planned:

               Q. So in the first month in which Mr. Szeto was the CEO of ACET Global,
               did ACET Global fail to make the payment to Super G?
               A. . . . the company -- that we did a forbearance in April ‘18 as the company
               failed to make payments in March.
               Q. Okay. So if March was the first month -- first full month in which Mr.
               Szeto was serving as the CEO of ACET Global, then ACET Global failed to
               make its required note payment in his first month as CEO?
               A. Yes.

(Exhibit 8, Dep. of Marc Cole, 172:13-24).

   81. A Forbearance Agreement. The parties entered into a Forbearance Agreement in April of

2018 that provided for a forbearance period until October 25, 2018—just days before the D&T Note

payments would become due. (Exhibit 26, Forbearance Agreement). The Forbearance Agreement was

intended to allow the parties to execute a “Wind Down” plan regarding ACET Global that would

allow them to transfer its assets and business operations to a newly-formed entity: Windspeed. An

excerpt of the April 2018 Forbearance Agreement setting forth the forbearance period appears below:




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    82. As part of the scheme, Baymark and Szeto caused ACET Global to fail to pay vendors,

carriers, and others. They deliberately took steps to cause ACET Global to fail financially and to

default on its notes.

    83. This is not surprising. Hook and Ludlow exchanged multiple emails whereby they directly

discussed their nefarious plans. In December 2017, just months after executing the APA with D&T

Partners, Hook suggested it was time for “bankruptcy for ACET” to which Ludlow responded, “It

may be an option if Super G doesn’t agree to reduce payments.” Further, in March 2018, in an effort

to avoid paying carriers, Hook stated, “Maybe we tell them to stop or we shut the company down and

they wont [sic.] get anything.” Ludlow responded in agreement: “Yep, defiantly [sic.] an option. We

can strategize and then get back with them.”

    84. Baymark and Szeto drained ACET Global of its funds and assets to their enrichment and to

ACET Global’s detriment. Section 5.3 of Baymark ACET Holdco’s Company Agreement authorized

Baymark ACET Holdco to pay a quarterly management fee (the “Management Fee”) of the greater of

$150,000 or 5% of ACET Global’s EBIDTA to Baymark Management, LLC. Thus, Ludlow and

Hook acted as both the managers of Baymark Management, LLC and exercised control over ACET

Global and Baymark ACET Holdco. Baymark and Szeto had planned to, and were successful in,

utilizing this Management Fee to drain ACET Global and Baymark ACET Holdco of all of their assets

and capital from a cash flow perspective and in terms of ACET Global’s balance sheet based on

accrued/owed liabilities that deliberately placed ACET Global in an insolvent position. Baymark and

its principals claimed deductions on the related tax returns, thereby receiving the benefit thereof, but

on information and belief, did not include the corresponding management fee income in its taxable

income and did not inform its accountants of both sides of the transaction, deliberately causing a

violation of section 267 of the Internal Revenue Code.




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     85. On information and belief, even after ACET Global became insolvent, Hook and Ludlow

continued to drain it of its assets through the Management Fee. They paid or accrued recurring

“management fees” to Baymark Management, LLC, which did not correspond to services or value

provided, and caused improper management fees to be paid or owed even as ACET Global and

Baymark ACET Holdco became insolvent. The management fee was also used as a device to cause

ACET Global to appear to be financially unsound.

                                 All The ACET Global “Presidents”

     86. While Szeto served as the president and CEO of ACET Global, ACET Global also did

business as Baymark ACET Holdco, LLC. (Szeto 41:01-13).40

     87. During this time, Hook was also the president of ACET Global. However, following the

events laid out herein, Hook demonstrated a remarkable inability to remember his role (among other

things):

                Q. Okay. Were you the president of ACET Global?
                A. I don’t remember.
                Q. You don’t remember if you ever served as the president of ACET Global?
                A. No.
                Q. Okay. Do you know how many presidents ACET Global had?
                A. No.

(Exhibit 7, Dep. of David Hook, 18:17-24).

                Q. Okay. Were you ever the president of ACET Global, LLC?
                A. I don’t remember what my title was.

(Exhibit 7, Dep. of David Hook, 41:01-03).

40       Q. (BY MR. FREEMAN) So by executing this document, you were representing that you were the
         president of ACET Global, LLC?
         A. Yes.
         Q. And by signing this document, you were representing that you were the CEO of ACET Global,
         LLC?
         MR. PERRIN: Objection, form.
         A. Yes.
         Q. (BY MR. FREEMAN) And you were also representing that ACET Global, LLC did business as
         the name Baymark ACET Holdco, LLC?
         MR. PERRIN: Objection, form.
         A. Yes.
(Exhibit 2, Dep. of William Szeto, 41:01-13).

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   88. He likewise had difficulty recalling what his role with Baymark ACET Holdco was:

               Q. Okay. Were you a manager of Baymark ACET Holdco?
               A. As I said, I don’t remember.
               Q. Okay. Were you the president of Baymark ACET Holdco?
               A. I don’t remember.

(Exhibit 7, Dep. of David Hook, 43:21-44:01).

   89. Szeto has also expressed a lack of memory about key facts. For instance, he claims that

although he was serving as CEO of ACET Global, he was never informed of, and never knew about,

the $3.2 million D&T Note. Szeto testified that:

               Q. But you knew there was a significant liability owed by ACET Global to
               Tomer Damti?
               A. I do not know any details of that.
               Q. You didn’t know anything about a loan being owed by ACET Global to
               Tomer Damti?
               A. I do not know anything, any loan that ACET Global owned to Tomer
               Damti because that is the least of my concern at that time. I was told to take
               care of ACET Global, and I was not involved with any details between Tomer
               Damti and the others.
               Q. Was that loan owed by ACET Global to Tomer Damti ever reflected on
               any of your accounting records at ACET Global?
                               MR. PERRIN: Objection, form.
               A. That’s not something I look at, and there was so many things at that time
               that I look at. That was not one of the things I look at.
               Q. (BY MR. FREEMAN) Were you ever made aware that ACET Global
               owed a note to Tomer Damti?
               A. No, I was -- I did not know anything about it.

(Exhibit 2, Dep. of William Szeto, 131:02-21).

                                 Szeto’s Braggadocio Tips the Plan

   90. In June of 2018, while serving as Baymark’s installed CEO of ACET Global, Szeto bragged

to Monica Plaskett that he was going to “start another business.” Szeto suggested he “had friends,”

and that if ACET Global went bankrupt, he would continue the operations with a new company.

(Exhibit 27, Affidavit of Monica Plaskett, ¶ 10).




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                                      The Wind-Down Plan

   91. In April of 2018, Baymark began to set the stage to execute their “wind down” plan. Baymark

intended to wind down ACET Global, LLC by transferring its assets and operations to a new entity:

Windspeed. Szeto, while still serving as the CEO of ACET Global, worked closely with Denegre and

Ludlow to fine tune the “wind down” plan and, ultimately, to put it into action.

   92. At First, Szeto Denies the Existence of a Winddown Plan. Although Szeto has, under

oath, denied the existence of a “wind down” plan, documentation demonstrates its existence beyond

any doubt. During Szeto’s sworn testimony, Szeto stated that:

               Q. Okay. Was it part of a plan to wind down ACET Global?
               A. I don’t know of a plan as such.
               Q. Not a plan to wind it down and transition to
               Windspeed?
                             MR. PERRIN: Objection, form.
               A. No.
               Q. (BY MR. FREEMAN) Okay. Was there any kind of wind-down plan?
               A. Not that I know of.
               Q. No plan to wind down ACET?
               A. Not that I know of.
               Q. No plan to wind it down and somehow pay off money it owed you?
               A. No.
               Q. No plan to wind down ACET and pay for credit card expenses you had
               incurred?
               A. Not that I know of.

(Exhibit 2, Dep. of William Szeto, 157:07-24) (bold added).

               Q. (BY MR. FREEMAN) Okay. You said there was not a plan to wind
               ACET Global down; is that correct?
               A. Yes.
               Q. And there wasn’t a plan to wind ACET Global down and, in the process,
               price its inventory?
               A. Ask the question again, please.
               Q. Was there a plan to wind ACET Global down and in the process to price
               its inventory or value its inventory?
               A. No, there was no such plan.

(Exhibit 2, Dep. of William Szeto, 158:25-159:09) (bold added).




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    93. Szeto Recants His False Testimony. Szeto, however, ultimately recanted his denial in the

face of documented proof, which he believed had been deleted and destroyed. Confronted with this

documentation, Szeto recanted. His false testimony is evidence of an ongoing effort to cover up the

fraud and is an example of yet another predicate act supporting a RICO count.

                  Q. (BY MR. FREEMAN) I’m putting on the screen what’s marked as Exhibit
                  Mr. Szeto, do you recognize this document?
                  A. Yes.
                  Q. What is that document titled?
                  A. Wind-down plan.
                  Q. Wind-down plan?
                  A. Uh-huh.
                  Q. And what’s the next line says?
                  A. Wind down current location.
                  Q. And are you familiar with this document?
                  A. I think I have seen it before.
                  Q. Didn’t you draft it?
                  A. No.41
                  Q. Who drafted it?
                  A. I don’t know.
                  Q. Okay. But you have seen it before?
                  A. I have seen it before, yes.
                  Q. When did you first see it?
                  A. I cannot remember.
                  Q. Was it in 2018?
                  A. I think it is in 2018, but I do not know for sure.
                  Q. Okay. But it refers to a wind-down plan. Do you know what that
                  means?
                  A. Yes.
                  Q. What does that mean?
                  A. That means that somehow wind it down, the operations of the
                  company, but that’s what I -- what it means.
                  Q. And what company?
                  A. That’s ACET Global, I assume.
                  Q. So this was a plan to wind down the operations of ACET Global,
                  LLC?
                  A. Yes.




41 Denegre, however, disputes Szeto’s testimony, and points the finger back at Szeto:


         Q. All right. And who put together the wind down plan?
         A. Bill Szeto created the wind down plan.
(Exhibit 1, Dep. of Matt Denegre, 177:09-11).

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(Exhibit 2, Dep. of William Szeto, 159:11-160:20) (bold added).

     94. As set forth above, Szeto, in a complete “180” from his testimony just minutes before,

recanted, demonstrating that his prior testimony was false and that there was, in fact, a plan to “wind

down” ACET Global’s operations.

     95. Indeed, Szeto ultimately admitted to carrying out critical steps of the ACET Global “wind

down” plan42 during the weeks of September the 17th and 22nd during 2018—roughly a month

before the $3.2 million D&T Note was to come due. (Dep. Of Szeto, 182:19-24).43

     96. That “wind down” plan involved plots to “Wind Down Current Location,” “price [ACET’s]

inventory which can be sold or transferred [to Windspeed],” “[r]elocating to temporary office space

with current office furniture and computers,” “perform last inventory prior to closing,” “inform all

parties on impending closing,” “inform all marketplaces on closing,” “send termination letter to all

current employees,” and “making offers to current employees,” among other things. (Exhibit 1, Dep.

of Matt Denegre, 183:25-184:02);44 (Exhibit 28).

     97. Screen shots of portions (PowerPoint slides) of the Baymark/Szeto Wind Down plan for

Windspeed are set forth below:




42       Q. So was this is plan to wind down ACET Global?
         A. Yes.
                            MS. HARD-WILSON: Objection, form.
         Q. (BY MR. FREEMAN) So everything we have been talking about on this Exhibit 27 is about
         winding down and closing ACET Global?
         A. Yes.
(Exhibit 2, Dep. of William Szeto, 180:07-13).
43       Q. (BY MR. FREEMAN) Got it. So this was all –all of the stuff we were just talking about, these
         items, they were all to be done the week of September 17th of 2018?
                            MR. PERRIN: Objection, form.
         A. Yes.
(Exhibit 2, Dep. of William Szeto, 182:19-24) (bold added).
44       Q. Okay. Below that, does it say, “Price inventory which can be sold or transferred”?
         A. Yes, it does.
(Exhibit 1, Dep. of Matt Denegre, 183:25-184:02).

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   98. Denegre and Szeto, as well as the others, continued to email and collaborate about the Wind

Down plan for ACET Global, all with their coordination regarding Windspeed, as the following screen

shot from an email from Szeto to Denegre on September 29, 2018 demonstrates:




   99. As Szeto underscored, it was important to inform the market places that ACET Global did

business with and obtained revenue from to “change [the] name [to Windspeed] and banking

information for future payments,” and to “move fast” to take advantage of the upcoming “best selling

season of the year.”

   100.        At First, Denegre Also Commits Perjury and Denies the Existence of a Wind

Down Plan. Like Szeto, when confronted under oath, Denegre denied having engaged in any “wind

down” plan regarding ACET Global or even having knowledge of the existence of any “wind down”

plan. (Exhibit 1, Dep. of Matt Denegre, 181:24-182:02). Denegre testified:


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                  Q. (BY MR. FREEMAN) Did you ever engage in a wind down plan with
                  respect to ACET Global?
                  A. No.

(Exhibit 1, Dep. of Matt Denegre, 181:24-182:01).

    101.          Denegre had, however, left a documentary trail of the wind down plan that was

inconsistent with his false testimony. For example, a screen shot of one of his many “wind down”

emails is pasted directly below, wherein he emailed Tony Ludlow the then-latest version of the “wind

down” plan:




    102.          Denegre and his co-conspirator Defendants repeatedly revised the “wind

down”/restructuring plan for months as the process culminated in September and October of 2018.

He was frequently exchanging emails with Super G and Ludlow about the wind down plan (aka the

“ACET Plan”)45:




45 See Exhibit 32, ACET Plan.



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   103.        Denegre Gave False Testimony. Denegre, however, could not hide from the clear

documentary evidence tying him and Baymark to the “wind down” plan. (Exhibit 1, Dep. of Matt

Denegre, 175:12-176:04); (Exhibit 1, Dep. of Matt Denegre, 177:09-178:05); (Exhibit 1, Dep. of Matt

Denegre, 182:03-25). After having unequivocally denied the existence of any “wind down” plan,

Denegre testified as follows:

               Q. (BY MR. FREEMAN) Okay. Mr. Denegre, I’m putting on the screen
               what’s marked as Exhibit 13. Do you see this, sir?
               A. Yes.
               Q. And do you recognize this email exchange?
               A. I recognize this first email.
               Q. Okay. And is this an email from you, Matt Denegre, to Tony Ludlow on
               September 10th, 2018?
               A. Yes.
               Q. Okay. And is the subject line “corrected version”?
               A. “Forward corrected version,” uh-huh.
               Q. Uh-huh. And does it state attachments, “Wind down”? Is that correct?
               A. Yes, it does.
               Q. Okay. And in your email to Mr. Ludlow, do you state, “Wind down
               plan for Super G for your review”?
               A. Yes.

(Exhibit 1, Dep. of Matt Denegre, 175:12-176:04) (bold added).

               Q. All right. And who put together the wind down plan?
               A. Bill Szeto created the wind down plan.
               Q. And who reviewed it?

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               A. I took a look at it.
               Q. And who else?
               A. Well, I can’t speak for Tony if he reviewed it or not.
               Q. All right. Did you email it to Tony?
               A. Yes.
               Q. And did you tell him it was for your review?
               A. Yes.
               Q. And did you ever discuss it again with him after sending that email?
               A. We may have.
               Q. What did you discuss with him?
               A. I don’t remember.
               Q. You don’t remember what you and Tony Ludlow discussed? How many
               times did you and Tony Ludlow have a discussion about the wind down plan?
                              MR. PERRIN: Objection; form.
               A. I don’t recall.

(Exhibit 1, Dep. of Matt Denegre, 177:09-178:05) (bold added).

               Q. Okay. And below is the attachment that was attached to this email that
               you sent to Mr. Ludlow. Does this document -- second page of the exhibit,
               does it state “Wind Down Plan” is the title?
               A. Yes.
               Q.     Okay. And does it state as one of the bullet items, “Inventory
               Management?
               A. It does.
               Q. And “Sales Continuation”?
               A. Yes.
               Q. And below that, does it state a bullet, “Sales and Office Staff”?
               A. Yes, it does.
               Q. And below that, is there a bullet that says, “Relocating to temporary office
               space with current office furniture and computers”?
               A. Yes, it does.
               Q. Okay. Below -- down below, does it state, “Current business files”?
               A. Yes.
               Q. Okay. And on this third page of the exhibit, is the title “Timeline and
               Cost for Wind Down”?
               A. Yes, it is.

(Exhibit 1, Dep. of Matt Denegre, 182:03-25).

               Q. Okay. Below that, does it say, “Price inventory which can be sold or
               transferred”?
               A. Yes, it does.

(Exhibit 1, Dep. of Matt Denegre, 183:25-184:02).




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   104.        Consistent with His Lack of Respect for Depositions and the Oath, Ludlow

was Unwilling to Discuss the Wind Down. When first confronted, Ludlow refused to discuss the

ACET Global “wind down” plan. Ludlow, after having watched each prior Baymark deposition,

initially addressed the issue with a hard “no”—a refusal to discuss the subject:

               Q. Okay. Did you have a discussion with Super G about restructuring ACET
               Global’s notes to provide time to wind down ACET Global’s business?
               A. Possibly.
               Q. Okay. Can you tell me about those conversations?
               A. No.

(Exhibit 3, Dep. of Tony Ludlow, 47:02-08) (bold added).

  105. Ludlow Later Acknowledges the Plan to Restructure ACET Global’s Operations.

Ludlow has acknowledged that a restructuring plan existed to restructure ACET Global’s operations

“under a restructured entity” in September 2018, the same month that Szeto filed Windspeed’s

Certificate of Formation with the Texas Secretary of State:

               Q. Did Mr. Denegre work with Bill Szeto on the wind-down plan for ACET
               Global?
               A. Yeah. He probably did.

(Exhibit 3, Dep. of Tony Ludlow, 77:20-22).

               Q. And are you familiar with this Exhibit 24?
               A. It looks like an e-mail between Matt and Steve, and I’m included.
               Q. Okay. September 7th, 2018?
               A. Yes.
               Q. Subject line, “ACET Plan”?
               A. Um-hum.
               Q. And attachment entitled “ACET Plan (September 2018)”?
               A. Yes.
               Q. Okay. And it says, “Steve, Attached is the ACET plan,” correct?
               A. Yes.
               Q. The plan provides the company resources to grow quickly and profitably
               under a restructured entity”?
               A. Yep.
               Q. Is that correct?
               A. That is correct.

(Exhibit 3, Dep. of Tony Ludlow, 218:23-219:15).


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               Q. Right. And so this is the ACET Plan, right?
               A. It looks like it.
               Q. And this is in the same month that Windspeed is formed?
               A. Well, from what you’ve told me, it would seem, yes. So...

(Exhibit 3, Dep. of Tony Ludlow, 221:24-222:04).

   106. Ludlow’s lack of knowledge regarding the plan to restructure ACET Global’s operations is

astounding. Indeed, in April 2018, Ludlow emailed Denegre and Bellah regarding his “strategy” for

ACET Global. In his email, Ludlow suggested ACET Global had “issues” with “debt payments” and

Ludlow wanted to ensure that ACET Global did not merely “default on Tomer’s debt and have

[Tomer] regain the company.” Carrying out Baymark’s plan was essential. Moreover, Ludlow called

Tomer in the summer of 2018 and, in a shakedown, threatened that Tomer wouldn’t get “a dime” out

of the D&T Note unless Tomer agreed to major concessions. Ludlow would later make good on his

threats.

   107. Hook Falsely Denies Knowledge of the Wind Down Plan. When questioned under oath,

Hook maintained that he was never familiar with or involved in any “wind-down” plan or restricting

regarding ACET Global:

               Q. Okay. Did you ever discuss restructuring ACET Global’s business
               operations?
               A. No.
               Q. Okay. Did you ever discuss how restructuring its operations might impact
               creditors?
               A. No.

(Exhibit 7, Dep. of David Hook, 80:10-15).

   108. Hook further testified under oath:

               Q. Okay. Were you ever involved in the formation of a wind-down plan for
               ACET Global?
               A. No. I never heard of a wind-down plan.
               Q. Okay. As -- you know, as the president of ACET Global, did you ever
               engage in formulating a wind-down plan?
                              MR. PERRIN: Objection, form.
               A. Mr. Freeman, will you please listen to my questions? I just told you I’d
               never heard of a wind-down plan.

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               Q. (By Mr. Freeman) Okay.
               A. So, listen to my -- listen to my answers, please.
               Q. Okay. If you will, look at Exhibit 13, please, sir.
               A. Okay.
               Q. Does this email refer to a wind-down plan?
               A. It says “wind-down plan for Super G for your review.”
               Q. Okay. And this is -- this email looks like it’s addressed on September 10th
               of 2018; is that correct?
               A. Yes.
               Q. And it’s from Matt Denegre of Baymark Partners?
               A. Yes.
               Q. And during this time, you’re still the president of ACET Global; correct?
               A. Apparently so.

               ...

               Q. Okay. And why is -- why is your associate, Matt Denegre, involved in this
               wind down?
               A. Because he and Tony were working on this company.
               Q. What company?
               A. ACET Global.
               Q. Okay. And, now, how do we know this is a wind down for ACET Global?
               A. I didn’t know. This is the first I’ve heard of a wind-down plan.
               Q. Did I say that it was a wind down of ACET Global?
               A. Well, you said this was a wind-down plan.
               Q. Uh-huh. And why would this be a wind-down plan for ACET Global?
               That -- you know, you’re the president of ACET Global at this time; right?
                               MR. PERRIN: Objection, form.
               A. That’s right.
               Q. (By Mr. Freeman) And you’re not aware of any wind-down plan for ACET
               Global; right?
               A. Right.
               Q. And, so, why would we have a wind-down plan for ACET Global?
                               MR. PERRIN: Objection, form.
               A. Because we tried to save the company.
               Q. (By Mr. Freeman) Okay. By winding it down?

               ...

               Q. This wind-down plan you said was for ACET Global?
               A. That’s what the email says. I haven’t heard of a wind-down plan.
               Q. Okay.
               A. So, let me say that again. I have not heard of a wind-down plan.
               Q. Okay. Where does the email say it’s for ACET Global?
               A. I don’t know that it does.
               Q. But you just said that it does; right?
               A. I said I’ve never heard of a wind-down plan for any company.
               Q. Okay. Pretty unusual to be creating a wind-down plan?

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                               MR. PERRIN: Objection, form.
               A. I don’t know. I’ve never heard of it before.
               Q. (By Mr. Freeman) Uh-huh. Never heard of a wind-down plan?
               A. No.
               Q. So you didn’t teach Matt Denegre how to create a wind-down plan; right?
               A. I’ve never taught anybody how to do a wind-down plan.
               Q. Or how to review a wind-down plan?
               A. No.
               Q. Okay. And you’ve never seen this document?
               A. No.
               Q. Okay. Do you know what this document is referring to here where it says
               “timeline and cost for wind down”?
               A. I don’t know. I just said I’ve never seen it before.
               Q. Okay. You don’t know what it’s referring to where it says “performed the
               last inventory prior to closing, price inventory that can be sold or transferred”?
               A. No.
               Q. No? “Inform all marketplaces on closing”?
               A. No.
               Q. Or to inform all major customers on closing?
               A. No.
               Q. Or to send termination letters to all current employees?
               A. No.
               Q. And you don’t know what it’s referring to here where it states week of 9-
               24?
               A. No, other than it says week of 9-24.
               Q. Okay. And do you recall if ACET Global, the company that you were the
               president of, do you recall if it sent termination letters to its employees around
               this time?
               A. No.
               Q. No? Did you authorize those termination letters?
               A. No.
               Q. So, as the president of ACET Global, you didn’t even know that
               termination letters were sent out?
               A. That’s right.

(Exhibit 7, Dep. of David Hook, – 138:03-144:17).

  109. Hook Gave False Testimony. Hook, however, subsequently acknowledged multiple emails

indicating his knowledge of the wind down of ACET Global. For example:

               Q. This is in January of 2019; correct?
               A. Yes.
               Q. Now, you were the president of ACET Global at that point in time. Was
               it in the process of winding down?
               A. I don’t know.
               Q. How do you not know?
               A. Because Tony and Matt were working on this company. I was not.

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                  Q. Okay. So, at this point in time, Lori Barber tells your -- your associates, “I
                  know you’re in the process of winding down ACET.” But had you ever
                  instructed Ms. Barber that you, as the president of ACET Global, were going
                  to wind down ACET?
                  A. No.
                  Q. Okay. Do you have -- do you have any idea why Ms. Barber may be under
                  the impression that y’all were in the process of winding down ACET?
                  A. No.

(Exhibit 7, Dep. of David Hook, 145:21-146:14).

     110. Super G Admits There Was a Plan to Restructure ACET Global into Windspeed. Super

G, for its part, has testified that it “leaned on” Baymark to “come up with a plan” and they offered

this restructuring plan.”46 Baymark offered Super G the “Windspeed” option as an alternative

restructuring of ACET Global’s operations. As Cole has acknowledged in testimony:

                  A. I was made aware of the fact that there was a restructuring option that
                  involved a new business entity.
                  Q. Was that new business entity Windspeed?
                  A. It is now, yes.
                  Q. Was it proposed to be a different entity?
                  A. No.

(Exhibit 8, Dep. of Marc Cole, 24:02-08).

                  Q. (BY MR. FREEMAN) Anytime in 2018.
                                  MR. PERRIN: Objection, form.
                  A. I believe by the fall, there was the notion of using Mr. Szeto’s new
                  company.
                  Q. (BY MR. FREEMAN) And that would be Windspeed, correct?
                                  MR. PERRIN: Objection, form.
                  A. Yes.
                  Q. (BY MR. FREEMAN) And those discussions involved Windspeed
                  acquiring assets from Super G?
                                  MR. PERRIN: Objection, form.
                  A. Yes.
                  Q. (BY MR. FREEMAN) And those assets were the assets that Super G
                  acquired by foreclosing on ACET Global; is that correct?
                  A. Well, it hadn’t happened yet.

46       A. No, his alternatives were never good. I don’t think Steve did much. So I think he leaned on the
         owners of the business to come up with a plan.
         Q. And they offered this restructuring plan?
         A. Yes.
(Exhibit 8, Dep. of Marc Cole, 63:15-19).

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                 Q. That it would obtain by foreclosing on ACET Global?

(Exhibit 8, Dep. of Marc Cole, 186:13-183:12).

     111. The Restructuring Plans were Ongoing in 2018. Those restructuring discussions were

ongoing in the summer of 2018.47 The approval process required investment committee approval,

which was not a significant hurdle because Cole was the sole member of the so-called “investment

committee.” As Cole testified:

                 Q. . . . Did you approve it?
                 A. I did.
                 Q. When did you approve it, if you know?
                 A. When did I approve what?
                 Q. This restructuring option.
                 A. I don’t know. So likely before the sale.
                 Q. Okay. What constitutes an approval?
                                MR. BLAKLEY: Objection, form.
                 A. At the time, I had sole investment committee approval at Super G Capital
                 because of Darrin’s absence. So I would have effectively made the decision
                 and signed the agreement.
                 Q. (BY MR. FREEMAN) Okay. With a proposal of that nature, is it required
                 to go before the investment committee?
                                MR. BLAKLEY: Objection, form.
                 A. Yes. Any -- the proposal required capital, and any capital required the
                 investment committee, which at the time would have been me.

(Exhibit 8, Dep. of Marc Cole, 25:04-22).

                 Q. (BY MR. FREEMAN) Anytime in 2018.
                                 MR. PERRIN: Objection, form.
                 A. I believe by the fall, there was the notion of using Mr. Szeto’s new
                 company.
                 Q. (BY MR. FREEMAN) And that would be Windspeed, correct?
                                 MR. PERRIN: Objection, form.
                 A. Yes.
                 Q. (BY MR. FREEMAN) And those discussions involved Windspeed
                 acquiring assets from Super G?
                                 MR. PERRIN: Objection, form.
                 A. Yes.
                 Q. (BY MR. FREEMAN) And those assets were the assets that Super G
                 acquired by foreclosing on ACET Global; is that correct?

47       Q. And were those discussions about restructuring going on in the summer of 2018?
         A. Presumably.
(Exhibit 8, Dep. of Marc Cole, 151:05-07).

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                  A. Well, it hadn’t happened yet.

(Exhibit 8, Dep. of Marc Cole, 186:01-16)48

                       The Baymark Parties Engaged in Multiple Discussions
                          about the Legal Risk of the Fraudulent Transfer

     112. On December 31, 2018, Denegre sent an email to Ludlow, referring to their options regarding

the fraudulent transfer and how to cover their tracks, stating: “From a successor liability perspective,

Julie and I felt this would be incrementally riskier for Baymark but not to a point that it’s too risky to

assume.”

     113. Indeed, Baymark discussed the risks of engaging in the fraud with their counsel, Hallett &

Perrin. Despite the fact that Hallett & Perrin discussed the fact that carrying out the transfer to

Windspeed would subject the Defendants to fraudulent transfer liability, giving rise to the crime-fraud

exception to any privilege, and despite the fact that Hallett & Perrin discussed fraudulent transfer

liability risks with a third party, including Super G and its counsel, Brian Vanderwoude, Hallett &

Perrin has asserted a claim of privilege over all aspects of the matter:49

                  Q. Okay. And was there a discussion about the potential consequences to
                  Baymark Partners as a result of the transfer of assets from ACET Global to
                  Windspeed Trading?
                  A. Is this why you want to have a standing –
                                  MR. PERRIN: Yeah.
                  A. I think that’s privileged.

(Exhibit 6, Dep. of Julie Smith, 78:12-19).



48       14 Q. So were there discussions or negotiations
         15 going on between Super G Capital and Windspeed in the
         16 fall of 2018 regarding Windspeed acquiring the assets at
         17 issue?
         18 MR. PERRIN: Objection, form.
         19 A. The assets that would be acquired in the
         20 foreclosure.
         21 Q. (BY MR. FREEMAN) Is that correct?
         22 A. Yes.

(Exhibit 8, Dep. of Marc Cole, 184:14-22).
49 Notably, however, they have not invoked the Fifth Amendment at this time and have, therefore, waived its protection.



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               Q. Did you have any discussions about whether the ultimate transfer of assets
               that had been held by ACET Global to Windspeed Trading could be viewed
               as a fraudulent transfer?
                                MR. PERRIN: Ms. Smith, I would caution you that -- not to
               disclose any communication with your clients. If you’ve had any
               communications with other parties you can disclose it.
               A. Yeah, I think whatever communications I had would be privileged.
               Q. Did you have a discussion with your clients that the --
               A. I’ll just say privileged now.
               Q. Did you have a discussion with your clients that the transfer of assets that
               were owned by ACET Global into Windspeed Trading would be a fraudulent
               act?
               A. I believe that’d be privileged.
               Q. Did you have discussions that the transfer of assets owned by ACET
               Global into Windspeed Trading would be a criminal act?

(Exhibit 6, Dep. of Julie Smith, 79:20-80:14).

               Q. Okay. Did you ever discuss successor liability with Matt Denegre?
               A. Again, attorney-client privilege.
               Q. Did you ever discuss successor liability with Tony Ludlow?
               A. That would also be covered by attorney-client privilege.
               Q. And did you ever discuss successor liability with Matt Denegre and Tony
               Ludlow related to the transactions we have been discussing in this deposition?
               A. Again, that’s covered by attorney-client privilege.
               Q. Did you ever discuss successor liability with Matt Denegre and Tony
               Ludlow related to Windspeed Trading’s acquisition of the ACET’s global
               assets?
               A. I feel like I’m answering these questions -- yes. Again, covered by attorney-
               client privilege.
               Q. Okay. Did Baymark Partners ever express concern about exposure for
               liability as a result of this -- these transactions?
               A. Again, that’s covered by attorney-client privilege.
               Q. Did you believe that there was any successor liability risk?
               A. I think that’s attorney-client privilege as well.

(Exhibit 6, Dep. of Julie Smith, 86:16-87:16).

               Q. Okay. And so were you, in fact, actually concerned here about successor
               liability to Baymark?
               A. I think that that would be attorney-client privilege
               Q. I don’t think that this is if you’re discussing it with Brian.
               A. My -- whether or not I am concerned about successor liability is my mental
               impression. Isn’t that covered by attorney-client privilege?
               Q. No.

(Exhibit 6, Dep. of Julie Smith, 96:24-97:08).


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                  Q. Did you have any discussions with anyone about whether that would
                  decrease the risk of successor liability?
                  A. I don’t know if -- I don’t recall now the context of successor liability, and
                  I don’t recall if it was as it relates to purchase agreement versus a foreclosure
                  sale agreement. I know I had discussions with Brian Vanderwoude about
                  successor liability, and we all determined it wasn’t -- it was a risk but not a risk
                  – an insurmountable risk.

(Exhibit 6, Dep. of Julie Smith, 125:13-22).

                  Q. Okay. Well, in this deal, did you have any -- did you have discussions with
                  your clients that they might have risk on this transaction, that it would be
                  viewed as a fraudulent transfer?
                  A. Any discussions I had with my client would be covered by attorney-client
                  privilege.

(Exhibit 6, Dep. of Julie Smith, 126:13-18).

   114. Indeed, Hallett & Perrin discussed the successor liability risks related to the fraudulent transfer

with Super G’s counsel:

                  Q. Okay. And did you discuss the successor liability issue with Mr. Vanderwoude?
                  A. Yes, it looks like I did.
                  Q. Okay. And did you discuss the risk to your clients?
                  A. To Brian -- to Vanderwoude’s and my clients?
                  Q. Yes.

(Exhibit 6, Dep. of Julie Smith, 91:19-25).

   115. The discussions at issue were subject to the crime-fraud exception.

                                         The Formation of Windspeed

   116. Within approximately a year—and before the D&T Note came due—Baymark and its

conspirators created a new and separate entity: Windspeed.

   117. Szeto Files Windspeed’s Certificate of Formation. On September 27, 2018, while he was

still CEO of ACET Global,50 Szeto filed a Certificate of Formation Limited Liability Company for

Windspeed Trading, LLC at the behest of Baymark Partners. (Exhibit 13). Szeto continued to serve




50 See Exhibit 2, Dep. of William Szeto, 278:20-22.



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as CEO for ACET Global and Windspeed at the same time. (Exhibit 2, Dep. of William Szeto,

278:20-22).

   118. While the parties purposefully used Szeto’s name on the Certificate of Formation filed with

the Secretary of State, the actual ownership and control of Windspeed was far different from what

they filed. Baymark’s law firm, Hallett & Perrin, spearheaded the formation of Windspeed, drafting

an intricate company agreement, warrants, and warrant purchase agreements designed to obfuscate

Super G and Baymark Partners’ interest in the entity. As Baymark Partners’ attorney at Hallett &

Perrin testified:

                    Q. Okay, But did you, in fact, back on October 15th, 2018, write that you were
                    providing these warrant purchase agreement documents in connection with
                    the formation of Windspeed Trading, LLC?
                    A. It appears that that’s what I wrote in the e-mail.

(Exhibit 6, Dep. of Julie Smith, 50:23-51:03).

   119. Denegre Testifies that There was “No relationship” Between ACET Global and

Windspeed. Denegre, however, has testified under oath that there was no relationship between the

formation of Windspeed and ACET Global. Denegre falsely testified as follows:

                    Q. (BY MR. FREEMAN) Okay. So what was the relationship between the
                    formation of Windspeed Trading and ACET Global?
                                    MR. PERRIN: Objection; form.
                    A. I don’t -- I don’t think there is a relationship.
                    Q. (BY MR. FREEMAN) Were they completely unrelated?
                                    MR. PERRIN: Objection; form.
                    A. They are two unrelated companies.

(Exhibit 1, Dep. of Matt Denegre, 71:06-15).

                    Q. (BY MR. FREEMAN) Windspeed Trading, LLC, was not ACET Newco?
                    A. I don’t believe so.
                    Q. And there was no relationship between ACET Global and Windspeed Trading,
                    LLC?
                                   MR. PERRIN: Objection; form.
                    A. Two independent companies.

(Exhibit 1, Dep. of Matt Denegre, 194:01-05).


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  120. Szeto Testifies that There was “No Relationship” Between ACET Global and

Windspeed. Szeto, likewise, has testified under oath that there was no relationship between the

formation of Windspeed and ACET Global.

               Q. Did ACET have anything to do with the formation of Windspeed?
               A. No.
               Q. Nothing at all?
               A. Nothing at all.
               Q. So you’re certain that there was no relationship between the formation of
               Windspeed and ACET Global, LLC?
               A. Yes.

(Exhibit 2, Dep. of William Szeto, 12:06–14).

  121. Hook Testifies that There was “No Relationship” Between ACET Global and

Windspeed. Hook, likewise, has testified under oath that there was no relationship between the

formation of Windspeed and ACET Global:

               Q. Okay. Was there any relationship between the formation of Windspeed
               Trading, LLC and ACET Global, LLC?
                              MR. PERRIN: Objection, form.
               A. Not -- not that I’m aware of.

(Exhibit 7, Dep. of David Hook, 79:15-19).

  122. Ludlow and Baymark Partners Testify that There was “No Relationship” Between

ACET Global and Windspeed. Ludlow and Baymark have also testified under oath that there was

no relationship between the formation of Windspeed and ACET Global. They testified as follows:

               Q. Now, was there any relationship between the formation of Windspeed
               Trading LLC and ACET Global?
               A. None.
               Q. None?
               A. None.

(Exhibit 3, Dep. of Tony Ludlow, 158:25-159:04).

  123. Ludlow & Baymark’s Testimony was False. The testimony of Denegre, Szeto, Hook,

Ludlow, and Baymark Partners was part of a coordinated effort to provide false testimony and to

obstruct judicial proceedings. That false testimony further evidences their fraud.

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   124. Windspeed was “ACET Newco.” Contrary to their testimony, the conspirators referred to

Windspeed as the “ACET Newco,” evidencing its relationship to ACET Global. However, to cover

up their fraud and to further obstruct judicial proceedings, the conspirators have falsely testified under

oath that they have never referred to Windspeed as “ACET Newco.”

   125. Denegre Gives False Testimony. Denegre, in sworn testimony, has testified as follows:

                Q. Okay. Was Windspeed -- was that basically the “ACET newco”?
                              MR. PERRIN: Objection; form.
                A. What is “ACET newco”?
                Q. (BY MR. FREEMAN) Does that mean anything to you?
                A. No.
                Q. To use the phrase “ACET’s newco”?
                A. Nope.
                Q. Doesn’t mean anything?
                A. No.

(Exhibit 1, Dep. of Matt Denegre, 193:03-13).

   126. Szeto and Windspeed Give False Testimony. Szeto and Windspeed testified as follows:

                10 Q. (BY MR. FREEMAN) Were there emails about
                11 forming a new company after ACET Global?
                12 A. No. There’s no such email concerning the
                13 restructuring or forming a new company after ACET
                14 Global.
                15 Q. You’re certain about that?
                16 A. I am very certain about that.

(Exhibit 2, Dep. of William Szeto, 127:10-16).

   127. Ludlow and Baymark Give False Testimony. Ludlow and Baymark testified as follows:

                Q. Was there a concept -- a broad concept of an ACET Newco?
                A. No.
                Q. An entity that would take the place of ACET?
                A. No.

(Exhibit 3, Dep. of Tony Ludlow, 84:01-05).

   128. But after being confronted with contrary documented evidence, Denegre, Szeto, Windspeed,

Ludlow, and Baymark have all been forced to acknowledge, begrudgingly, their false testimony.



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   129. Denegre Confronted with False Testimony.               Denegre, after being confronted with

incontrovertible evidence of his false testimony, has testified:

                Q. (BY MR. FREEMAN) Mr. Denegre, I’m putting on the screen what’s
                marked as Exhibit 15. Do you see this, sir?
                A. I do.
                Q. And are you familiar with this document?
                A. I’m not.
                Q. Let’s look at the top, sir. Is this an email from you, Matt Denegre?
                A. Yes.
                Q. Okay. And is this an email that you sent to Tony Ludlow on October
                7th, 2018?
                A. Yes, it is.
                Q. Okay. And is the subject line “ACET Newco”?
                A. Yes.
                Q. There are some attachments to your email; is that correct?
                A. Yes.
                Q. And are those attachments a PDF titled “EIN Windspeed Trading,
                LLC” and a Word document entitled – no, excuse me -- a PDF entitled
                “Certificate of Formation” and a Word document entitled “LLC
                Operating Agreement-Windspeed Trading, LLC”?
                A. Yes.
                Q. Okay. And did you, in fact, send this email to Tony Ludlow on October
                7th, 2018?
                A. Yes.
                Q. And is this, in fact, a true and correct copy of the email that you sent?
                A. Yes.
                Q. And did you state to Tony Ludlow, “These are the formation
                documents for ACET’s Newco.” Is that correct?
                A. That’s how it reads.
                Q. Okay. Did you state there in that last sentence of the paragraph, “The
                operating agreement will certainly have changes and maybe a complete redo.”
                Is that correct?
                A. Yes.
                Q. And did you state that you were going to send this to Julie?
                A. Yes.
                Q. Who is Julie?
                A. This would be Julie Smith.
                Q. Okay. Did you send these documents to Julie Smith?
                A. I don’t remember.
                Q. Is Julie Smith an attorney?
                A. Yes.
                Q. And who does she work for?
                A. Hallett & Perrin.

(Exhibit 1, Dep. of Matt Denegre, 194:12-196:11) (bold added).


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   130. Szeto and Windspeed Confronted with False Testimony. Szeto, after being confronted

with incontrovertible evidence of his false testimony, has testified:

                Q. Mr. Szeto, I’m putting on the screen what’s marked as Exhibit 36. Can you see
                this document?
                A. Uh-huh.
                                (Exhibit 36 marked.)
                Q. (BY MR. FREEMAN) Do you recognize this document?
                A. It looks familiar.
                Q. Okay. Will you tell me what it is?
                A. Well, it looks like an old email, but I cannot tell you exactly why and what it was.
                Q. Okay. Is your name listed here?
                A. Yes.
                Q. And is this an email that was sent from you?
                A. Looks like it.
                Q. And is it an email that was sent from you on October 10th, 2018?
                A. Looks like -- I look at the date, yes.
                Q. Okay. And is the subject line “ownership of newco”?
                A. Yes.
                Q. And was this sent to Steve Bellah, Matt Denegre and Tony Ludlow?
                A. Yes.
                Q. And was this sent from your acetglobal.com email address?
                A. Yes.

(Exhibit 2, Dep. of William Szeto, 12:15–25, 13:1–15) (bold added).

   131. Ludlow and Baymark Confronted with False Testimony. Ludlow and Baymark have

testified:

                Q. And is that an e-mail -- what’s in Exhibit 15, is that an e-mail from Matt
                Denegre to you on October 7th, 2018?
                A. It is.
                Q. Okay. And is the Subject line “ACET Newco”?
                A. Uh-huh, it is.
                Q. What did you understand ACET Newco to refer to?
                A. So below it, it says, “EIN.” It appears that there’s Windspeed
                Trading formation documents attached to it. So I guess that’s he’s
                talking about Windspeed.
                Q. You understood ACET Newco to refer to Windspeed Trading?

(Exhibit 3, Dep. of Tony Ludlow, 112:01-13) (bold added).

   132. The Defendants Referred to the Windspeed Loan as the “Old ACET Loan.” The

conspirators referred to Windspeed’s note with Super G as the “old ACET loan,” further evidencing


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the relationship between ACET Global and Windspeed. However, to cover up their fraud, the

conspirators have falsely testified under oath that they have never referred to the Windspeed loan as

the “old ACET loan.”

  133. Denegre, in sworn testimony, has testified as follows:

               Q. (BY MR. FREEMAN) Did you ever refer to the Windspeed loan from
               Super G Capital as the “ACET note”?
                                 MR. PERRIN: Objection; form.
               A. Potentially.
               Q. (BY MR. FREEMAN) What do you mean “potentially”?
               A. I would have see an email that says that. I know -- I don’t know. I don’t
               recall. So we’d have to look at something.
               Q. Why would you refer to a loan to Windspeed Trading from Super G Capital
               as the “ACET note”?
                                 MR. PERRIN: Objection; form.
               A. Well, Super G was -- ACET Global was in default with Super G. Super G
               was also financing Windspeed, a separate transaction. There was a foreclosure
               going on. It’s very likely that there was an mistake in the email with calling the
               loan the
               correct name.
               Q. (BY MR. FREEMAN) Why do you say it’s very likely that there was a
               mistake in an email calling it that name?
                                 MR. PERRIN: Objection; form.
               A. Well, if you recall, I was working on helping with the transaction with
               Windspeed on the Baymark side, as well as ACET Global with Super G. It’s
               just -- it’s a possibility that the name in the email got titled wrong.
               Q. (BY MR. FREEMAN) Does anything lead you to believe that actually
               happened?
                                 MR. PERRIN: Objection; form.
               A. That what happened?
               Q. (BY MR. FREEMAN) That you actually referred to the wrong note as the
               “ACET note”?
               A. I believe so.
               Q. What leads you to believe that happened?
               A. Because Windspeed -- again, if I see the loan agreement, that is not an
               ACET note. It’s probably a different loan.

(Exhibit 1, Dep. Of Matt Denegre, 85:23-87:10).

  134. Denegre is Confronted with his False Testimony. But Denegre later demonstrated that

testimony was false:

               Q. (BY MR. FREEMAN) Mr. Denegre, I’m putting up on the screen what’s
               marked as Exhibit 18. Do you see that, sir?

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               A. I do.
               Q. Do you recognize this document?
               A. I do not.
               Q. Is this an email from you, Matt Denegre, on January 19th, 2019, to William
               Szeto?
               A. Yes.
               Q. And are you forwarding a document entitled “Windspeed-Old
               ACET loan agreement”?
               A. Yes.
               Q. Okay. And what is that document?
               A. It’s an Amended and Restated Business Loan and Security Agreement.
               Q. Okay. And why were you receiving it?
               A. Julie had sent it to me.
               Q. Okay. And why did Julie send it to you?
               A. She asked me to review the first two pages of the addendum.
               Q. Okay. And what does she say here? Did she say, “Matt, attached
               is a draft of an amended and restated loan agreement that represents the
               old ACET loan that Windspeed is going to assume”?
               A. Yes, it does.
               Q. What does that mean?
               A. It means what it says.
               Q. What is that?
               A. Attached is a draft of an amended and restated loan agreement that
               represents the old ACET loan that Windspeed is going to assume.
               Q. Was Windspeed going to assume ACET’s loan?
               A. I think so. I think so.

(Exhibit 1, Dep. of Matt Denegre, 207:06-208:13) (bold added).

               Q. Okay. So what did you mean here by, “We agreed to assume the
               old ACET note”?
                             MR. PERRIN: Objection; form.
               A. This was -- this was likely referring to Bill and Windspeed.
               Q. (BY MR. FREEMAN) Okay. When you said “we,” did you mean by that
               that Windspeed was a completely unrelated, separate, independent company?
               A. I don’t know what I meant by “we.”

(Exhibit 1, Dep. of Matt Denegre, 225:21-226:04) (bold added).

  135. Szeto Gives False Testimony. Szeto, in sworn testimony, has testified as follows:

               Q. Okay. Mr. Szeto, did Windspeed have a debt to Super G in 2018?
               A. Yes. We have a loan from Super G for $200,000.
               Q. And, in fact, did you refer to Windspeed’s debt to Super G as the “ACET
               note”?
               A. No. It was a loan.
               Q. Did Matt ever refer to that note as the “ACET note”?
               A. No.

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(Exhibit 2, Dep. of William Szeto, 14:15-24) (bold added).

  136. Szeto is Confronted with his False Testimony.

               Q. (BY MR. FREEMAN) Mr. Szeto, down at the bottom of this page, I’d like for
               you to look with me. I’m highlighting on the screen so you can see it. Is that an
               email from Matt Denegre?
               A. Yes.
               Q. And is that an email from Matt on December 20th, 2018?
               A. Yes.
               Q. And is that to Steve Bellah at his Super G Capital account, Tony Ludlow
               and yourself?
               A. Yes.
               Q. And does it state, “Bill is going to make a payment of $2500 this week towards
               the ACET note”?
               A. Yes, I see that.

(Exhibit 2, Dep. of William Szeto, 15:10-23) (bold added).

  137. Hook is Confronted with his False Testimony. Hook originally testified that he had never

heard a reference to the ACET Note:

               Q. Okay. Did you ever refer to Windspeed
               Trading’s loan as the ACET note?
               A. Not that I recall.

(Exhibit 7, Dep. of David Hook, 81:17-19).

  138. Hook, however, could not (or would not) explain how he, as the president of ACET Global,

was unaware of the ongoing discussions about Windspeed taking on the “ACET Note.” His

testimony was not credible.

               Q. Okay. Does it state from Mr. Denegre, at his Baymark Partners email
               address, “Super G sent terms for the assumption of the ACET note below”?
               A. That’s what it says, yes.
               Q. Okay. And this email was sent while you were the president of ACET
               Global; correct?
               A. I assume so.
               Q. Okay. What assumption of your company’s note is Mr. Denegre
               referring to?
                                MR. PERRIN: Objection, form.
               A. I -- I don’t know.
               Q. (By Mr. Freeman) No idea? You never discussed with Mr. Denegre
               anyone assuming your company’s note?

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                A. No.
                Q. You don’t know anything about Windspeed Trading assuming your
                company’s note?
                A. No.
                Q. But you were president of ACET Global, and your employee appears to
                be discussing the assumption of your company’s note; correct?
                                MR. PERRIN: Objection, form.
                A. Yes.

(Exhibit 7, Dep. of David Hook, 128:03-24).

   139. Hallett & Perrin Drafts the Transactional Documents. Baymark tasked its law firm,

Hallett & Perrin, with drafting the transactional documents. As Hallett & Perrin has testified, it drafted

Windspeed’s company agreement.

                Q. Did Hallett & Perrin draft the company agreement providing for Baymark
                Partners and Super G Capital to maintain board members on Windspeed
                board of managers?
                A. Yes.

(Exhibit 6, Dep. of Julie Smith, 14:14-18).

   140. Hallett & Perrin also drafted the warrant purchase agreements for Windspeed:

                Q. Okay. But did you, in fact, back on October 15th, 2018, write that you
                were providing these warrants purchase agreement documents in connection
                with the formation of Windspeed Trading, LLC?
                A. It appears that that’s what I wrote in the e-mail.
                Q. Does this e-mail -- does this document appear to be a true and correct
                copy of what it purports to be?
                A. Yes.

(Exhibit 6, Dep. of Julie Smith, 50:23-51:06).

   141. Hallett & Perrin also drafted the warrants for Windspeed:

                Q. Okay. And did Hallett and Perrin also draft the warrants themselves?
                A. Yes, same.
                Q. Okay. So all of that is Hallett & Perrin drafted the amended and restated
                company agreement of Windspeed Trading, LLC, correct?
                A. Yes.
                Q. And Hallett & Perrin drafted the warrant purchase agreements with respect
                to Windspeed Trading, LLC?
                A. Yes.

(Exhibit 6, Dep. of Julie Smith, 38:11-21).

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   142. Hallett & Perrin Attempts to Distance Itself from Windspeed. Nonetheless, despite

Super G’s counsel referring to Hallett & Perrin as “Windspeed’s counsel,” Hallett & Perrin has now

attempted to distance itself from its representation of Windspeed—because it presented an obvious

conflict of interest and violation of its fiduciary duties to its then-client, ACET Global:

                  Q. Were you involved in the formation of Windspeed?
                  A. No.

(Exhibit 6, Dep. of Julie Smith, 37:13-15).

   143. The Parties Execute the Windspeed Company Agreement. On October 18, 2018—some

two weeks before the D&T Note would come due on October 31, 2018—Szeto, on behalf of

Windspeed; Ludlow, on behalf of BP Management; and Cole, on behalf of Super G, executed the

Amended and Restated Company Agreement of Windspeed. (Exhibit 14). They became business

partners in Windspeed. Hallett & Perrin drafted the Amended and Restated Company Agreement.

Szeto was still serving as the CEO of ACET Global.

   144. Following the execution of the Windspeed transactional documents, Hallett & Perrin emailed

to congratulate the parties:51




51 See Exhibit 33, H&P Congratulatory Email.



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                                            Windspeed Trading, LLC

     145. Windspeed was established as a sham; it was nothing more than a vehicle to fraudulently

transfer the assets and business operations of ACET Global for the benefit of Baymark, Windspeed,

and Szeto—all free of D&T Partners’ security interest.

     146. Szeto, the Baymark-installed CEO yet again, was merely a puppet. The parties used Szeto to

hide Baymark and Super G’s ownership, control, and association to Windspeed. The operating

agreement, however, stripped Szeto of any actual control and relegated him to a small economic

interest.

     147. At the same time, and as described in more detail below, Super G contributed another

$200,000 to Windspeed although, at the time, it had no assets whatsoever. Super G did so, of course,

because it knew that Windspeed would soon have control over ACET Global’s assets and business

operations.52

     148. The Ownership of Windspeed. Baymark, Super G, and Szeto established Windspeed with

the following beneficial ownership: BP Management (40%); Super G (40%); and Szeto (20%).

(Exhibits 14, 15, and 16).

     149. Szeto Gives False Testimony About Windspeed’s Ownership Splits. To conceal the

relationship, however, Szeto has testified under oath that that there was no such ownership split

regarding Windspeed:

                  Q. Mr. Szeto, do you own Windspeed?
                  A. Yes, I do.
                  Q. And that’s Windspeed Trading, LLC?
                  A. Yes.
                  Q. Is there any kind of ownership split?


52       14 Q. So at the time that Super G made the $200,000
         15 loan in October of 2018, did it know or believe that
         16 Windspeed would acquire the assets of ACET Global?
         17 A. Yes.

(Exhibit 8, Dep. of Marc Cole, 59:14-17).

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               A. I don’t understand.
               Q. Is there any kind of split in ownership?
               A. No.
               Q. When you set it up, did you want to set it up
               with an ownership split?
               A. No.
               Q. You’re certain about that?
               A. Yes.
               Q. Is there an ownership split with Super G
               Capital?
               A. No.
               Q. Is there an ownership split with Baymark?
               A. No.
               Q. No ownership split with any Baymark party?
               A. No.
               Q. Did you want them -- did you want Super G to
               have a share of Windspeed when you formed it?
               A. No.
               Q. Did you want any Baymark party to have a share
               of Windspeed when you formed it?
               A. No.
               Q. You didn’t want them to have a share that
               would compensate them for something?
               A. No.
               Q. You didn’t want them to have a share that
               would compensate them for their investment in ACET
               Global?
               A. No.
               Q. Did you want Super G to get its fair share of
               Windspeed because of its investment in ACET Global?
               A. No.
               Q. Did you want Baymark to get its fair share of
               Windspeed for its investment in ACET Global?
               A. No.
               Q. Did ACET have anything to do with the
               formation of Windspeed?
               A. No.
               Q. Nothing at all?
               A. Nothing at all.

   (Exhibit 2, Dep. of William Szeto, 10:17-12:10).

  150. Szeto Recants his False Testimony about Ownership Splits. After being confronted with

documentary evidence, however, Szeto subsequently turned yet another “180” and admitted that he




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had in fact established the company with an ownership split providing Super G 40% and BP

Management (40%):

               Q. And Mr. Szeto, am I correct in reading this email that was sent from you
               on October 8th, 2018, to Matt Denegre stating that “After considering the
               amount of investment you and Super G put into the ACET Global company,
               here is the percentage I am willing to live with”? Is that correct?
               A. Yes.
               Q. And then does it provide a breakdown for an undiluted percentage with
               respect to Baymark and yourself?
               A. Yes.
               Q. And then does it provide for -- does it state, “Super G warrant for 40
               percent”?
               A. Yes.
               Q. And then does it, right under that, provide for diluted percentages
               following the exercise of a warrant of 40 percent for Baymark, 20 percent for
               yourself and 40 percent for Super G?
               A. Yes.

(Exhibit 2, Dep. of William Szeto, 13:21-14:14); (Exhibit 34, Szeto Ownership Proposal).

  151. Denegre similarly testified under oath that there was no ownership split in Windspeed:

               Q. Okay. Mr. Denegre, who owns Windspeed?
               A. Bill Szeto.
               Q. And does Bill Szeto own 100 percent of Windspeed?
               A. Yes.
               Q. Would you -- would you be concerned about buying a company on which
               the majority of its stock was subject to a warrant agreement?
                               MR. PERRIN: Objection; form.
               A. I don’t have an opinion on that.

(Exhibit 1, Dep. of Matt Denegre, 191:10-19).

       152. And Hook could not recall whether any Baymark entity had an interest in Windspeed:

               Q. Do you know how Windspeed is structured?
               A. No.
               Q. You don’t have any position at Windspeed?
               A. No.
               Q. Do you know whether Baymark does?
                              MR. PERRIN: Objection, form.
               A. I am not sure.
               Q. (By Mr. Freeman) Okay.
               A. Not sure.
               Q. Okay. Have you ever seen the company agreement for Windspeed Trading,
               LLC?

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               A. No.
               ...
               Q. Do you -- do you know whether Baymark Partners or any of its affiliates
               have any interest in Windspeed Trading, LLC?
                              MR. PERRIN: Objection, form.
               A. I don’t know for sure if we have anything or not.

(Exhibit 7, Dep. of David Hook, 89:12-23; 90:17-22).

  153. Ludlow and Baymark Admit to BP Management’s 40% Stake in Windspeed. Ludlow

and Baymark also admit that BP Management obtained a 40% equity stake in Windspeed. (“Bill asked

us to take equity [in Windspeed].” Noting in this context that he uses “equity or warrant”

“interchangeably.”). (Exhibit 3, Dep. of Tony Ludlow, 108:11-13). Ludlow testified as follows:

               Q. Did -- who owns Windspeed?
               A. Who owns Windspeed? I’m not sure right now. I think at the time, I had a
               warrant. I think Super G had it, and I would assume Bill Szeto does. I don’t
               know where it stands.
               Q. Okay. But you think Super G had ownership in Windspeed?
               A. I believe so. When I say “ownership,” I’m being casual, blending of
               warrant and ownership, save the difference.
               Q. Got it. So you think Bill Szeto had some?
               A. Yeah, he had to, right. I mean, he put it together and he’s doing all this
               footwork. I would assume he’d have some.
               Q. Did -- and does Baymark Partners Management?
               A. Yeah, the warrant that he told me was 40 percent.

(Exhibit 3, Dep. of Tony Ludlow, 201:14-202:05).

  154. Hallett & Perrin Structured Windspeed’s Ownership and Control.                   Julie Smith

acknowledges that she and Hallett & Perrin helped Baymark set up a structure that would allow BP

Management to both control Windspeed and to have ownership of 40% of its membership interests

for a nominal exercise price of $100. Smith has testified as follows:

               Q. Does Baymark Partners have a contractual right to purchase 40 percent of
               Windspeed for $100?
               A. Yes.

(Exhibit 6, Dep. of Julie Smith, 13:25-14:02).

               Q. Does Super G have a contractual right to purchase 40 percent of
               Windspeed for $100?

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               A. Yes.

(Exhibit 6, Dep. of Julie Smith, 14:11-13).

               Q. Okay. And if you’ll look down in the warrant section of the agreement,
               was there, in fact, an exercise price of $100 to exercise the warrants?
               A. Yes.
               Q. And on the exercise of those warrants, would it entitle the warrant holder
               to own 40 percent of the outstanding membership interests of Windspeed
               Trading?
               A. Yes.
               Q. And those warrants’ rights were drafted to be provided to both Super G
               Capital and to Baymark Partners; is that correct?
               A. This was a form of an agreement that was going to be used for both.
               Q. Okay. And who paid the legal fees to draft the warrant agreement?
               A. Baymark.

(Exhibit 6, Dep. of Julie Smith, 52:14-53:04).

  155. The Windspeed Company Agreement. The Windspeed Company Agreement gives Super

G and BP Management perpetual authority to appoint and control a board member of Windspeed’s

three-person board (and the right to replace those board members). (Exhibit 14, § 3.4). Under the

Company Agreement, the board members manage all of the business and affairs of Windspeed by

majority—i.e., Super G and BP Management maintain complete control. (Exhibit 14, § 3.1). As Cole

testified regarding the clear provisions of the Company Agreement, Super G and BP Management

held complete control over every aspect of Windspeed:

               Q. Does this appear to give complete operational authority to the board of
               managers?
                             MR. BLAKLEY: Objection, form.
               A. Yes, in my opinion.

(Exhibit 8, Dep. of Marc Cole, 143:05-08).

               Q. does this appear to remove any authority on behalf of a member, at least
               in their capacity as a member?
                                MR. BLAKLEY: Objection, form.
                                MR. PERRIN: Objection, form.
               A. Taken together, 3.1 and 3.2 tells me the board controls the Company.
               Q. (BY MR. FREEMAN) Okay. And I want to look at the board that was
               formed on October 18th, 2018. Did that board consist of three persons?
               A. Yes.

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                Q. And was one of those persons named Anthony Ludlow --
                A. Yes.
                Q. -- and was he titled as the Baymark manager?
                A. That’s correct.
                Q. And was one of those persons Steven Bellah?
                A. Yes.
                Q. And was he titled the Super G manager?
                A. That’s correct.
                Q. And was one of those persons named William
                Szeto?
                A. Yes.
                Q. And was he titled *the Szeto manager?
                A. Yes.

(Exhibit 8, Dep. of Marc Cole, 146:24-147:20).

   156. The Company Agreement even provides that “members” have no right to control any aspect

of Windspeed’s operations: “No Control by Members.” (Exhibit 14, § 3.2). It provides that “No

Member . . . will participate in or have any control over the Company business or will have any

authority or right to act for or bind the Company.” Id.

   157. Super G and BP Management own warrants for 80% of the membership interests of

Windspeed. (Exhibit 14, Exhibit A, Members; Warrantholders; Interest).

   158. The Company Agreement prohibits Szeto from transferring his “ownership” in Windspeed to

any person without the consent of Super G and BP Management. (Exhibit 14, § 9.1). As Cole

acknowledged:

                Q. Does this provision appear to provide that Mr. Szeto could not sell,
                transfer, pledge, encumber, hypothecate or otherwise assign his interest in
                Windspeed Trading without the consent of both the Super G manager and
                the Baymark manager?
                A. That would be my interpretation, yes.

(Exhibit 8, Dep. of Marc Cole, 149:11-16).

   159. In fact, Super G and BP Management are granted authority under the Company Agreement

to force Szeto to sell all of his interest in “his” company without his consent. (Exhibit 14, §§ 3.1, 9.1,

9.6). The Company Agreement also requires that Szeto provide the “Baymark Manager” and “Super


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G Manager” a power of attorney to engage in virtually any act with unfettered discretion on his behalf

regarding Windspeed—even to amend the Company Agreement without his consent. Id. at § 11.3.

  160. Windspeed’s Board was a Sham. Windspeed never followed any corporate formalities, and

its board was a sham. Indeed, its purported “board” never had a single board meeting:

               Q. (BY MR. FREEMAN) So you’re saying, no, it wasn’t a real board?
                             MR. PERRIN: Objection, form.
               Q. (BY MR. FREEMAN) Correct?
               A. Yes. No, it wasn’t a real board.

(Exhibit 2, Dep. of William Szeto, 234:23-235:02).

               Q. So y’all didn’t ever have a board meeting? Did y’all -- is that correct?
               A. Yes.

(Exhibit 2, Dep. of William Szeto, 103:23-25).

               Q. Did anyone else -- I mean, did anyone – while you’re taking your job as
               CEO serious -- I mean, was anybody else doing anything as a board member?
               A. Not that I know of.
               Q. Did they seem to take their role as a board member serious or --
               A. I cannot tell.
                              MR. PERRIN: Objection, form.
               Q. (BY MR. FREEMAN) Okay. You never saw anybody do anything as a
               board member?
               A. Not that I know of.
               Q. Okay. What was the purpose of the board?
               A. I cannot tell you for sure for this particular board.

(Exhibit 2, Dep. of William Szeto, 105:10-23).

  161. No Board Minutes or Resolutions. There were never any board minutes or resolutions;

nor did the board take any action.

               Q. Were there ever any board resolutions adopted?
               A. No.
               Q. Was there ever any action taken by the board?
               A. No.
               Q. Was there ever -- was there ever any discussion about the board?
               A. No, not that I know of.

(Exhibit 2, Dep. of William Szeto, 104:19-25).



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  162. BP Management and Super G Imposed the Board Structure. Rather, Super G and BP

Management, as part of their fraudulent scheme, imposed the board. Szeto was a mere puppet and

had no actual control:

                  Q. So Baymark and Super G are made directors on this board because they
                  tell you that’s how it’s going be?
                                   MR. PERRIN: Objection, form.
                  A. Yes.
                  Q. (BY MR. FREEMAN) And you didn’t really have a choice in the matter,
                  did you?
                  A. Well, no, not that I know of.

(Exhibit 2, Dep. of William Szeto, 108:02-09).

  163. Super G Contributes More Capital. On October 18, 2018, the same date as the Windspeed

Amended and Restated Company Agreement (among Super G, BP Management, and Szeto) as part

of the scheme, Super G provided Windspeed with $200,000 of capital.

                  Q. (BY MR. FREEMAN) How much new money did you put in to
                  Windspeed?
                  A. $200,000.
                  Q. And did Super G receive anything in return?
                  A. Yes. It received a warrant for ownership in Windspeed Trading.

(Exhibit 8, Dep. of Marc Cole, 56:12-15).

  164. Super G and Cole, in testimony, acknowledged that Windspeed had “no” assets at the time

that Super G extended $200,000 to Windspeed, and that it was unusual to make a loan to a company

with no assets:

                  Q. (BY MR. FREEMAN) What assets did Windspeed have at the time that
                  Super G made the $200,000 loan in October of 2018?
                                    MS. HARD-WILSON: Objection, form.
                  A. Are you asking pre-foreclosure or post?
                  Q. (BY MR. FREEMAN) Yes, sir, pre-foreclosure.
                  A. I’m not aware that they brought any assets into the company.
                  Q. Is it typical for Super G to extend a $200,000 loan to a company with no
                  assets?
                                    MR. BLAKLEY: Objection, form.
                  A. No.

(Exhibit 8, Dep. of Marc Cole, 61:17-62:03).

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   165. However, as Super G and Cole acknowledged, Super G believed that Windspeed would

acquire all of ACET Global’s assets, explaining the loan:

                  Q. So at the time that Super G made the $200,000 loan in October of 2018, did it
                  know or believe that Windspeed would acquire the assets of ACET Global?
                  A. Yes.

(Exhibit 8, Dep. of Marc Cole , 62:18-21).

   166. At the time it made loan in October 2018, Super G knew that Windspeed would acquire ACET

Global’s assets, because the Defendants had already agreed upon the plan. As Cole testified:

                  Q. So at the time that Super G made the $200,000 loan in October of 2018,
                  did it know or believe that Windspeed would acquire the assets of ACET
                  Global?
                  A. Yes.

(Exhibit 8, Dep. of Marc Cole, 62:18-21).53

   167. Notably, again, there had been no foreclosure at that time.                       Indeed, even though the

defendants fraudulently transferred all of ACET Global’s assets and business operations to Windspeed

in late October of 2018, the purported “foreclosure”—which was a sham and was designed to create

a document record to hide the fraud and to help the defendants carry out their scheme—did not occur

until 2019. As Super G and Cole admitted in testimony:

                  Q. (BY MR. FREEMAN) Okay. Did -- just to be clear, did Super G
                  foreclose on ACET Global’s assets in 2018?
                  A. No.
                                MR. PERRIN: Objection, form.
                  Q. (BY MR. FREEMAN) Did Super G foreclose on ACET Global’s
                  assets in October of 2018?
                                MR. PERRIN: Objection, form.
                  A. No.



53 Likewise, even Hook acknowledged that it was an “unusual” transaction:


         Q. . . . I’m asking do you believe that it is an unusual transaction for Baymark, or one of its
         affiliates, to have both a member -- both a role as a manager on the board of managers and to
         have warrant rights in the company?
         A. Yes, that is unusual.
(Exhibit 7, Dep. of David Hook, 96:05-10).

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(Exhibit 8, Dep. of Marc Cole, 182:11-19) (bold added).

  168. Szeto as CEO of Windspeed. In October of 2018, Szeto began serving as the CEO of

Windspeed (while he simultaneously maintained his position as CEO of ACET Global).

  169. Transfer of Employees. Although Baymark and its co-conspirators claim that there is and

was never a relationship or connection between ACET Global and Windspeed, every single employee

of ACET Global was transferred over to Windspeed when the “wind down” was executed. (Exhibit

4, Dep. of Dana Tomerlin, 30:11-14). That is, ACET Global’s entire workforce simply transferred

over to Windspeed. (Exhibit 4, Dep. of Dana Tomerlin, 30:11-14); (Exhibit 2, Dep. of William Szeto,

150:16-153:15). ACET Global’s former employees have acknowledged this in their testimony. For

example:

               Q. So everyone that worked at ACET Global in September of 2018 began
               working at Windspeed in October of 2018?
               A. To my recall, yes.

(Exhibit 4, Dep. of Dana Tomerlin, 30:11-14).

               Q. (BY MR. FREEMAN) In September of 2018, did any of these people
               work for ACET Global: Sai Vattana?
               ...
               Q. Sai Vattana?
               A. Yes.
               Q. Sai worked for ACET Global in September of 2018. Did Jane Lin work
               for ACET Global in September of 2018?
               A. Yes.
               Q. Did Dana Tomerlin work for ACET Global in September of 2018?
               A. Yes.
               Q. Did Paul Ketter?
               A. Paula.
               Q. Paula Ketter, excuse me.
               A. Yes.
               Q. Did Vanessa Torres?
               A. Yes.
               Q. Okay. Now, in September or October of 2018, did any of these people
               work for Windspeed: Sai Vattana?
               A. Yes.
               Q. Jane Lin?
               A. Yes.
               Q. Dana Tomerlin?

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                  A. Yes.
                  Q. Paula Ketter?
                  A. Yes.
                  Q. Vanessa Torres?
                  A. Yes.
                  Q. Were those all of the employees that were at ACET Global previously?
                  A. Yes.
                  Q. And they all came to work for Windspeed?
                  A. Yes.
                  Q. Including yourself?
                  A. Yes.
                  Q. Did you terminate each of those employees of ACET Global?
                  A. Yes.
                  Q. And did you terminate each of them prior to hiring them as employees
                  of Windspeed?
                  A. Yes.
                  Q. Okay. And so -- and when was that?
                  A. When was what?
                  Q. When did you terminate them?
                  A. At the end of September.

(Exhibit 2, Dep. of William Szeto, 150:16-152:15).

   170. The Retroactive Employment Letter. The transfer, however, was made retroactive. That

is, each employee was notified on October 9, 2018, via email that they had been terminated from

ACET Global effective September 28, 2018, and that their employment with Windspeed had become

effective thereafter. A screen shot of a representative email from Szeto appears immediately below: 54




54 See Exhibit 29, Retroactive Termination Email.



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  171. Interestingly, to that date, each of the employees thought that they were still working for

ACET Global. Szeto’s testimony on the matter follows:

               Q. Okay. I’m showing you what’s marked as Exhibit 26 on the screen.
               A. Uh-huh.
               Q. Do you recognize this document?
               A. Yes.
                              (Exhibit 26 marked.)
               Q. (BY MR. FREEMAN) Should look pretty familiar, right?
               A. Yes.
               Q. Is that on top of your package of documents there?
               A. Yes.
               Q. And is this an email from you?
               A. Yes.
               Q. Is it dated October 9th, 2018?
               A. Yes.
               Q. It’s an email to Jane Lin?
               A. Yes.
               Q. And is the subject line “Your employment with ACET Global”?
               A. Yes.
               Q. Okay. And is this sent from your ACET Global email address?
               A. Yes.
               Q. And does this say, “Jane, this is to inform you that your employment with
               ACET Global is terminated effective September 28th, 2018”?

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                A. Yes.
                Q. Okay. And so do you understand this to have terminated her as of
                September 28th, 2018?
                A. Yes.
                Q. Okay. Was there a reason that you backdated this termination?
                20 A. I cannot –
                                 MR. PERRIN: Objection, form.
                A. -- recall the reason.
                Q. (BY MR. FREEMAN) Excuse me?
                A. I don’t remember the reason.
                Q. You don’t recall why you backdated it?
                A. No.
                                 MR. PERRIN: Objection, form.
                Q. (BY MR. FREEMAN) But you did backdate it, correct?
                A. Well --
                                 MR. PERRIN: Objection, form.
                A. -- yes.
                Q. (BY MR. FREEMAN) That was a yes? Is that a yes, sir?
                A. Yes.
                Q. Thank you. Were those -- did you send similar emails to the rest of your
                employees?
                A. Yes.

(Exhibit 2, Dep. of William Szeto, 154:12-156:13).

  172. Two Sets of Books. After transferring ACET Global’s business over to Windspeed, Szeto

instructed Windspeed’s accountant to maintain “two sets of books.” Szeto admits to the instruction

in testimony:

                Q. And did you instruct Jane Lynn to keep two sets of books?
                A. Yes, until the end of January.
                Q. January when?
                A. 2019.
                Q. So until the end of January 2019, you maintained two sets of books?
                A. Yes.
                Q. And those two sets of books were for ACET Global and for
                Windspeed?
                A. Yes.

(Exhibit 2, Dep. of William Szeto, 63:12-22).

                Q. Got it. So it was difficult to keep the financial information clean because
                you had two sets of books?
                               MS. HARD-WILSON: Objection, form.
                A. Yes.
                               MR. PERRIN: Objection, form.

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               Q. (BY MR. FREEMAN) So it was -- just want to make sure the record was
               clear. It was difficult to keep all the data clean because you had more than one
               set of books, right?
                                MS. HARD-WILSON: Objection, form.
                                MR. PERRIN: Objection, form.
               A. Yes.

(Exhibit 2, Dep. of William Szeto, 207:09-21).

               A. Let me explain this this way. Okay? I have two sets of book. One is
               for sales and -- basically, for ACET’s data. And I have one set of book
               for Windspeed Trading data. Well, quite often, that the two companies
               were selling the similar kind of merchandise. And when fulfillment pack
               them, they do not know which one is which. So they just pack them and
               ship them.

(Exhibit 2, Dep. of William Szeto, 208:10-16) (bold added).

  173. Denegre, however, denies recalling giving Szeto instructions to maintain two sets of books.

In sworn testimony, Denegre claimed the following:

               Q. Okay. Did you discuss having Windspeed Trading maintain two sets of
               books?
                              MR. PERRIN: Objection; form.
               A. Again, I don’t recall.
               Q. (BY MR. FREEMAN) Did you ever direct Bill Szeto to keep two sets of
               books?
                              MR. PERRIN: Objection; form.
               A. I don’t recall.

(Exhibit 1, Dep. of Matt Denegre, 90:09-16).

  174. Denegre Falsely Testifies About Two Books. Again, however, Denegre’s prior email

correspondence tells a far different story, demonstrating that he instructed Szeto to maintain “two

separate books for obvious reasons.” Denegre gave false testimony under oath to cover up the fraud.

His testimony provides as follows:

               Q. (BY MR. FREEMAN) Okay. If you look at the email on the bottom,
               the email from you at your Baymark Partners email address says, “Bill, Jane
               will need to set up a new QuickBooks file for Windspeed and maintain the
               old QuickBooks file for ACET.” Does that appear to be correct?
               A. That’s how I read it.
               Q. Okay. And does it go on to say, “It will need to be two separate
               books for obvious reasons”? Is that correct?

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                  A. That’s how I read it.
                  Q. Okay. What were the obvious reasons, sir?
                  A. There’s two separate companies.
                  Q. Okay. Two separate and distinct companies?
                  A. Correct.
                  Q. Okay. Is that the only obvious reason?
                  A. I can’t think of another reason.

(Exhibit 1, Dep. of Matt Denegre, 94:09-25) (bold added).

   175. A screen shot of Denegre’s October 2018 email with instructions to Szeto to maintain “two

separate books for obvious reasons” is set forth below:55




   176. Likewise, Hook has attempted to distance himself of any knowledge of the financial records

of the company over which he served as president:

                  Q. Did Windspeed Trading maintain the financial records of ACET Global?
                  A. I -- I don’t know.
                  Q. But you were the president of ACET Global; correct?
                  A. Yes, I was.
                  Q. Okay. And you don’t know if Windspeed Trading ever maintained the
                  financial records of ACET Global?
                  A. No.
                  Q. That’s a no, they didn’t? Or no, you don’tknow?
                  A. No, I don’t know.


55 See Exhibit 30, Separate Books Email.



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(Exhibit 7, Dep. of David Hook, 80:16-81:02).

               Q. Okay. And you don’t know whether there were separate books and
               records for ACET Global and Windspeed Trading?
               A. No.
               Q. Did you ever provide instructions to Windspeed Trading regarding
               ACET Global’s financial records?
               A. No.

(Exhibit 7, Dep. of David Hook, 81:03-09).

  177. Ludlow, in sworn testimony, has denied that Windspeed maintained any financial records of

ACET Global:

               Q. Did Windspeed Trading maintain the financial records of ACET Global?
               A. I don’t know how to answer that. I mean, no. They were separate
               companies and they had separate books.

(Exhibit 3, Dep. of Tony Ludlow, 164:02-06).

  178. Reports Consolidating Windspeed and ACET.               Denegre and Baymark requested

consolidated reports, so that they could monitor ACET Global’s business, which was being continued

under Windspeed.

  179. When questioned under oath, Denegre, of course, initially denied having requested

consolidated reports regarding ACET Global and Windspeed:

               Q. Okay. Did you instruct Windspeed to combine Windspeed financial
               reports with ACET Global’s financial reports?
               A. Don’t think so.
               Q. You don’t think you did?
               A. No.
               Q. Is there any reason you might have ever asked for that?
               A. Not that I can recall.
               Q. Okay. Are you pretty certain you did not?
               A. Not that I can recall.
               Q. Given that Windspeed was a completely separate company, is there any
               reason you would have asked for that?
                              MR. PERRIN: Objection; form.
               A. Not that I can recall.

(Exhibit 1, Dep. of Matt Denegre, 119:06-21).



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               Q. And did you want those financial statements to report – to report ACET
               Global and Windspeed on a combined basis?
               A. No.
               Q. No reason you would have wanted that, is there?
               A. No.

(Exhibit 1, Dep. of Matt Denegre, 121:06-12).

   180. Denegre’s Emails Show His Consolidation Request. Once again, however, Denegre’s

emails tell a different story and when confronted with them he acknowledged that his testimony was

false and that he indeed requested consolidated statements—that is, that his prior sworn testimony

was false:

               Q. And does he say, “I told her not to. I do not want to mix the ACET
               results together with the Windspeed results in a single report. The January
               report is a pure Windspeed report and is not part of ACET combined
               report.” Do you know what any of that is referring to?
               A. I don’t.
               Q. Is there any reason you would have responded and still wanted them
               combined?
               A. I don’t know how I responded to this.
               Q. Okay. If you’ll look right above that and look at your response on
               February 28th, 2019, at 12:19 p.m., three minutes later, you state, “I would still
               include it.” Do you see that?
               A. I see that.
               Q. Why did you say that?
               A. I don’t know.
               Q. There’s no reason you can think of for why you would have wanted that
               included still?
               A. It would be speculating for me to say.
               Q. Did Bill agree to that?
               A. I don’t know.
               Q. Okay. Is it possible you wanted these
               combined because they were the same business?
               A. I don’t know.

(Exhibit 1, Dep. of Matt Denegre, 122:14-123:14).

   181. Throughout this time, Denegre and Baymark received monthly financial statements from

Windspeed. Denegre has acknowledged this is sworn testimony:

               Q. Did you receive monthly financial statements from Bill Szeto and
               Windspeed Trading in 2019?
               A. Bill Szeto would have shared financial statements with me, yes.

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(Exhibit 1, Dep. of Matt Denegre, 120:24-121:02).

  182. The Transfer of Assets. After forming Windspeed, the Defendants jointly engaged to

fraudulently transfer all of the assets and business operations of ACET Global over to Windspeed.

  183. Szeto has acknowledged the transfer of ACET Global’s inventory to Windspeed in 2018 (long

before the purported “foreclosure” sale):

               Q. (BY MR. FREEMAN) Got it. So in 2018, ACET’s -- ACET Global’s
               inventory was moved?
               A. Yes, in September.
               Q. In 2018, it was -- it was moved to Windspeed’s new office, wasn’t it?
               A. No. It was moved to the trailer.
               Q. You kept it in the trailer during all of 2018?
               A. We did not move into the new office -- the Windspeed Trading new office
               until the end of -- until the end of November.
               Q. Okay. And the ACET Global inventory was not -- was not ever moved
               over to that?
               A. Yes, it was.
               Q. When was it moved over there?
               A. At the same time we move everything.
               Q. So the ACET Global inventory was moved to the new Windspeed office
               in 2018, correct?
               A. Yes.
               Q. Okay. How was it moved?
               A. By hand.
               Q. Just picked it up and carried it all?
               A. Is that what you mean? Yes, somehow. By hand, we have to move it. Is
               that what you mean?

(Exhibit 2, Dep. of William Szeto, 209:01-23).

               Q. When you -- when you transitioned over, did Windspeed start using the
               ACET desks?
               A. The ACET desk?
               Q. Yes, sir.
               A. The desk was moved from the storage unit to the new building. The
               answer is yes, we did use the ACET desk.
               Q. Okay. Did you use the ACET cabinets?
               A. Well, that’s only one cabinet, yes.
               Q. And you used it?
               A. Yes.
               Q. Did you use the ACET computers?
               A. A few of them. And I bought new ones.
               Q. Okay. Did you use the ACET fulfillment desktop computer?

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               A. Yes.
               Q. Did you use the ACET monitors?
               A. Yes, some of them.
               Q. Okay. Did you use the ACET laser printer?
               A. No. It broke before we moved.
               Q. Okay. Did you use the ACET warehouse desk?
               A. Yes.
               Q. Did you use the ACET customer service desk?
               A. Yes.
               Q. Did you use the ACET accounting desk?
               A. Yes.
               Q. Did you use some accounting -- the ACET accounting cabinets?
               A. There were two of them, yes.
               Q. Did you use the ACET CEO desk?
               A. Yes.
               Q. Did you use the ACET CEO chair?
               A. Yes.
               Q. Is that a comfortable chair?
               A. No. I bought a new one after that.
               Q. Did you use the ACET conference table?
               A. Yes.
               Q. Did you use the ACET receptionist desk?
               A. No. It’s sitting out in the lobby. We did not use it.
               Q. Okay. Did you move it over, though?
               A. Well, we moved it over, yes.
               Q. Okay. Just don’t use it much?
               A. No, we don’t have a reception.
               Q. Okay. But it’s still there, correct?
               A. It’s still there, yes.
               Q. Okay. Also, did you move over a couple of ACET chairs for the foyer?
               A. Yes.
               Q. Did you move over --
               A. It’s still sitting in the lobby.
               Q. Okay. Did you move over the ACET refrigerator?
               A. Yes.
               Q. Did you move over the ACET microwave?
               A. Yes.
               Q. Did you move over the ACET water cooler?
               A. Yes.
               Q. Did you move over the ACET folding machine?
               A. Yes.

(Exhibit 2, Dep. of William Szeto, 56:12-58:21).

  184. Notably, Defendants Ketter and Tomerlin assisted the Defendants in moving the inventory

from ACET Global to Windspeed. Ketter and Tomerlin obtained a temporary storage unit at


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CubeSmart Self Storage of Dallas (“CubeSmart”) in September 2018. In an attempt to conceal their

fraud, the Defendants set up the account with CubeSmart only under Tomerlin’s name and using

Tomerlin’s personal address. However, the account email addresses were listed as Lin and Szeto’s

ACET Global email addresses.

   185. Windspeed’s Sale of ACET Global’s Inventory. And right after the transfer to Windspeed,

Windspeed continued selling the inventory with the same customer marketplaces and the same

software used at ACET Global. Dana Tomerlin, who was Windspeed’s “fulfillment manager,” has

testified that:

                  A. We were still shipping. I was still shipping out orders with the different
                  marketplaces.
                  Q. (BY MR. FREEMAN) Using the same software, right?
                  A. Yes.
                  Q. Okay.
                  A. To the best of my knowledge, yes.

(Exhibit 4, Dep. of Dana Tomerlin, 35:11-17).

   186. Hook, who was ACET Global’s “president,” however, has testified that he does not know

where ACET Global’s hundreds of thousands of dollars’ worth of inventory was after the formation

of Windspeed:

                  Q. Okay. Between October of 2018 and March of 2019, where was ACET Global’s
                  inventory located?
                  A. I don’t know.

(Exhibit 3, Dep. of Tony Ludlow, 22:25-23:02).

   187. Denegre has admitted that he and Baymark were receiving reports from Windspeed about

ACET Global’s inventory in 2018 and into 2019. Yet, he could not explain why Windspeed would

have possession of ACET Global’s assets long before the purported (and fraudulent) “foreclosure”

sale:

                  Q. So as of January 2019 and as of 2018, you were receiving reports from
                  Windspeed about ACET Global’s inventory, correct?


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                A. Yes. If that’s the dates on those emails, that would be – that would
                sound correct.
                Q. And that was, in fact, prior to March of 2019, correct?
                A. That would be correct.
                Q. Why is that?
                A. Why is what?
                Q. Why were you receiving reports about ACET Global’s inventory prior to
                March of 2019?
                A. Super G was – well, we were – ACET Global was in default with Super
                G, and Super G was planning to do a foreclosure, and they wanted to see the
                assets.
                Q. Okay. And that’s why you were getting them from Windspeed?
                A. Yes. That’s what – that’s correct.
                Q. And why did Windspeed have them?
                A. I think – I actually don’t know the reason why Windspeed had the assets.
                My guess, a conversation between Super G and Windspeed. I wasn’t part of
                that. I don’t know.

(Exhibit 1, Dep. of Matt Denegre, 163:02-24).

   188. Windspeed Continues its Fraud. In 2018, Windspeed, through its then-employee Torres,

expropriated ACET Global’s website and began to close its bank accounts and divert its payment

accounts. That same year, Windspeed began to hold ACET Global’s inventory out for sale on its

website. As of at least December 12, 2018, Windspeed’s website was a carbon copy of the former

ACET Global website. (See Exhibit 39, Declaration of Tomer Damti ¶¶ 14-16, 20; Exhibit 39, Exhibit

B-6 and B-7). The Windspeed website included postings holding out for sale hundreds of products—

distinct and unique products (such as the Tear of a Fairy Bracelet) that were in fact one and the same

as those reflected on ACET Global’s inventory of items in the Foreclosure Sale Agreement (Id.;

Exhibit 18 (a foreclosure sale that would not, supposedly, take place until the following year when it,

according to Windspeed and Baymark, then gave Windspeed ownership over the inventories,

including the Tear of a Fairy Bracelet)).

   189. Windspeed’s Website was a Copy of ACET Global’s Website. Windspeed’s website on

December 12, 2018 reflects that Windspeed was already marketing inventory items included in Super

G’s Notice of Disposition and Sale of Collateral and the Bill of Sale executed between Super G and


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Windspeed. (Exhibit 39, Exhibits B-3 and B-5). The items include, but are not limited to, the “Iphone

6/6 Plus Sport Armband,” “Mini Portable USB Rechargeable Battery Clip Fan,” and “Bye Bye Clog.”

Id. To be clear, Windspeed copied ACET Global’s website and product descriptions, even down to

an exact product description typographical error. (Cf. Exhibit 39 with Exhibits B-6 and B-7).

  190. No Change in Business. After BP Management; Super G; and Szeto transferred all of

ACET Global’s operations and assets to Windspeed, there was no change in the business operations.

The employees of Windspeed, who had all been employees of ACET Global just days before the

change, have testified that there was no change whatsoever:

               Q. Okay. So Windspeed was finishing up ACET’s business?
               A. Right. Windspeed had nothing to ship at that time.
               Q. So it was just continuing ACET’s business?
               A. Yes.
                               MR. PERRIN: Objection, form.
               Q. (BY MR. FREEMAN) And that was kind of easy because it was all the
               same employees, right?
               A. Right.
                               MR. PERRIN: Objection, form.
               Q. (BY MR. FREEMAN) All the same equipment?
                               MR. PERRIN: Objection, form.
               Q. (BY MR. FREEMAN) It was easy because it was all the -- pretty much
               all the same equipment, wasn’t it?
               A. Yes.
                               MS. HARD-WILSON: Objection.
                               MR. PERRIN: Objection.
               Q. (BY MR. FREEMAN) And it was easy because it was all the same
               vendors, right?
                               MR. PERRIN: Objection, form.
               A. Yes.
               Q. (BY MR. FREEMAN) And it was easy because it was pretty much all the
               same customers, wasn’t it?
               A. Yes.

(Exhibit 2, Dep. of William Szeto, 200:09 - 201:09).

               Q. (BY MR. FREEMAN) The change from ACET Global to Windspeed.
               A. I feel like we are the same group, and we just moved into a new building
               and we’re doing the same business.

(Exhibit 5, Dep. of Jane Lin, 77:04-08).


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               Q. How did Windspeed compare to ACET Global?
                               MS. HARD-WILSON: Objection; form.
               A. It’s another e-commerce company. I continue to do the same. I print
               orders, I pack the orders and ship them out.
               Q. (BY MR. FREEMAN) As far as you could see, were there any changes?
               A. Not in my position.
               Q. Did you see changes in any other position?
               A. No, not that I -- I don’t know.
               Q. Did anyone ever talk to you about how things had thanked in their
               position?
               A. No, not that I remember.
               Q. Did the products noticeably change?
                               MR. PERRIN: Objection; form.
               A. Not that I remember.

(Exhibit 4, Dep. of Dana Tomerlin, 37:17-38:07).

               Q. Were they way different than what you’re -- than what Windspeed sells?
               A. No, they were almost the same. But we just have new products now, and
               I’m more familiar with Windspeed’s products.
               Q. It’s been a little while?
               A. Uh-huh.
               Q. (BY MR. FREEMAN) Are they -- they were pretty much the same, like
               the same basic products?
               A. Yes.
               Q. Okay. Almost the exact --
               A. Mm-hm.

(Exhibit 5, Dep. of Jane Lin, 34:06-17).

               Q. (BY MR. FREEMAN) How did Windspeed compare to ACET Global?
               A. In what aspect? What -- what do you mean?
               Q. How -- yeah. I mean, did they have different businesses?
                              MR. PERRIN: Objection; form.
               A. They are doing e-commerce, too. They were doing e-commerce, too.
               Q. (BY MR. FREEMAN) And how was it different from like what ACET
               Global was doing?
               A. Actually, I’m doing kind of same thing.
               Q. What about others? Were the other employees doing the same thing?
               A. I think so.
               Q. Were -- was the business different?
               A. No. E-commerce. Same -- same thing.
               Q. Same thing?
               A. Mm-hm.
               Q. Was it selling the same types of products?
               A. Yes, same type.
               Q. Same inventory was being sold?
               A. Mm-hm.

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                             MR. PERRIN: Object to form.
               A. But not the same item, but same kind of products.
               Q. (BY MR. FREEMAN) Okay. Same kind of products?
               A. Mm-hm.
               Q. Were there different types of customers or was it the same kinds of
               customers?

(Exhibit 5, Dep. of Jane Lin, 60:14-61:18).

  191. No Accounting for ACET Global’s Assets. There was no accounting prepared when

ACET Global was shut down and no effort to separately account for its inventory. As ACET Global’s

and Windspeed’s internal accountant has testified:

               Q. Did anyone ever ask you to prepare an inventory of what ACET Global
               had when it closed?
               A. No.
               Q. Do you know if anyone ever prepared an inventory of what ACET Global
               had when it closed?
               A. I do not know.
               Q. Okay. Who would have done that if they -- if someone did? Who would
               know how to do that?
               A. Separate inventory?
               Q. Yes, ma’am.
               A. That was too complicated. I do not know.
               Q. Did the accounting system -- would it have allowed someone to do that?
               A. You mean separate inventory?
               Q. Yes, ma’am.
               A. No. I didn’t do it.
               Q. Who else would have kept track of that?
               A. Okay. You mean inventories?
               Q. Yes, ma’am.
               A. In 2018, I -- I don’t think anybody did.

(Exhibit 5, Dep. of Jane Lin, 75:22-76:16).

  192. Windspeed Sold ACET’s Inventory. Windspeed simply continued to sell ACET Global’s

inventory, pocketing the revenues for itself and its owners. As Tomerlin, ACET Global and

Windspeed’s fulfillment manager, testified:

               Q. Okay. How did you distinguish between ACET Global’s inventory and
               Windspeed’s inventory?
               A. I don’t know who owned what.
               Q. Was ACET Global’s inventory moved over to the Windspeed warehouse?


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                A. The inventory -- I’m not sure who owned what inventory, but the
                inventory from the other house was -- I mean, not other house -- the other
                warehouse was moved, yes.
                Q. Okay. Do you know when that was?
                A. September, I believe. October. Sometime the fall of 2018.

(Exhibit 4, Dep. of Dana Tomerlin, 43:06-17).

   193. Indeed, Szeto admits that Windspeed simply continued selling ACET Global’s assets:

                Q. (BY MR. FREEMAN) Got it. And Windspeed just -- Windspeed just
                kept carrying out the sales of that inventory, though, right?
                A. Yes.
                Q. Okay. So Windspeed during this time was selling that old ACET
                inventory --
                A. Yes.
                Q. -- because there were still orders coming in? Was that a yes?
                A. Yes.
                Q. Okay. So Windspeed was selling off all the ACET inventory?
                A. Yes.

(Exhibit 2, Dep. of William Szeto, 219:01-13) (bold added).

   194. No Segregation of Inventory.         In keeping with this fraudulent effort, there was no

segregation of the inventory; it was simply sold off without distinction:

                Q. So what happened with the inventory after that?
                A. Then it was moved to the Windspeed location.
                Q. How long was it in the storage units?
                A. Maybe two months.
                Q. Okay. Were you in charge of moving it back to the -- or, to the new
                office?
                A. Bill Szeto oversaw it, but I did -- I was here, yes.
                Q. Okay. What did you do and what did you see?
                A. I just saw the movers moving everything in, then I locked the door and
                left.
                Q. Okay. And when was that?
                A. Possibly -- maybe November 2018.
                Q. November of 2018?
                A. Possibly, yes.
                Q. Okay. Did all the inventory look like it was still there?
                A. Yes.
                Q. What happened to that inventory after that?
                A. The inventory was here. We -- I continued to print orders and pack and
                ship from the inventory I had on hand.
                Q. Did that include that inventory?
                A. Yes.

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               Q. Okay. Did you sell all of that inventory or --
               A. I --
               Q. -- is it still around?
               A. -- don’t know. I don’t remember. We receive new inventory coming in as
               well.
               Q. Okay. Was it ever -- was that inventory ever segregated in any way?
               A. No, not that I -- no.
               Q. It was just mixed in with everything else?
                                 MR. PERRIN: Objection; form.
               A. Yes.
               Q. (BY MR. FREEMAN) Okay. I’m sorry. Was -- was that inventory
               mixed in with all the other inventory?
               A. Yes. The inventory wasn’t separated.
               Q. Okay. Was it possible to distinguish that inventory from the other
               inventory?
               A. No.
               Q. Okay. Did anyone ever come and take that inventory from Windspeed?
               A. Not that I’m aware of.
               Q. Or, like, did anyone ever come and separate it off and say, “You can’t sell
               this inventory”?
               A. I’m not responsible for selling.
               Q. Okay.
               A. But, no, no one said anything about shipping the inventory.
               Q. Okay. Did Mr. Szeto know that that was -- that inventory was being held
               this way?
                                 MS. HARD-WILSON: Objection; form.
               A. I’m sure he did.
               Q. (BY MR. FREEMAN) Okay. Did Mr. Szeto ever say to segregate that
               inventory?
               A. Not that I remember.
               Q. Did Mr. Szeto ever say to treat that inventory differently or in any
               particular way?
               A. Not that I’m aware of.
               Q. Okay.
               A. The inventory was just placed in the warehouse, and I pulled orders and
               packed those orders and shipped out.
               Q. Okay.
               A. I don’t know who owned or what was going on on that -- that end, on
               selling. I was just packing orders, using the inventory on hand.
               Q. Was there -- was there any other information from ACET Global that you
               know of that did not go into those storage units?
               A. Not that I’m aware of.

(Exhibit 4, Dep. of Dana Tomerlin, 46:20-49:20) (bold added).

  195. Indeed, no one could tell the difference between the inventory. It was simply sold off as

Windspeed continued ACET Global’s business:

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               A. We had ACET Global old inventories in the warehouse at that time . . .
               Q. So in 2018 -- in 2018 Windspeed had some of ACET Global’s old
               inventories?
                                MR. PERRIN: Objection; form.
               A. They were sitting in our warehouse, yes.
                ...
               A. . . . So I know we had old ACET Global inventory in our warehouse and
               we bought a lot of new items for Windspeed, and this -- they’re sitting together;
               so we -- so it’s really hard to, you know, distinguish which one was under
               ACET or which one was under Windspeed.
               Q. Do you know if anyone ever tried to distinguish between them?
               A. No. I don’t think so.

(Exhibit 5, Dep. of Jane Lin, 74:04-75:21).

  196. Windspeed Continued ACET Global’s Business Operations and Relationships.

Windspeed continued to conduct ACET Global’s operations, purchasing new assets and inventory

under ACET Global’s existing accounts.

               Q. (BY MR. FREEMAN) The change from ACET Global to Windspeed.
               A. I feel like we are the same group, and we just moved into a new building
               and we’re doing the same business.

(Exhibit 5, Dep. of Jane Lin, 77:04-08).

               Q. Were they way different than what you’re – than what Windspeed sells?
               A. No, they were almost the same.
               ...
               Q. (BY MR. FREEMAN) Are they -- they were pretty much the same, like
               the same basic products?
               A. Yes.
               Q. Okay. Almost the exact –
               A. Mm-hm.

(Exhibit 5, Dep. of Jane Lin, 34:06-17).

               Q. (BY MR. FREEMAN) How did Windspeed compare to ACET Global?
               A. In what aspect? What -- what do you mean?
               Q. How -- yeah. I mean, did they have different businesses?
                              MR. PERRIN: Objection; form.
               A. They are doing e-commerce, too. They were doing e-commerce, too.
               Q. (BY MR. FREEMAN) And how was it different from like what ACET
               Global was doing?
               A. Actually, I’m doing kind of same thing.
               Q. What about others? Were the other employees doing the same thing?
               A. I think so.

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               Q. Were -- was the business different?
               A. No. E-commerce. Same -- same thing.
               Q. Same thing?
               A. Mm-hm.
               Q. Was it selling the same types of products?
               A. Yes, same type.
               Q. Same inventory was being sold?
               A. Mm-hm.
                              MR. PERRIN: Object to form.
               A. But not the same item, but same kind of products.
               Q. (BY MR. FREEMAN) Okay. Same kind of products?
               A. Mm-hm.
               Q. Were there different types of customers or was it the same kinds of
               customers?

(Exhibit 5, Dep. of Jane Lin, 60:14-61:18).

  197. Szeto likewise confirms that Windspeed was “just continuing ACET’s business.”

               Q. Okay. So Windspeed was finishing up ACET’s business?
               A. Right. Windspeed had nothing to ship at that time.
               Q. So it was just continuing ACET’s business?
               A. Yes.
                               MR. PERRIN: Objection, form.
               Q. (BY MR. FREEMAN) And that was kind of easy because it was all the
               same employees, right?
               A. Right.
                               MR. PERRIN: Objection, form.
               Q. (BY MR. FREEMAN) All the same equipment?
                               MR. PERRIN: Objection, form.
               Q. (BY MR. FREEMAN) It was easy because it was all the -- pretty much
               all the same equipment, wasn’t it?
               A. Yes.
                               MS. HARD-WILSON: Objection.
                               MR. PERRIN: Objection.
               Q. (BY MR. FREEMAN) And it was easy because it was all the same
               vendors, right?
                               MR. PERRIN: Objection, form.
               A. Yes.
               Q. (BY MR. FREEMAN) And it was easy because it was pretty much all
               the same customers, wasn’t it?
               A. Yes.

(Exhibit 2, Dep. of William Szeto, 200:09 - 201:09).

  198. Tomerlin has testified to the same effect:

               Q. How did Windspeed compare to ACET Global?

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                                   MS. HARD-WILSON: Objection; form.
                   A. It’s another e-commerce company. I continue to do the same. I print
                   orders, I pack the orders and ship them out.
                   Q. (BY MR. FREEMAN) As far as you could see, were there any changes?
                   A. Not in my position.
                   Q. Did you see changes in any other position?
                   A. No, not that I -- I don’t know.
                   Q. Did anyone ever talk to you about how things had thanked in their
                   position?
                   A. No, not that I remember.
                   Q. Did the products noticeably change?
                                   MR. PERRIN: Objection; form.
                   A. Not that I remember.

(Exhibit 4, Dep. of Dana Tomerlin, 37:17-38:07).

   199. Windspeed Diverts Revenues and Closes ACET Accounts. Throughout 2018, including

in January 2018 and each month thereafter, the Defendants diverted revenues from Windspeed’s sales

into a Chase Bank account. On January 10, 2019, Szeto—functioning as CEO of both ACET and

Windspeed, and using Windspeed letterhead—directed Chase Bank to close the account down, as the

Defendants would conduct all operations through Windspeed’s accounts from that point forward.

Szeto testified:

                   Q.    So whenever Windspeed sold ACET Global’s inventory, were the
                   revenues going into Windspeed’s bank account?
                                  MR. PERRIN: Objection, form.
                   A. Yes, at that time, but we did not sell anything.

(Exhibit 2, Dep. of William Szeto, 251:21-252:01).

   200. Windspeed Takes Over ACET Accounts. On December 5, 2018, Lin, a former employee

of ACET Global, executed an Authorize.Net Request for a New Account Owner to be the new

account owner of an ACET Global account. Using her Windspeed email address, Lin listed herself as

the “New Account Owner” for an account held in ACET Global’s name. (See Exhibit 39, Exhibit B-

2). This occurred across the board, with Windspeed usurping every ACET Global account.




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  201. Windspeed Usurps ACET Payment Accounts. On December 5, 2018, Windspeed took

ownership and control over an ACET Global payment account, using a Windspeed email address.

This occurred across the board, with Windspeed usurping every ACET Global payment account.

  202. Windspeed Continues to Direct ACET Accounts. On January 10, 2019, Szeto, the CEO

of both ACET Global and Windspeed, issued a memo on behalf of Windspeed and on Windspeed

letterhead, directing the closure of “three accounts under ACET Global LLC,” effective immediately.

(Exhibit 31, Memo Closing Bank Accounts).

  203. IRS Records Reflect that Windspeed Received Revenues During Every Month in 2018.

In 2019, an IRS Form 1099-K was issued reporting that Windspeed had received revenue in every

month of 2018. (Exhibit 39, Exhibit B-8, Groupon, Inc. 2018 Form 1099-K).

            Hallett & Perrin Had Blatant Conflicts of Interest And Fiduciary Duties

  204. Hallett & Perrin Represented Every Side of the Transaction.               Hallett & Perrin

represented all of the parties. For instance, Hallett & Perrin represented Baymark, BP Management;

and ACET Global:

               Q. Who was Baymark Partners’ lawyers?
               A. Hallett & Perrin.

(Exhibit 3, Dep. of Tony Ludlow, 99:01-02).

               20 Q. (BY MR. FREEMAN) Did -- who was Baymark
               21 Partners Management’s attorneys?
               22 A. Hallett & Perrin.

(Exhibit 3, Dep. of Tony Ludlow, 98:20-22).

               Q. Okay. So, now, did – did ACET Global have attorneys?
               A. Yes.
               Q. And who were they?
               A. ACET Global had Hallett & Perrin, Julie -- or
               Gordon at first, and then Julie.

(Exhibit 3, Dep. of Tony Ludlow, 98:6-11).



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  205. Hallett & Perrin represented Windspeed. Cole has acknowledged in testimony that

Hallett & Perrin represented Windspeed in the transaction:

               Q. . . . So counsel to Windspeed Trading was Hallett & Perrin; is that correct?
               A. Yes, I believe so.

(Exhibit 8, Dep.of Marc Cole, 192:03-05).

               Q. (BY MR. FREEMAN) So Hallett & Perrin was representing Windspeed
               Trading in the foreclosure sale agreement with Super G?
                               MS. HARD-WILSON: Objection, form.
               A. Yes, they were representing Windspeed, not Super G.

(Exhibit 8, Dep. of Marc Cole, 188:07-12).

  206. Vanderwoude States that Hallett & Perrin Represented Windspeed.                    During the

transactions at issue, Hallett & Perrin was interacting “closely” with Brian Vanderwoude, an attorney

representing Super G. Vanderwoude repeatedly stated that Hallett & Perrin represented Windspeed:

               Q. Now, Mr. Vanderwoude was the attorney that you were working on this
               transaction with closely, right?
               A. Yes.
               Q. And you and Mr. Vanderwoude were having lots of discussions and
               exchanges of e-mails on this transaction?
               A. I don’t know about the word “lots,” but yes, there were discussions and
               e-mails.
               Q. Y’all were proposing changes for your clients?
               A. We were, yes, proposing changes to the documents.
               Q. Okay. Any idea why Mr. Vanderwoude would be mistaken that you were
               Windspeed’s lawyer?
               A. You’ll have to ask him.

(Exhibit 6, Dep. of Julie Smith, 130:12-25). As another example, Vanderwoude often referred to

Hallet & Perrin as “Windspeed’s lawyer[s]”:




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   207. Hallett & Perrin Repeatedly Coordinated and Interacted with its Client, Windspeed.

Hallett & Perrin attorneys regularly and repeatedly interacted directly with Windspeed one-on-one

(which, of course, it could not have done had it been separately represented). The following screen

shot of communications (with Szeto, CEO of Windspeed) is just an example, as Hallett & Perrin

corresponded to get signature pages on the “foreclosure sale agreement” that it would later backdate

to March 1, 2019:56




56 See Exhibit 35, H&P Email to Szeto.



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   208. As another example, Hallett & Perrin, along with its other client, Baymark (Denegre)

corresponded directly with Windspeed:57




   209. Likewise, Hallett & Perrin corresponded directly with Vanderwoude (Super G’s counsel).

Examples of correspondence are set forth below—exchanges involving an “agreement” between only

two parties: Windspeed and Super G:58




57 See Exhibit 35.
58 See Exhibit 36, Vanderwoude Email to H&P.



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   210. Examples of such Exchanges Abound.                Yet another example of one-on-one

communication between Hallett & Perrin (Windspeed’s law firm) and Vanderwoude is pasted below:59




   211. Hallett & Perrin Now Attempts to Distance Itself From the Windspeed

Representation. Despite drafting and redlining a purported Foreclosure Sale Agreement (six months

after the assets at issue had already been transferred to Windspeed) between only two parties—

Windspeed and Super G—Hallett & Perrin now has attempted to distance itself from having

represented Windspeed.

                 Q. Okay. Let me show you what’s marked as Exhibit 2, Ms. Smith.
                               (Exhibit No. 2 marked.)

5959 See Exhibit 37, H&P Email to Vanderwoude.



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               Q. Are you familiar with this document?
               A. Yes.
               Q. Okay. And what is this?
               A. The foreclosure sale agreement between Windspeed and Super G.
               Q. Okay. Is it dated March 1st, 2019?
               A. Yes.
               Q. And it’s between Windspeed Trading as the buyer and Super G Capital as
               the seller?
               A. Yes.
               Q. Okay. Was anyone else a party to this document, that you recall?
               A. No. It’s a two-party agreement.
               Q. Okay. Just between Windspeed and Super G?
               A. Yes.
               Q. Okay. And do you represent either of those parties?
               A. No.

(Exhibit 6, Dep. of Julie Smith, 32:08-33:03).

               Q. Okay. Were you involved in drafting this document?
               A. I reviewed the document.
               Q. Okay. Did you offer any suggested revisions?
               A. Yes.
               Q. Red lines?
               A. Yes, if I had offered any revisions, I would have red-lined them.
               Q. Okay. So you engaged in drafting and revisions with other attorneys?
               A. Yes.

(Exhibit 6, Dep. of Julie Smith, 33:14-24).

               Q. I’ll show you what’s marked as Exhibit 10.
                               (Exhibit No. 10 marked.)
               Q. Do you see that document?
               A. Yes.
               Q. And are you familiar with that document?
               A. The e-mail?
               Q. Yes, ma’am.
               A. Looks like an e-mail I sent to Brian Vanderwoude. 5
               Q. Okay. It’s an e-mail you sent to Brian Vanderwoude and Jamie Whatley?
               A. Yes.
               Q. Okay. And cc’d Michelle Shriro?
               A. Shriro (different pronunciation).
               Q. Shriro?
               A. Yes.
               Q. On December 19th, 2018?
               A. Yes.
               Q. Subject line, Super G Windspeed-Foreclosure Sale Agreement?
               A. Yes.


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               Q. Okay. And do you say that, attached is a revised draft of the foreclosure
               sale agreement?
               A. Yes.
               Q. Okay. And this document that’s attached, the numbering convention, is
               that a convention that’s used by Hallett and Perrin?
               A. Yes . . . .

(Exhibit 6, Dep. of Julie Smith, 54:08-55:10).

               Q. Okay. So this foreclosure sale agreement was on Hallett and Perrin’s
               document system?
               A. Yes.
               Q. Okay. How many drafts of this document did youmake?
               A. Well, that’s version 3, so I assume version would have come from -- well,
               Dorsey. I don’t know what happened to version 2, so there’s at least versions.

(Exhibit 6, Dep. of Julie Smith, 55:14-22).

               Q. So you didn’t have a client that was going to be executing the foreclosure
               sale agreement?
               A. No.

(Exhibit 6, Dep. of Julie Smith, 57:14-16).

   212. Denegre Instructed Szeto to Keep Windspeed’s Counsel with Hallett & Perrin. Indeed,

Denegre and Baymark Partners directed Szeto to utilize Hallett & Perrin as Windspeed’s counsel:

               Q. (BY MR. FREEMAN) Exhibit 17, sir. Do you recognize this document?
               A. I don’t recognize this.
               Q. Does this appear to be an email from William Szeto, email address at
               bill@windspeedtrading.com to you, Matt Denegre, dated October 19th, 2018?
               A. I see that.
               Q. Okay. And does the subject line state, “New Office”?
               A. Yes.
               Q. And does this, in fact, appear to be a true and correct copy of the email
               exchanged between you and Mr. Szeto on or about that date?
               A. Yes.
               Q. And right below that, is that an email from you, Matt Denegre at your
               address, mdenegre@baymarkpartners.com?
               A. Yes, it is.
               Q. And is that dated October 19th, 2018, and to William Szeto at his
               Windspeed Trading email address?
               A. Yes.
               Q. Okay. Does he state -- do you state, “Using the same counsel shouldn’t
               matter. Unrelated to the separation. It’s going to get confusing using two
               different law firms, and we use Hallett & Perrin on all of our companies”?
               A. That’s what I said.

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(Exhibit 1, Dep. of Matt Denegre, 203:07-204:08).

                  Q. (BY MR. FREEMAN) Okay. Let’s keep going down here, this email
                  from you to Mr. Szeto at 11:09 a.m., Friday, October 19th. You stated -- please
                  tell me if this is correct: “Please keep counsel with Hallett & Perrin after the
                  lease.” Is that correct?
                  A. Yes.
                  Q. Okay. And then you said, “They have all the records from ACET, and
                  that’s who we use on all of our companies.” Is that correct?
                  A. Yes.

(Exhibit 1, Dep. of Matt Denegre, 205:06-15).

                  Q. (BY MR. FREEMAN) Okay. And was this email discussing Windspeed
                  Trading, LLC?
                  A. I believe so.

(Exhibit 1, Dep. of Matt Denegre, 206:05-07).

   213. Hallett & Perrin continued to represent (i) ACET Global, LLC; (ii) Baymark Partners; and

(iii) Windspeed. Super G and its counsel repeatedly referred to Hallett & Perrin as Windspeed’s

counsel:

                  Q. (BY MR. FREEMAN) Okay. In this email on January 18th, 2019, to you
                  from Steve Bellah with the subject line, “re: Merged weekly report
                  (Windspeed),” does Steve Bellah state, “We are waiting for your counsel to
                  turn a document”?
                  A. Again, at 3:42 p.m.?
                  Q. Yes, sir.
                  A. Yes, it says that.
                  Q. What is he referring to? Do you know?
                  A. I don’t know.

(Exhibit 1, Dep. of Matt Denegre, 109:06-15). Vanderwoude and Cole have acknowledged that Hallett

& Perrin represented Windspeed.60 And excerpts from Vanderwoude’s emails bear out the fact that

he, while working closely with Hallett & Perrin, referred to H&P as Windspeed’s lawyers:61




60 See supra p. 89; see also Exhibit 6, Dep. of Julie Smith, 130:12-25; Exhibit 8, Dep. of Marc Cole, 192:03-05; Exhibit 8,

Dep. of Marc Cole, 188:07-12.
61 See Exhibit 38, Vanderwoude’s Reference to Windspeed’s Lawyer.



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                                              The Default

   214. On October 31, 2018, the first monthly installment under the D&T Note became due.

According to the Defendants’ plan, ACET Global failed to pay Plaintiff.

   215. Just weeks before, BP Management, Super G, and Szeto had executed agreements for

Windspeed and had effected the purported transfer of ACET Global’s assets to Windspeed. ACET

Global had millions of dollars of assets and an ongoing business operation.

   216. BP Management, Super G, and Szeto continued their effort to build a retroactive paper trail

to support their theft. After waiting several months after the transfer of ACET Global’s assets and

operations, they initiated an after-the-fact “foreclosure” process to carry out their fraud and to purport


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to transfer the ACET Global assets to Super G (although Super G admits that it never took possession

of any assets) to Windspeed—merely to create documented records to create a false factual record of

an actual foreclosure.

                                      The Foreclosure Notice

   217. On January 31, 2019, Super G (in coordination with Baymark) issued a Notice of Forfeiture

(“Notice”). (Exhibit 17). The Notice was sent to the attention of Hook at his Baymark address (not

the old ACET Global address). A screen shot excerpt of the Notice appears below:




   218. Remarkably, the Notice was issued with all of the parties having full knowledge that the assets

at issue (i.e., ACET Global assets) had all already been transferred months before to Windspeed, an

entity that was beneficially owned and controlled by Super G, BP Management, and Szeto.

   219. Baymark (the beneficial owner of the debtor) repeatedly urged Super G (the lender) to move

forward with the foreclosure. For example, Denegre sent an email to Bellah of Super G, stating “Steve,

I’d like to discuss next steps for ACET Global and get your thoughts on how to move forward with

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foreclosure?” (Denegre 139:25-140:04); (Exhibit 40, Email to Move Forward with Foreclosure) (bold

added). For example, on October 23, 2018, Denegre was pushing Bellah to “move forward with

foreclosure”:




     220. Ludlow was also pushing Super G to hurry up with the foreclosure:

                  Q. Okay. But Baymark Partners was asking them to go ahead and move
                  forward with the foreclosure in 2018, right?
                  A. We did throw that out there.

(Exhibit 3, Dep. of Tony Ludlow, 211:25-212:03).62

     221. Just as remarkably, Super G did not even draft the Notice.63 Hallett & Perrin—who

represented ACET Global, Windspeed, and Baymark—was, however, involved in drafting and

reviewing the Notice. Hallett & Perrin attorneys discussed the Notice with Super G’s counsel before

Hallett & Perrin’s client received the Notice. And Hallett & Perrin even coordinated its transmission




62 In fact, Super G had never done a foreclosure of this nature. It was done at the behest of Baymark.
63       Q. Okay. Were you involved in drafting this notice?
         A. No, signing and sending.
(Exhibit 8, Dep. of Marc Cole, 160:19-21).

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to their client.64 According to testimony from Hallett & Perrin, they were “involved in it and then []

read it and reviewed it.”65

     222. Baymark continued to drive the foreclosure notice and process forward:

                   Q. Okay. I would like for you to look at Exhibit 10, sir. Does this appear to
                   be an email sent from Matt Denegre to Alex Godinez in late January 2019?
                   A. January -- yes.
                   Q. Okay. And is the subject line “Windspeed/ACET”?
                   A. Yes.
                   Q. Okay. Why would there be a subject line of Windspeed/ACET? Do you
                   have any idea?
                   A. I don’t.
                   Q. Okay. Down below, if you’ll look towards the bottom of the -- the first
                   page, Mr. Denegre states, “We still need the dates on when the foreclosure
                   notice got sent out or when you plan to send them out.” Any idea why he’s
                   asking for that?
                   A. No.
                   Q. He says, “Then we can finalize.”
                   A. That -- that’s what it says. But I don’t know why.
                   Q. Okay. He sent this email from his Baymark Partners email address;
                   correct?
                   A. Yes.
                   Q. Okay. And then down below that, does there appear to be an email from
                   Alex Godinez to Mr. Denegre in January 29th, 2019 stating, “Just want -- just
                   wanted to follow up on status for the final version of the foreclosure
                   agreement. Are we good to finalize?” Does that -- did I read that correctly?
                   A. Yes.
                   Q. And this was an email between Alex Godinez at Super G Capital and Matt
                   Denegre at his Baymark Partners email address with the subject line
                   “Windspeed/ACET”; is that correct?
                   A. Yes.
                   Q. Okay. And that’s the same ACET Global that -- that you were the
                   president of at this time; correct?
                   A. Correct.
                   Q. Okay. But you don’t know what he’s referring to?
                   A. I’ve never seen it before.
                   Q. And you don’t know what foreclosure agreement he’s referring to?
                   A. No.

64       Q. Okay. And did you discuss this letter with Super G counsel prior to receiving it?
         A. Yes.
(Exhibit 6, Dep. of Julie Smith 27:07-09).
65       Q. Okay. And were you involved at all in drafting this notice of disposition and sale of
         collateral?
         A. I didn’t draft it. I was involved in it and then I read it and reviewed it. I was not the -- I
         did not initially draft it.
(Exhibit 6, Dep. of Julie Smith, 31:15-19).

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                Q. All right. And no idea if this deals with the assets of ACET Global or the
                assumption of those assets by Windspeed Trading, LLC?
                A. No.

(Exhibit 7, Dep. of David Hook, 129:03-130:24).

   223. The purported “foreclosure” included ACET Global’s entire operating business. According

to Cole:

                A. Super G Capital did a foreclosure on ACET. And when I say “ACET,” I’m
                referring to the operating business.

(Exhibit 8, Dep. of Marc Cole, 21:07-09).

                                        The Foreclosure Sale

   224. No Actual Foreclosure Sale. There was no physical foreclosure sale, given that ACET’s

assets and operations had already been transferred over to Windspeed, and Windspeed continued

those operations and sold off the inventory.

   225. Hook Cannot Remember the Foreclosure. Although he was serving as the president of

ACET Global during the purported “forfeiture,” David Hook has testified that he does not remember

any foreclosure:

                Q. And while you were president of ACET Global, LLC, didn’t Super G
                Capital foreclose on ACET Global’s assets?
                A. While I was president?
                Q. Yes, sir.
                A. I guess so.
                Q. Okay. But you don’t remember that at all?
                A. No.

(Exhibit 7, Dep. of David Hook, 112:14-21).

   226. While the fact that a president of a company does not recall the company’s entire operating

business and assets being foreclosed upon would, under normal circumstances, be rather remarkable,

here that fact is consistent with the reality that no foreclosure actually took place. The Defendants

had Hallett & Perrin create and put the paperwork in place after the fact only to build a record to help

hide their fraud.

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   227. Szeto Gives False Testimony. To cover up the fraudulent transfer, Szeto has falsely testified

that Super G foreclosed upon the ACET Global assets before the formation of Windspeed:

                Q. (BY MR. FREEMAN) So are you telling me that the assets of ACET
                Global were foreclosed upon prior to your formation of Windspeed Trading,
                LLC?
                A. Yes.
                Q. Are you sure about that?
                A. Yes.

(Exhibit 2, Dep. of William Szeto, 22:19-24).

   228. But of course, that is not the case. Once again, the documentation demonstrates that the

testimony is another fabricated lie designed to obstruct judicial proceedings and carry out a fraudulent

scheme. For example, the Foreclosure Sale Agreement itself is dated March 1, 2019 (and that is a

backdated date). And even Super G and Cole admit that the ACET Global assets were not foreclosed

upon until the following year:

                Q. (BY MR. FREEMAN) Okay. Did -- just to be clear, did Super G foreclose
                on ACET Global’s assets in 2018?
                A. No.
                              MR. PERRIN: Objection, form.
                Q. (BY MR. FREEMAN) Did Super G foreclose on ACET Global’s
                assets in October of 2018?
                              MR. PERRIN: Objection, form.
                A. No.

(Exhibit 8, Dep. of Marc Cole, 182:11-19) (bold added).

   229. Moreover, Tomerlin, who packaged and shipped all of ACET Global’s and Windspeed’s

inventory, was never even made aware of any purported foreclosure:

                Q. (BY MR. FREEMAN) Okay. Were there ever any discussions about that
                inventory that came from ACET Global?
                A. I’m not sure what you’re asking.
                Q. Any discussions in particular that -- that you would remember.
                A. Not that I remember.
                Q. Okay. Any discussion with anybody about there being a lien on that
                inventory?
                A. No. I don’t have that information, no.
                Q. Ever any discussion about anybody conducting a foreclosure sale on that
                inventory?

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               A. No, I don’t know that information.
               Q. Really? So nobody ever said anything about some party foreclosing on
               the inventory of ACET Global?
                              MS. HARD-WILSON: Objection; form.
               A. No. I don’t know anything about foreclosing or anything like that.

(Exhibit 4, Dep. of Dana Tomerlin, 50:08-51:01).

   230. Denegre Commits Perjury over Foreclosure Involvement.            To cover up the fraud,

Denegre and Baymark Partners have testified that they were not involved in the foreclosure process

at all:

               Q. (BY MR. FREEMAN) Okay. But you weren’t involved in that process
               at all?
               A. In what process?
               Q. The foreclosure process.
                             MR. PERRIN: Objection; form.
               A. How would I be involved in that?
               Q. (BY MR. FREEMAN) Correct. Were you --
               A. No.

(Exhibit 1, Dep. of Matt Denegre, 89:11-18).

               Q. Okay. And Baymark Partners didn’t have anything to do with the
               foreclosure process, correct?
               A. Correct.

(Exhibit 1, Dep. of Matt Denegre, 212:08-10).

               Q. Even looking at this, you didn’t have anything to do with ACET
               Global’s foreclosure?
               A. Super G foreclosed on ACET. Super G --
               Q. You didn’t have anything do with that?
                                MR. PERRIN: Objection; form.
               A. No.
               Q. (BY MR. FREEMAN) And Baymark Partners didn’t have anything to
               do with that, right?
                                MR. PERRIN: Objection; form.
               A. Nope.
               Q. (BY MR. FREEMAN) And Tony Ludlow didn’t have anything do with
               that, correct?
               A. No.
               Q. And that was completely unrelated to Windspeed Trading, LLC?
               A. What’s that?
               Q. The foreclosure upon ACET Global’s assets.
                                MR. PERRIN: Objection; form.

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               A. Yes.

(Exhibit 1, Dep. of Matt Denegre, 251:01-19).

               Q. Okay. Why did you want to get his thoughts on how to move forward
               with foreclosure?
               A. I can’t recall.
               Q. Was he hesitant to do a foreclosure?
               A. I can’t recall.
               Q. Did Super G not want to do a foreclosure?
               A. I can’t recall.
               Q. Did you keep after them to do a foreclosure?
               A. Can’t recall.
               Q. You can’t recall? You don’t recall this email at all?
               A. No.
               Q. And you don’t recall any discussions about ACET Global’s foreclosure?
               A. I don’t recall specifics.

(Exhibit 1, Dep. of Matt Denegre, 140:11-25).

  231. In fact, however, Denegre and Baymark repeatedly requested the collusive foreclosure and

were the driving force behind it. They were also instrumental in preparing the foreclosure documents:

               Q. Okay. And did you say, “Steve, I’d like to discuss next steps for ACET
               Global and get your thoughts on how to move forward with foreclosure”?
               Did I read that correctly?
               A. Yes.

(Exhibit 1, Dep. of Matt Denegre, 139:25-140:04).

               Q. Okay. And what did you mean by “We are updating the foreclosure
               documents”?
               A. I’m not sure. I’m not sure what documents those are.
               Q. When did you first start preparing foreclosure documents?
               A. I don’t know.
               Q. Do you know what documents you were updating?
               A. I don’t.
               Q. You don’t know what you’re referring to?
               A. I do not.

(Exhibit 1, Dep. of Matt Denegre, 146:03-13).

               Q. Okay. And did you state, “Bill, can you update the sellable inventory list
               for ACET inventory; we are updating the foreclosure documents”? Is that
               correct?
               A. Yes.


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(Exhibit 1, Dep. of Matt Denegre, 143:23-144:02).

               Q. If you look below that, there’s an email from November 2nd, 2018, in
               which Mr. Szeto had sent -- there’s an email exchange between you, Mr. Steve
               Bellah and Bill Szeto. And for sake of clarity, Steve Bellah’s email address is
               spelled out as steve@supergcapital.com. Do you see that?
               A. I see that.
               Q. And is the subject line of that email, “ACET fixed assets, inventory list”?
               A. Yes.
               Q. Okay. And was that an email from you?
               A. Yes, it was.
               Q. Okay. Do you know why you were emailing about that?
               A. I don’t recall. And it would be speculating if I made a call on it.
               Q. Okay. But you don’t remember -- you don’t remember having any email
               correspondence regarding the ACET foreclosure?
               A. Well, Super G had requested some documents around ACET’s assets.
               And so –

(Exhibit 1, Dep. of Matt Denegre, 144:15-145:10).

  232. Denegre’s False Testimony. Indeed, Denegre and Baymark have falsely testified that they

had “nothing” to do with the Foreclosure Sale Agreement:

               Q. Okay. But you didn’t have anything to do with the actual foreclosure
               agreement?
               A. I don’t think so.

(Exhibit 1, Dep. of Matt Denegre, 155:25-156:02).

               Q. Okay. Let’s go down here to the bottom, sir. There’s an email here from
               Alex Godinez on January 29th, 2019, at 5:29 -- 5:23 p.m. to Matt Denegre at
               baymarkpartners.com. Is that you, sir?
               A. Yes, it is.
               Q. Okay. And this email from Alex Godinez at Super G Capital to you with
               the subject line “Windspeed/ACET” says, “Hi Matt, just wanted to follow-up
               on status for the final version of the foreclosure agreement. Are we good to
               finalize?” Did I read that correct, sir?
               A. You did.
               Q. Okay. What is that referring to?
               A. It’s referring to a foreclosure agreement, and I’m not even quite sure what
               that foreclosure is. I’m assuming it’s related to Super G’s foreclosure on
               ACET.
               Q. Okay. Did you have anything to do with that foreclosure agreement?
               A. I don’t think so, other than I provided information to Super G when they
               requested information about the assets.

(Exhibit 1, Dep. of Matt Denegre, 155:04-24).

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   233. Hallett & Perrin Backdated the Foreclosure Sale Agreement. Although the parties, with

the assistance and blessing of their counsel, dated the Foreclosure Sale Agreement and loan documents

as of March 1, 2019, the documents had, in fact, not been completed or executed by that time. As

Hallett & Perrin has testified:

                Q. So wasn’t it, in fact, the case that at least of March 19th, 2019, the loan
                agreement had not been finalized?
                A. It appears so.

(Exhibit 6, Dep. of Julie Smith, 128:23-129:01).

   234. When asked about the Foreclosure Sale Agreement, Hallett & Perrin testified that it was

deliberately backdated:

                Q. -- is that right? When was this document actually signed?
                A. I believe the end of March, to be effective as of March 1st.
                Q. Okay. So does it reflect a date that was earlier than the date it was
                actually executed?
                A. Does the document reflect a date that was earlier than the day it was
                executed?
                Q. Yes, ma’am.
                A. Yes.
                Q. And was that done intentionally?
                A. Yes.
                A. Yes. And so why is it backdated?

(Exhibit 6, Dep. of Julie Smith, 34:12-24).

   235. In attempting to justify the backdating process, Hallett & Perrin testified that it regularly

engaged in backdating and that backdating is not uncommon among large, reputable law firms:

                Q. Okay. Other than this transaction, have you ever backdated a document?
                               MR. PERRIN: Objection, form.
                A. Yes.
                Q. Okay. Is that a standard practice?
                A. I don’t know about standard, but it’s certainly not uncommon.
                Q. At Hallett and Perrin?
                A. Anywhere.
                Q. What other firms have you worked at?
                A. Gibson Dunn & Crutcher.
                Q. Okay. And your experiences that backdating is
                a standard practice?

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                                20 MR. PERRIN: Objection, form.
               A. I don’t know that I would say standard, but it’s not uncommon.
               Q. Okay.
               A. A lot of deals that we do, we’re working with other attorneys representing
               the other side, it’s not uncommon to backdate something.

(Exhibit 6, Dep. of Julie Smith, 35:07-36:01) (bold added).

   236. Hallett & Perrin Drafts the Foreclosure Sale Agreement to Protect Windspeed.

Although it was purportedly representing ACET Global, Hallett & Perrin drafted the Foreclosure Sale

Agreement to ensure that Windspeed (its other client) did not assume the liability to ACET Venture

Partners.

               Q. Okay. So Section 2.3 of this foreclosure sale agreement that you sent, it
               states, no assumption of obligations. Do you see that?
               A. Yes.
               Q. Okay. And it says, notwithstanding anything to the contrary in this
               agreement, buyer is not assuming and shall not be liable for any debt,
               obligation, responsibility, or liability of debtor, seller, or of any other party,
               whether known or unknown, contingent, or absolute or otherwise, and
               whether relating to the purchased assets, the excluded assets, or otherwise,
               including but not limited to any debt, obligation, responsibility, or liability with
               respect to tax, employment, benefits, personal injury or products, liability
               claims, equipment leases, license agreements, or contracts. It goes on to state,
               in furtherance and not in limitation of the foregoing, which seemed to cover
               everything to me, buyer does not assume any liability of debtor or seller under
               the loan agreements that certain secured promissory note dated July 20th,
               2017, payable by debtor to ACET Venture Partners, LLC in the stated
               principal amount of 3,230,000 any equipment lease, any license agreement or
               any other contract or obligation of debtor, its principals, officers, direct
               directors, or any other party or any other person.

(Exhibit 6, Dep. of Julie Smith, 63:18-64:18). Hallet & Perrin’s email correspondence further bears

this out:




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  237. Purchase Price Inexplicably Matches the Super G Note. And although Hallett & Perrin

drafted the purported Foreclosure Sale Agreement, its lead attorney on the transaction could not

explain why the purported “purchase price” of (the amount Windspeed would purport to “pay” to

Super G for) the purportedly foreclosed-upon assets was equal to the amount of the Super G Note:

               Q. Okay. Why was the purchase price equal to the amount of the ACET loan?
               A. I think that was the agreement between the parties.
               Q. Okay. Why was the purchase price not equal to the value of the collateral?
               A. You’ll have to ask Windspeed that.

(Exhibit 6, Dep. of Julie Smith, 75:01-07).

  238. Nonetheless, the transaction was structured such that the “purchase” price of the assets (the

phantom assets that no longer existed or that Windspeed had already usurped half a year earlier) was

equal to the amount that ACET Global owed to Super G (although the parties have maintained and




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testified that the value of the assets had no relationship to the amount owed by ACET Global to Super

G and that Windspeed had no relationship to ACET Global). For example, as Ludlow has testified:

               Q. Around the time of the foreclosure and the foreclosure sale, was the
               amount owed to Super G by ACET Global, was it about 514,000?
               A. If you’ll allow me some room, yes, I yes, I think the original note was 785,
               750, we paid it down to maybe near 400-ish. But what happens is once you go
               into default and get – there are these penalties that show up and accrued
               interest. So it had gone back up to around $500,000 at that time, so yes. That
               was a long answer longer.
               Q. Makes sense. But was it about 514,515 at that time?
               A. Upon foreclosure when they were going to do it, yes.
               Q. And that amount that was owed to Super G by ACET, that was not
               correlated with the value of ACET Global’s assets, correct?
               A. Correct.
               Q. Those were two just totally distinct things?
               A. The assets that they took in foreclosure were vastly less valuable than the
               loan.
               Q. Okay?

(Exhibit 3, Dep. of Tony Ludlow, 174:08-175-04) (bold added).

  239. Super G and Cole Give Conflicting Testimony. Super G and Cole, however, testified that

“Windspeed believed there was more than $516[,000] in value” in ACET’s assets:

               A. I believe they thought the value exceeded or equaled what they were
               paying, which is what rational folks do, which was a note for $516,000.
               Q. (BY MR. FREEMAN) Did they ever indicate that to you?
               A. Well, they indicate it by signing up for the liability. So that was the best
               offer that we had received for the assets.
               Q. So their actions indicated to you that they valued the assets at $516,000 or
               more?
                               MR. BLAKLEY: Objection, form.
                               MS. HARD-WILSON: Objection, form.
               A. Yes.

(Exhibit 8, Dep. of Marc Cole, 54:08-20). The conflicting testimony underscores the lack of candor

and fidelity to their oath by Baymark and Szeto.

  240. Mr. Szeto Executes Foreclosure Sale Agreement. In late March 2019, Szeto (on behalf

of Windspeed) and Cole (on behalf of Super G) executed a Foreclosure Sale Agreement by which

Windspeed purported to purchase all of ACET Global’s inventory (the inventory that Windspeed had


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already been advertising and selling for many months). ACET Global purportedly owed Super G

approximately $514,515. Windspeed did not pay out of pocket; instead, Super G Capital “sold”

Windspeed the inventory for a loan in the amount of $514,144.86. Super G, of course, had warrants

to 40% of the membership of Windspeed. BP Management had warrants to another 40% of the

membership. The Foreclosure Sale Agreement was backdated to reflect a date of March 1, 2019.

  241. OMG! As the transaction neared an end, Hallett & Perrin emailed Denegre to congratulate

him on the transaction:




  242. Notably, however, the transaction at issue (i.e., the Foreclosure Sale Agreement) was directly

between Windspeed and Super G. Hallett & Perrin (Smith) now maintains that it has never

represented Windspeed. Denegre maintains that he has never had anything to do with Windspeed

and knows very little about it. Amazingly, the two were congratulating themselves in March of 2019

as it appeared close that they (“we”) could be close to signing the Foreclosure Sale Agreement—

which, again, ended up reflecting a date of March 1, 2019.




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                                                The Bankruptcy

      243. A Fraudulent Bankruptcy Petition. In 2019, Baymark (Ludlow and Hook, signing on behalf

of Baymark ACET Holdco, LLC) filed a bankruptcy petition on behalf of ACET Global. In their

sworn statement, they acknowledged that Plaintiff had a valid $3.2 million claim against ACET Global.

In that bankruptcy petition, they also informed the bankruptcy court of the value of the assets that

ACET Global had transferred to Super G: $30,000.

      244. Baymark and Ludlow filed the ACET Global bankruptcy petition listing Baymark’s address at

5700 Granite Parkway in Plano, Texas, not ACET Global’s address (which was 1501 10 th Street Suite

100 Plano, Texas 75074). Ludlow falsely used the address of Baymark to ensure that it would maintain

control over the bankruptcy.

      245. Denegre and Ludlow specifically reviewed the bankruptcy petition before filing it.66

      246. Hook, however, maintains that he did not know anything about anyone filing a bankruptcy

for ACET Global—despite the fact that he was the president of the company:

                  Q. Okay. Has Mr. Ludlow ever told you that he did not sign the bankruptcy
                  petition that was filed for ACET Global?
                  A. No.
                  Q. Have you ever had any discussion with him about
                  ACET Global’s bankruptcy?
                  A. No.
                  Q. Okay. Did you ever discuss with anyone ACET Global’s bankruptcy?
                  A. No.
                  Q. Have you ever discussed the possibility thatACET Global might go into
                  bankruptcy?
                  A. I don’t recall.

(Exhibit 7, Dep. of David Hook, 22:12-24).

66        9 Q. Okay. And did you see this document before it
          10 was filed?
          11 A. I did.
          12 Q. Did anyone ask for you input on this document?
          13 A. Yes.
          14 Q. Did anyone ask you to review it?
          15 A. I would have been involved reviewing it.
          (Exhibit 1, Dep. of Matt Denegre, 228:09-15)


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  247. But the reality is that Hook knew that the plan was to place ACET Global into bankruptcy

from the beginning. Indeed, he was openly discussing it with Ludlow in 2017:




  248. Hook also falsely maintains that he and Baymark have never and would never threaten a

creditor with a bankruptcy as leverage:

               Q. Okay. Do you think -- have you ever used the threat of bankruptcy as
               leverage against a creditor?
               A. I do not believe I have in almost 40 years of being involved in companies.
               Q. Do you think that would be wrong, or you’ve just never done it?
               A. I think it would be -- will you repeat the question, please?
               Q. Yeah. Do you think it would be wrong to use the threat of bankruptcy
               against a creditor?
               A. It depends on the circumstance.
               Q. And can you explain what you mean by that?
               A. Well, I -- I’d have to have what the circumstance is.
               Q. Okay. Let’s say a creditor is owed money by a company. Do you think it
               is okay for that company’s directors to threaten bankruptcy?
                                MR. PERRIN: Objection, form.
               A. In almost all cases I would say that...
               Q. (By Mr. Freeman) In almost all cases you would say that. That is your
               answer or --
               A. We have no interest in -- in doing any kind of acts like that.

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(Exhibit 7, Dep. of David Hook, 24:24-25:22).

   249. Nonetheless, Hook utilizes the threat of bankruptcy whenever it provides him with leverage.

               Q. (By Mr. Freeman) Okay. But you don’t recall ever having discussions
               about -- about ACET Global being put into bankruptcy?
               A. No.
               Q. At any point?
               A. No.
               Q. Sir, if you will, I’m putting up what’s Exhibit 34. It’s marked as Exhibit
               34. Do you see this, sir?
               A. Uh-huh.
               Q. And this is an email exchange between you and Tony Ludlow?
               A. Yes, it is.
               Q. And is it an email exchange in December of 2017?
               A. December ‘17, yes.
               Q. Okay. And if you’ll go down to the email from you, at the bottom of the
               first page, on December 13, 2017 from -- from David Hook, it says
               DHook@BaymarkPartners.com. Is that your email address?
               ...

               Q. (By Mr. Freeman) Okay. And there on the second line of that, you said
               “what about bankruptcy for ACET?”
               A. Yes.
               Q. Do you see that? Is that a correct reading of your email?
               A. Yes.
               Q. Okay. And what did you mean by that?
               A. I don’t recall.
               Q. Okay. And you don’t recall having any discussions at all about the
               possibility of ACET Global going into bankruptcy?
               A. No.
               Q. Okay. You don’t recall having any of those discussions with Tony Ludlow;
               correct?
               A. No.
               Q. Okay. Do you recall Mr. Ludlow’s response in which he said it may be an
               option if Super G doesn’t agree to reduce payments?
               A. That’s what it says, uh-huh.

(Exhibit 7, Dep. of David Hook, 26:07-27:25) (bold added).

   250. Indeed, Ludlow and Hook regularly made threats to shut businesses down to gain leverage

against creditors. For example, they made these threats to numerous ACET Global creditors, given

their eagerness to move forward with the Windspeed conversion. Below is a screen shot of one such

threat:

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   251. Baymark, Ludlow, and Denegre used the bankruptcy as an attempt to wash their hands of the

fraud—ultimately, completing the fraudulent scheme.          In the process, Ludlow and Denegre

deliberately caused the bankruptcy petition to present a number of glaring and materially false

statements.

   252. Ludlow Falsely Represents that He is ACET Global’s President.                  Ludlow falsely

represented that he was the president of ACET Global. In fact, he was not, and thus the bankruptcy

petition was not authorized in the first place.

   253. In the section of the bankruptcy petition titled, “Details About the Debtor’s Business or

Connections to Any Business,” Ludlow, Denegre, and Baymark set forth a number of materially false

statements designed to hide the fraud from creditors, trustees, and the court.

   254. For instance, the second question in that section, Question No. 26a, was titled “Books,

records, and financial statements” and required them to “List all accountants and bookkeepers who

maintained the debtor’s books and records within 2 years before filing this case.” The question and

their response follows:



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   255. Despite their knowledge that Lin and Szetzo had maintained these records, Ludlow and his

co-conspirators answered, “None.”67 This was hidden to divert attention from persons with

knowledge of the events described herein.

   256. The next question, No. 26b, stated, “List all firms or individuals who have audited, compiled,

or reviewed debtor’s books of account and records or prepared a financial statement within 2 years

before filing this case.” The question and their response follows:




   257. Despite having directed Lin to prepare multiple financial statements in the months before

filing, Ludlow and his co-conspirators answered, “None.” They did so to prevent the Bankruptcy

Trustee from fully investigating the matter, to misuse the bankruptcy system and to carry out their

fraud.

   258. The next question, Question No. 26c, required them to “List all firms or individuals who were

in possession of the debtor’s books of account and records when this case is filed.” The question and

their response follows:




67 If Szeto’s testimony were true, that could be because they had deliberately failed to inform him about the $3.2 million

D&T Note.

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   259. Ludlow and his co-conspirators falsely stated, “Matt Denegre,” a co-conspirator, despite the

fact that they knew that the books of accounts and records remained in the possession of Windspeed,

Szeto, and Lin, and that Denegre did not in fact have possession of them.

   260. On the next question, Ludlow caused the bankruptcy petition to falsely state that no

inventories of ACET Global had been taken within two years before filing the bankruptcy.

Specifically, Question No. 27 asked, “Have any inventories of the debtor’s property been taken within

two years before filing this case.” The question and their response follows:




   261. Ludlow and his co-conspirators answered, “No,” although they were aware that all of the

debtor’s property and inventories were taken only months before. Indeed, Denegre has since admitted

to this false statement:

                Q. (BY MR. FREEMAN) Right. So within two years before that case, before
                that date, had an inventory of ACET Global’s property been taken?
                A. Yes

(Exhibit 1, Dep. of Matt Denegre, 233:23-234:01).

                Q. And that question asks, “Have any inventories of the debtor’s property
                been taken within two years before filing this case,” correct?
                A. I read that.
                Q. And it says “no” as the answer?
                A. Correct.
                Q. Okay. Is that a correct statement or false statement?
                                MR. PERRIN: Objection; form.
                A. Have any inventories of the debtor’s property been taken within two years
                -- well, given there was a foreclosure, I’m not sure if that’s -- if there was a
                foreclosure, then I’m assuming the answer would have been yes.

(Exhibit 1, Dep. of Matt Denegre, 231:03-16).




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   262. In fact, Ludlow and Denegre specifically discussed the inventory just days before, evidencing

that they deliberately and knowingly provided a false answer to the question on the bankruptcy

petition. Confronted with indisputable evidence, Denegre has admitted under oath that Ludlow and

he exchanged copies of an inventory that had been taken in 2019 (months before the bankruptcy) and

that Ludlow had asked to discuss these documents with him several days before the bankruptcy

petition was filed.

                Q. Okay. If we look down below, is that an email from Tony Ludlow to you
                on October 15th, 2019, with the subject line “Bankruptcy”?
                A. Yes.
                Q. Okay. And does he say to you, “Let’s discuss today”?
                A. Yes, he does.
                ...
                Q. Okay. If this document was filed with a Federal court on October 23rd,
                2019, this email in which you forward both the Voluntary Bankruptcy Petition
                and the foreclosure sale -- bill of sale with the inventory of ACET Global’s
                assets to Mr. Ludlow just a few days before, correct?
                                MR. PERRIN: Objection; form.
                A. So the date on this email says October 16th, 1 2019?

(Exhibit 1, Dep. of Matt Denegre, 242:13-19; 245:18-246:01).

   263. Ludlow’s testimony also implicates the fact that he had reviewed the inventory listing just days

before he filed a bankruptcy petition that knowingly stated that no inventory had been taken or existed.

                Q. Does this appear to be an e-mail from Matt Denegre to you?
                A. Yes, it does.
                Q. And it’s on October 16th, 2019?
                A. Um-hum.
                Q. And it’s got a Subject line of “Bankruptcy” and has a number of
                attachments?
                A. It does.
                Q. And does this appear to be a true and correct copy of the e-mail reflected
                here?
                A. It appears authentic, yes.
                Q. And among those attachments, was there a Bill of Sale attached?
                A. That would indicate that there was. I don’t see it there but that’s not on
                there unless there is an attachment so I assume there was.
                Q. I’ll scroll down on it in just a second. But a number of other attachments
                as well?
                A. Yes.
                Q. (Scrolling.) Does that appear to be the Bill of Sale that’s referenced?

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               A. It does, yes.
               Q. Was -- does that Bill of Sale list or have as an attachment to it an
               inventory of ACET Global’s assets?
               A. Well, again. The word “inventory,” here. So that says “Inventory.”
               . . . But, yes, it appears to be a list of stuff.

(Exhibit 3, Dep. of Tony Ludlow, 150:18-151:24) (bold added).

  264. Indeed, just days before filing the Bankruptcy petition, Denegre and Ludlow had discussed

the inventory issues in depth, and Denegre had forwarded a copy of the inventory items to Ludlow

again on October 16, 2019. An excerpt of that email is pasted below:




  265. That email contained a multi-page inventory of ACET Global’s assets. Among the inventories

was, for example, an inventory of ACET Global’s assets dated January 28, 2019. An excerpt of that

particular ACET Global inventory that was exchanged between Denegre and Ludlow just days before


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they filed a fraudulent bankruptcy petition claiming that no inventory had been taken with two years

of the October 2019 bankruptcy filing is pasted directly below:




  266. Moreover, Ludlow and his co-conspirators falsely answered the next question: Question No.

28, requires “List the debtor’s officers, directors, managing members, general partners, members in

control, controlling shareholders, or other people in control of the debtor at the time of the filing of

this case.” Indeed, Denegre has since admitted to this false statement:




  267. They listed only “Baymark ACET Holdco, LLC,” in an attempt hide other persons from the

trustee or any creditor regarding the matter.


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   268. Ludlow and his co-conspirators then falsely answered the next question. Question No. 29

asked, “Within 1 year before the filing of this case, did the debtor have officers, directors, managing

members, general partners, members in control of the debtor, or shareholders in control of the debtor

who no longer hold these positions.”




   269. Ludlow and his co-conspirators then falsely answered the next question. Question No. 30

was titled “Payments, distributions, or withdrawals credited or given to insiders.” It asked, “Within 1

year before filing this case, did the debtor provide an insider with value in any form, including salary,

other compensation, draws, bonuses, loans, credits on loans, stock redemptions, and options

exercised.”




   270. Ludlow and his co-conspirators then falsely answered the next question. Question No. 31

asked, “Within 6 years before filing this case, has the debtor been a member of any consolidated group

for tax purposes.” ACET Global’s tax reporting was rolled up into the tax return of ACET Holdco.




   271. Ludlow signed the bankruptcy petition directly below this section, and directly under a

“WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property,


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or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up

to $500,000 or imprisonment for up to 20 years, or both.” In doing so, he falsely stated that his

position was “President.”

  272. Question No. 20 “Off-premises storage” “List any property kept in storage units or

warehouses within one year before filing this case.” Ludlow and his co-conspirators falsely answered

“None” to hide the fraudulent transfer of assets for their benefit.




  273. Question no 18, “Closed financial accounts,” “Within 1 year before filing this case, were any

financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,

moved, or transferred.” Ludlow and his co-conspirators referred only to accounts they claimed were

closed in “2018” and that had “0” balances:




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   274. However, Szeto closed three ACET Global bank accounts in 2019, after diverting funds from

those accounts to Windspeed. (Exhibit 31). He closed the accounts using his Windspeed letterhead.

A screen shot of the letter is reflected below:




   275. Question No. 13 – “List any transfers of money or other property by sale, trade, or any other

means made by the debtor or a person acting on behalf of the debtor within 2 years before the filing

of this case to another person, other than property transferred in the ordinary course of business or

financial affairs. Include both outright transfers and transfers made as security.” Ludlow and his co-

conspirators provided a false answer: “None.”




   276. Among other false statements, they had just recently caused the transfer of all of ACET

Global’s assets to Windspeed, a company in which they and Super G had a combined 80-percent

economic interest. Ludlow and Hook had previously filed a tax return stating that ACET Global had



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paid a management fees of $112,500 to another company that Ludlow and Hook wholly owned. In

testimony, Hook could not explain this discrepancy:

               Q. (By Mr. Freeman) Okay. On Baymark ACET Holdco, LLC’s tax return,
               if you’ll look at the twentieth page of the PDF, there’s a line for a management
               fee?
               A. Yes.
               Q. Management fee of $112,500; is that correct?
               A. Yes.
               Q. Did you report that expense to the federal government?
               A. That’s what the tax return says.
               Q. Okay. Now, are you aware your lawyers have represented that there was
               no management fee?
                                 MR. PERRIN: Objection, form.
               A. I don’t recall us ever taking a management fee out of the company.
               Q. (By Mr. Freeman) Okay. Why is -- why is Baymark ACET Holdco taking
               a deduction for $112,500?
               A. I don’t know.

(Exhibit 7, Dep. of David Hook, 159:04-21).

  277. Question No. 14 required that Ludlow and his co-conspirators “[l]ist all previous addresses

used by the debtor within 3 years before filing the[e] case and the dates the addresses were used.”

They checked “Does not apply.”




  278. Question No. 8 required that Ludlow “[l]ist any property in the hands of an assignee for the

benefit of creditors during the 120 days before filing this case.” He checked “None.”




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   279. Question No. 5, required that Ludlow list the “value of property” obtained by a creditor within

1 year before the bankruptcy.




   280. Ludlow falsely stated that the property was valued at “$30,000” and that the transfer was made

“01/2019.” Ludlow knew this was false. In fact, at around the same date that he signed the

bankruptcy petition, Ludlow signed another document (a federal tax return) stating that ACET

Global’s assets were in excess of $3.1 million.68

                  Q. But basically. Any reason to believe that anything recorded in this return
                  is false or incorrect?
                  A. Not materially, no.
                  Q. And there’s a -- particularly a Schedule L,
                  A, which is the balance sheet.
                  A. Yep.
                  Q. And it states that there was a beginning --beginning balance for “Total
                  assets,” if you look here at line 14B, a beginning balance in 2019 of a little
                  over $3 million in assets?
                  A. Yeah, I see it.

68 (Exhibit 3, Dep. of Tony Ludlow, 121:14-122:11; 123:12-24).



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                   Q. And do you believe that to be -- have been correct?
                   A. Well, yes.

(Exhibit 3, Dep. of Tony Ludlow, 134:08-21)69

   281. In addition, Ludlow had caused Windspeed to purport to purchase the assets at issue for

$514,144 just a few months before.

   282. Question No. 4 stated: “Payments or other transfers of property made within 1 year before

filing this case that benefited any insider.”                 “List payments or transfers, including expense

reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed

or cosigned by an insider . . . Insiders include officers, directors, and anyone in control of a corporate

debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the

debtor and insiders of such affiliated; and any managing agent of the debtor.”




69 This was also consistent with the 2018 tax return filed by Hook.


         Q. (By Mr. Freeman) Okay. If you’ll look down there within Schedule L, there is a line, line
         And if you will look over to the right, there’s a -- there’s a box for the end-of-the-year value.
         A. That’s right, uh-huh.
         Q. And did you report to the federal government that there were assets of $3.169 million as
         of 12-31-2018?
         A. Intangible assets.
         Q. Right?
         A. Yes.
         Q. Okay. And that’s what you reported to the federal government was held by Baymark
         ACET Holdco, LLC as of 12-31-2018; correct?
         A. Correct.
         Q. Okay. And all that you’re aware of it holding is its interest in ACET Global, LLC; correct?
         A. Like I said, probably.
         Q. Right. And you were the president of that company; correct?
         A. Correct.
(Exhibit 7, Dep. of David Hook, 158:03-23).

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   283. Ludlow and his co-conspirators falsely and knowingly answered the question, “None.”

   284. Ultimately, Ludlow and Baymark caused and oversaw the transfer of all of ACET Global’s

assets to Windspeed in 2018—approximately one year prior to causing a fraudulent bankruptcy

petition to be filed. Ludlow sat on the Windspeed board. Ludlow and Hook held themselves out as

officers of ACET Global. Baymark controlled Windspeed and beneficially owned 40% of Windspeed.

Ludlow, Hook, Denegre and all of the Baymark-affiliated defendants were insiders. Likewise, Super

G beneficially owned 40% of Windspeed. Super G held a board seat on Windspeed. It exercised an

extraordinary degree of control under highly unusual circumstances. Courts have held that creditors

with unusual influence are insiders. See e.g., In re Tankersley, 382 B.R. 522 (Bkrtcy. D. Kan. 2008).

Likewise, Szeto held himself out as the CEO and president of ACET Global and Windspeed. Szeto

was an insider as well. Yet Ludlow, Denegre, and the Baymark Defendants deliberately failed to

disclose this.

                            Super G’s Attempt to Cover Up the Fraud

   285. In early 2019, Damti called Bellah to inform Bellah that Baymark had started Windspeed,

thinking Damti’s and Super G’s interests were aligned (i.e., not knowing of the collusive fraud). Bellah,



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however, stated that he was unaware of Windspeed—despite the fact that Bellah was already serving

as Super G’s board manager of Windspeed. He indicated that Super G had no interest in pursuing

any action against Baymark. His statements were designed to deliberately mislead Damti, the principal

of D&T Partners.

  286. Super G employed questionable and fraudulent tactics to avoid sharing information during

the investigation of this matter. For example, Super G and Cole employed an attorney who sent the

following email to undersigned counsel:




(Exhibit 41, Email with Super G Counsel). The highly irregular and untrue claims underscore the

Defendant’s obstructionist efforts and further evidence the fraud.

                                    The Rest of the Cover Up

  287. Baymark ACET Holdco LLC and the Baymark Defendants made yet another admission. In

2019, they reported to the IRS that they received “Proceeds (sales price)” of “$2,907,290” from a

“SALE FROM FORECLOSURE” for a transaction in 2019 on assets that were “acquired” on

“07/21/17” (the date of the APA).




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   288. Ludlow States “Shut the Fuc* Up” During Denegre’s Deposition. During the deposition

testimony of Denegre in a separate matter—immediately after a question regarding the importance of

the fraudulent foreclosure—Ludlow interrupted during Denegre’s testimony, stating “Matthew, shut

the fuc* up.”70 Following this statement, Denegre “could not recall” further facts or information

about the foreclosure.

   289. Ludlow is a licensed attorney and CPA in the state of Texas. In Ludlow’s subsequent

deposition, he compounded his bad faith and lack of candor by falsely claiming that he made the

statement because he believed that Denegre had already answered the question. Ludlow testified as

follows on the point:

                  Q. Were you concerned at all about the content of his response?
                  A. No, because -- again, I’m going from memory. I think he’d already answered
                  a couple of times. I don’t want to guess. The record will show if that’s true or
                  not. From what I remember, I think he had already answered two or three
                  times. So I wasn’t worried about the fourth answer, I guess.

(Exhibit 3, Dep. of Tony Ludlow, 74:12-19).

   290. Ludlow’s testimony was false.              The transcript of Denegre’s testimony reflects—quite

literally—that Denegre had not answered the question:

                  Q. Okay. Why did you believe the foreclosure was important?
                                MR. PERRIN: Objection; form.
                  A. When did I indicate that?
                  Q. (BY MR. FREEMAN) Well, did you believe it was important?
                  A. I’m not sure I have an answer to that.
                  Q. Why do you not have an answer to that?
                  A. It was important for closure on the business.
                                MR. LUDLOW: Matthew, shut the fuck up.

(Exhibit 1, Dep. of Matt Denegre, 128:17-129:01) (bold added).

   291. Ludlow, after being confronted with his false testimony to cover up his prior obstruction,

testified as follows:


70 See Exhibit 1, Dep. of Matt Denegre, 128:17-129:01.



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                  Q (BY MR. FREEMAN) You had -- I had asked about the outburst during
                  Mr. Denegre’s deposition and my understanding from your testimony was you
                  were concerned that I might have been going a little hard on him.
                  A. Yeah, it was more of an emotional response than what you were doing.
                  Concern for Matt.
                  ...
                  A. I just had frustration over the fact that -- for Matt because it looked like --
                  I could see the look on his face, and he was -- like I said, he has trouble hearing,
                  and he was leaning in, and so it was just -- a question that was asked, but
                  I believe it was answered a few times, and asked. As you do, you ask the
                  same question multiple different ways, and so I felt he had answered the
                  question. So I was saying that it’s -- to myself, if I was Matt, it’s okay. Just be
                  quiet. You’ve said enough.
                  Q. Okay. It wasn’t a concern that the answer he was giving was sensitive,
                  problematic?
                  A. No. No. As a matter of fact, well -- I don’t know, I’m sure you’ve asked me
                  or will ask me the same questions, and I’m sure we can cover can it. I don’t
                  know what his answers were to those questions or those that you come back
                  around to, so...

(Exhibit 3, Dep. of Tony Ludlow, 127:21-129:20) (bold added).

      292. Ludlow’s partner, Hook (who serves as the managing member of Baymark), has testified that

he has no opinion on whether Ludlow’s statements—”Matthew, shut the fuc* up”—made during

Denegre’s deposition were appropriate or inappropriate.71

      293. Szeto and Baymark Deleted all ACET Global Emails. In addition, Szeto and Baymark

deliberately caused the loss and destruction of key ACET Global emails and electronic evidence.

Indeed, even though they knew that they had just caused a breach of the $3.2 million D&T Note, the

parties ensured that ACET Global’s emails and electronic files would be destroyed. The obligation to



71       Q. . . . Would -- do you approve of Mr. Ludlow’s instruction to Mr. Denegre during his
         deposition?
                            MR. PERRIN: Objection, form.
         A. I -- I don’t know.
         Q. (By Mr. Freeman) You don’t have an opinion on whether it was appropriate to make the
         statement “shut the fuck up”?
         A. No, I don’t know the other circumstances in the conversation.
         Q. Okay. So you don’t have an opinion on whether it was appropriate for Mr. Ludlow to
         instruct Mr .Denegre to shut up during his deposition?
                            MR. PERRIN: Objection, form.
         A. No.
(Exhibit 7, Dep. of David Hook, 11:03-16).

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safeguard the evidence at that time was unequivocal. But, of course, they caused the destruction of

the evidence because they had just executed a fraudulent transfer of all of ACET Global’s assets and

business operations to Windspeed—they wanted to destroy evidence that would lead back to them.

This occurred while at least three people were holding themselves out as “president” of ACET Global:

(i) Hook; (ii) Ludlow; and (iii) Szeto. And Denegre had purported to exercise the authority to fire

ACET’s CEO. Szeto testified under oath as follows regarding lost emails:

               Q. So you lost all of your ACET Global emails around the time that you started
               Windspeed?
               A. Yes.
               Q. And that you lost all of the employees’ ACET Global emails about the time
               you formed Windspeed?
               A. Yes.
               Q. Did you make a backup of those emails?
               A. No.
                               MS. HARD-WILSON: Objection, form.
               A. We did not make a backup of those emails.

(Exhibit 2, Dep. of William Szeto, 124:11-20).

               Q. So all of your ACET Global emails were gone? A. As far as I know, they
               were all gone.
               Q. And that’s all your correspondence with Matt Denegre?
               A. As far as I know, all emails were gone when we stop paying them.
               Q. And your correspondence with David Hook was all gone?
                               MR. PERRIN: Objection, form.
               A. I don’t think there was any exception. They were all gone, yes.
               Q. (BY MR. FREEMAN) So also all of your correspondence with Tony
               Ludlow was gone?
                               MR. PERRIN: Objection, form.
               A. Yes.
               Q. (BY MR. FREEMAN) And all your correspondence with Baymark Partners
               was gone?
                               MR. PERRIN: Objection, form.
                               MS. HARD-WILSON: Objection, form.
               A. Yes.
               Q. (BY MR. FREEMAN) All your correspondence with Super G was gone?
                               MS. HARD-WILSON: Objection, form.

(Exhibit 2, Dep. of William Szeto, 123:03-25).

               17 A. That the emails on their server were cleared
               18 out because of nonpayment. They don’t hold that data

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                19 after a certain amount of time.
                20 Q. So those emails had all been deleted?
                21 A. If you want to call it deleted, I guess that’s
                22 he appropriate way. They don’t keep data after a
                23 certain amount of time.
                24. Those emails had been destroyed, correct?
                25 MR. PERRIN: Objection; form.
                1A. Yes, the third-party website or hosting site
                2 would have gotten rid of those emails.

(Exhibit 2, Dep. of William Szeto, 260:07-261:0).

   294. Ludlow, the president of ACET, indeed confirms that they took no steps to secure the emails

or electronic data:

                Q. . . . Did Bill indicate that he had taken any steps to preserve all of those
                ACET Global e-mails in October of 2018 when ACET Global defaulted on
                the seller note?
                A. No, he didn’t.
                Q. And did you take any steps to secure those ACET Global e-mails in
                October of 2018 or thereafter around the time that ACET Global had
                defaulted on the seller note?
                A. No.
                Q. Did anyone from ACET Global take any steps to preserve those e-mails?
                A. No steps were taken after the nonpayment.

(Exhibit 3, Dep. of Tony Ludlow, 122:02-13). The emails were deleted to cover up and further the

fraud.

   295. Windspeed Deleted its Website. Following the depositions of Windspeed employee and

Szeto, in which undersigned counsel raised questions about Windspeed’s website (and noted the fact

that it was a carbon copy of ACET Global’s prior website), the Defendants caused Windspeed’s

website to be completely removed from publication on the internet. Despite multiple requests to

Szeto’s counsel that all website data be maintained and safeguarded, undersigned counsel has not

received any confirmation that the website has been safeguarded. Further, Szeto’s counsel has refused

to provide any status or a description of the steps taken to ensure its safekeeping. It is unclear whether

the data has been deleted or is recoverable. The website contained highly relevant evidence and

demonstrated the fraudulent transfers.

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   296. Tax Returns. Hook and Ludlow filed a 2019 Form 1065 reporting the activities of ACET

Global, all of which rolled up into Baymark ACET Holdco, LLC, which Baymark Partners owned.

That 2019 Form 1065 reported net income attributable to ACET Global of $1,463,298. A screen shot

from the tax return is set forth below:




   297. The tax return that Hook and Ludlow executed under penalty of perjury reflected that ACET

Global had total assets as of the beginning of 2019 of $3,023,970. A screen shot from the tax return

is set forth below:




   298. Moreover, the tax return that Hook and Ludlow executed under penalty of perjury reported

that ACET Global stated that the Baymark defendants obtained proceeds from ACET Global of

$2,907,290. A screen shot from the tax return is set forth below:




   299. Under cross examination, Hook acknowledged:

                Q. (By Mr. Freeman) Okay. If you’ll look down there within Schedule L,
                there is a line, line 12. And if you will look over to the right, there’s a -- there’s
                a box for the end-of-the-year value.
                A. That’s right, uh-huh.
                Q. And did you report to the federal government that there were assets
                of $3.169 million as of 12-31-2018?
                A. Intangible assets.
                Q. Right?
                A. Yes.
                Q. Okay. And that’s what you reported to the federal government was held
                by Baymark ACET Holdco, LLC as of 12-31-2018; correct?
                A. Correct.


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               Q. Okay. And all that you’re aware of it holding is its interest in ACET Global,
               LLC; correct?
               A. Like I said, probably.
               Q. Right. And you were the president of that company; correct?
               A. Correct.

(Exhibit 7, Dep. of David Hook, 158:03-23) (bold added).

               Q. (By Mr. Freeman) Okay. On Baymark ACET Holdco, LLC’s tax return,
               if you’ll look at the twentieth page of the PDF, there’s a line for a management
               fee?
               A. Yes.
               Q. Management fee of $112,500; is that correct?
               A. Yes.
               Q. Did you report that expense to the federal government?
               A. That’s what the tax return says.
               Q. Okay. Now, are you aware your lawyers have represented that there was
               no management fee?
                                 MR. PERRIN: Objection, form.
               A. I don’t recall us ever taking a management fee out of the company.
               Q. (By Mr. Freeman) Okay. Why is -- why is Baymark ACET Holdco taking
               a deduction for $112,500?
               A. I don’t know.

(Exhibit 7, Dep. of David Hook, 159:04-21).

               Q. Okay. Now, there’s also, on Page 17, seventeenth page of this PDF, there
               is a -- there’s a form that lists a sale from foreclosure. Do you see
               that?
               A. Yes.
               Q. Okay. And does it state that the assets at issue, the date acquired
               was 7-21-17?
               A. Yes.
               Q. And that is, in fact, the date that you executed the asset purchase
               agreement?
               A. I don’t know.
               Q. Okay. It states that, in column C, the date sold or disposed of was
               1-1-2019. Do you see that?
               A. Yes.
               Q. And then does it state that the proceeds were $2,907,290?
               A. Yes.

(Exhibit 7, Dep. of David Hook, 161:08-24) (bold added).

  300. Issued a K-1 to Tomer Damti. In 2020, the Baymark Defendants caused a K-1 to be issued

to Damti, reporting $365,824 of income to him attributable to ACET Global. The K-1 appears to


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have been issued as a bad-faith, abusive litigation tactic during prior litigation before the matters at

issue were consolidated into this federal court Complaint. Excerpts of the K-1 (excerpted to protect

disclosure of tax id numbers) are below, reflecting the attribution of more than $365,000 to Damti,

despite the fact that Damti (the principal/owner of D&T Partners) (i) never received a single payment

on the $3.2 million note and (ii) never received a single penny from the operations of ACET Global

following the sale to Baymark in 2017:




                                              V. CLAIMS

                       Count I: Violations of 18 U.S.C. § 1962(c) (Civil RICO)
                                          (All Defendants)

   301. Plaintiff realleges paragraphs 1-300 as if set forth fully herein.

   302. All Defendants violated 18 U.S.C. § 1962(c), injuring Plaintiff and giving rise to liability under

18 U.S.C. § 1964(c).

   303. Under 18 U.S.C. § 1964(c):

                Any person injured in his business or property by reason of a violation of
                section 1962 of this chapter may sue therefor in any appropriate United States
                district court and shall recover threefold the damages he sustains and the cost
                of the suit, including a reasonable attorney’s fee, except that no person may
                rely upon any conduct that would have been actionable as fraud in the
                purchase or sale of securities to establish a violation of section 1962. The
                exception contained in the preceding sentence does not apply to an action
                against any person that is criminally convicted in connection with the fraud, in
                which case the statute of limitations shall start to run on the date on which the
                conviction becomes final.


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   304. 18 U.S.C. § 1962(c) provides as follows:

                It shall be unlawful for any person employed by or associated with any
                enterprise engaged in, or the activities of which affect, interstate or foreign
                commerce, to conduct or participate, directly or indirectly, in the conduct of
                such enterprise’s affairs through a pattern of racketeering activity or collection
                of unlawful debt.

   305. Defendants are each a “person” within the meaning of 18 U.S.C. § 1961(3).

   306. The Defendants together form an association-in-fact (along with being separate legal

enterprises) for the common and continuing purpose of fraudulently transferring the assets out of the

reach of Plaintiff and intentionally defaulting on payment obligations to Plaintiff. This constitutes an

enterprise within the meaning of 18 U.S.C. § 1961(4). The members of the enterprise functioned as a

continuing unit with an ascertainable structure separate and distinct from that of the culpable

individuals. The Defendants, together, directed the enterprise by fraudulently facilitating the

foreclosure sale to avoid payment of amounts owed to Plaintiff, in addition to other fraudulent acts

meant to conceal the illegal activity, such as the filing of a fraudulent bankruptcy petition. The

employees of both ACET Global and Windspeed facilitated the fraudulent transfer. At the direction

of Szeto, they each gave demonstrably false testimony during depositions and coordinated with Szeto

to provide misleading and false information to carry out the frauds of the enterprise.

   307. The enterprise engaged in and affected interstate commerce. Plaintiff is a legal entity formed

under the laws of the State of Texas and with its principal office based in Texas. Defendants, namely

Super G (based in California), utilized email and other forms of correspondence, in addition to wiring

funds, across state lines.

   308. The Defendants, each a distinct person associated with the enterprise, did conduct or

participate, directly or indirectly, in the affairs of the enterprise through a pattern of racketeering

activity within the meaning of 18 U.S.C. §§ 1961(1), 1961 (5), and l962(c).



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   309. Predicate acts of racketeering activity are acts that are indictable under provisions of the U.S.

Code enumerated in 18 U.S.C. § 1961(1)(B), as more specifically alleged above and below. The

Defendants committed at least two such acts or aided and abetted the acts committed by other

members of the enterprise.

   310. Specifically, the Defendants committed wire fraud by facilitating a fraudulent transfer to avoid

loan obligations payable to Plaintiff. Defendants committed acts constituting indictable offenses under

18 U.S.C. §§ 1343 (wire fraud), 152 (false oaths and claims involving bankruptcy), 157 (bankruptcy

fraud), 1956 (money laundering), and 1957 (engaging in monetary transactions in property derived

from specified unlawful activity).

   311. Defendants committed acts constituting the aiding and abetting of offenses under 18 U.S.C.

§§ 1343 (wire fraud), 152 (false oaths and claims involving bankruptcy), 157 (bankruptcy fraud), 1956

(money laundering), and 1957 (engaging in monetary transactions in property derived from specified

unlawful activity).

   312. The acts of racketeering were not isolated. Rather, they were related in that they had the same

or similar purpose and result, participants, victims, and method of commission. Further, the acts of

racketeering by the Defendants have been continuous. There was repeated conduct during a period

beginning at least as early as 2018 and continuing to the present, and there is a continued threat of

repetition of such conduct, as Defendants have continued to operate the fraudulent enterprise.

   313. Defendants participated in the management and operation of the association-in-fact

enterprise by managing, facilitating, and committing multiple acts of racketeering as described above

and below.

   314. The unlawful actions of Defendants have proximately caused and continue to cause injuries

to Plaintiff under 18 U.S.C. § 1964(c). Specifically, the Defendants’ violations of these statutes resulted




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in the failure to pay millions of dollars owed to Plaintiff. Furthermore, Plaintiff would not have

entered into any transaction with Defendants if it had knowledge of the Defendants’ plan to defraud.

   315. Plaintiff accordingly seeks an award of three times the damages it sustained based on the

amount due to Plaintiff under the applicable agreements, and the recovery of reasonable attorneys’

fees and costs of investigation and litigation, as well as any other relief as authorized by statute.

                Count II: Violations of 18 U.S.C. § 1962(a) (Civil RICO)
(Baymark Partners, Ludlow, Hook, Denegre, Super G Capital, SG Credit Partners, Baymark
                                Partners Management)

   316. Plaintiff realleges 1-315 as if set forth fully herein.

   317. All Defendants violated 18 U.S.C. § 1962(a), injuring Plaintiff and giving rise to liability under

18 U.S.C. § 1964(c).

   318. Under 18 U.S.C. § 1964(c):

                Any person injured in his business or property by reason of a violation of
                section 1962 of this chapter may sue therefor in any appropriate United States
                district court and shall recover threefold the damages he sustains and the cost
                of the suit, including a reasonable attorney’s fee, except that no person may
                rely upon any conduct that would have been actionable as fraud in the
                purchase or sale of securities to establish a violation of section 1962. The
                exception contained in the preceding sentence does not apply to an action
                against any person that is criminally convicted in connection with the fraud, in
                which case the statute of limitations shall start to run on the date on which the
                conviction becomes final.

   319. 18 U.S.C. § 1962(a) provides as follows:

                It shall be unlawful for any person who has received any income derived,
                directly or indirectly, from a pattern of racketeering activity or through
                collection of an unlawful debt in which such person has participated as a
                principal within the meaning of section 2, title 18, United States Code, to use
                or invest, directly or indirectly, any part of such income, or the proceeds of
                such income, in acquisition of any interest in, or the establishment or operation
                of, any enterprise which is engaged in, or the activities of which affect,
                interstate or foreign commerce.

   320. Defendants are each a “person” within the meaning of 18 U.S.C. § 1961(3).




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   321. The Defendants, either directly or indirectly, received income from the pattern of racketeering

activity through the fraudulent transfer (avoiding amounts payable to Plaintiff), and the proceeds were

reinvested back into the enterprise. The Defendants also, directly or indirectly, received income from

the continued operation of Windspeed, and that income was then used or invested back into the

enterprise. There may also be other members of the enterprise who are unknown at this time.

   322. The enterprise engaged in and affected interstate commerce.

   323. Predicate acts of racketeering activity are acts that are indictable under provisions of the U.S.

Code enumerated in 18 U.S.C. § 1961(1)(B), as more specifically alleged above and below. The

Defendants committed at least two such acts or aided and abetted the acts committed by other

members of the enterprise.

   324. Defendants committed acts constituting indictable offenses under 18 U.S.C. §§ 1343 (wire

fraud), 152 (false oaths and claims involving bankruptcy), 157 (bankruptcy fraud), 1956 (money

laundering), and 1957 (engaging in monetary transactions in property derived from specified unlawful

activity).

   325. Defendants committed acts constituting the aiding and abetting of offenses under 18 U.S.C.

§§ 1343 (wire fraud), 152 (false oaths and claims involving bankruptcy), 157 (bankruptcy fraud), 1956

(money laundering), and 1957 (engaging in monetary transactions in property derived from specified

unlawful activity).

   326. The acts of racketeering were not isolated. Rather, they were related in that they had the same

or similar purpose and result, participants, victims and method of commission. Further, the

Defendants acts of racketeering have been continuous. There was repeated conduct during a period

of time beginning at least as early as 2018 and continuing to the present, and there is a continued

threat of repetition of such conduct.




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   327. Defendants participated in the management and operation of the association-in-fact enterprise

by managing, facilitating, and committing multiple acts of racketeering as described above and below.

   328. The unlawful actions of Defendants have proximately caused and continue to cause injuries

to Plaintiff under 18 U.S.C. § 1964(c). Specifically, the Defendants’ violations of these statutes resulted

in the failure to pay millions of dollars owed to Plaintiff. Furthermore, Plaintiff would not have

entered into any transaction with Defendants if it had knowledge of the Defendants’ plan to defraud.

   329. Plaintiff accordingly seeks an award of three times the damages it sustained based on the

amount due to Plaintiff under the applicable agreements, and the recovery of reasonable attorneys’

fees and costs of investigation and litigation, as well as any other relief as authorized by statute.

                    Count III: Violations of 18 U.S.C. § 1962(d) (Civil RICO)
                                        (All Defendants)

   330. Plaintiff realleges paragraphs 1-329 as if set forth fully herein.

   331. Each Defendant violated RICO and Plaintiff was injured as a result.

   332. All Defendants violated 18 U.S.C. § 1962(d), injuring Plaintiff and giving rise to liability under

18 U.S.C. § 1964(c).

   333. Under 18 U.S.C. § 1964(c):

                Any person injured in his business or property by reason of a violation of
                section 1962 of this chapter may sue therefor in any appropriate United States
                district court and shall recover threefold the damages he sustains and the cost
                of the suit, including a reasonable attorney’s fee, except that no person may
                rely upon any conduct that would have been actionable as fraud in the
                purchase or sale of securities to establish a violation of section 1962. The
                exception contained in the preceding sentence does not apply to an action
                against any person that is criminally convicted in connection with the fraud, in
                which case the statute of limitations shall start to run on the date on which the
                conviction becomes final.

   334. 18 U.S.C. § 1962(d) provides as follows:

                It shall be unlawful for any person to conspire to violate any of the provisions
                of subsection (a), (b), or (c) of this section.

   335. Defendants are each a “person” within the meaning of 18 U.S.C. § 1961(3).

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   336. The Enterprise.      The Defendants form an association-in-fact for the common and

continuing purpose described herein and constitute an enterprise within the meaning of 18 U.S.C. §

1961(4) engaged in the conduct of their affairs through a continuing pattern of racketeering activity.

The members of the enterprise functioned as a continuing unit with an ascertainable structure separate

and distinct from that of the conduct of the pattern of racketeering activity.

   337. Alternatively, Baymark constitutes a separate enterprise within the meaning of 18 U.S.C. §

1961(4).

   338. Alternatively, Windspeed constitutes a separate enterprise within the meaning of 18 U.S.C. §

1961(4).

   339. Alternatively, Super G and/or SG Partners constitutes a separate enterprise within the

meaning of 18 U.S.C. § 1961(4).

   340. The association-in-fact enterprise and the alternative enterprises, as alleged herein, were not

limited to the predicate acts and extended beyond the racketeering activity. Rather, they existed

separate and apart from the pattern of racketeering activity for the legitimate business purpose of

investment and management.

   341. Interstate or Foreign Commerce. The activities of the enterprise or the predicate acts of

racketeering affected interstate commerce. For instance, Super G operated in California and loaned

or extended funds to persons and entities in Texas based upon the acts at issue, and ACET Global

and Windspeed conducted online economic transactions across states and internationally.

   342. Pattern of Racketeering Activity. Defendants, each of whom are persons associated with,

or employed by, the enterprise, did knowingly, willfully and unlawfully conduct or participate, directly

or indirectly, in the affairs of the enterprise through a pattern of racketeering activity within the

meaning of 18 U.S.C. § 1961(1), 1961(5), and 1962(c). Defendants’ regular and repeated use of the




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facilities and services of the enterprise made the racketeering activity possible. Defendants had the

specific intent to engage in the substantive RICO violation alleged herein.

  343. Predicate acts of racketeering activity are acts that are indictable under provisions of the U.S.

Code under 18 U.S.C. § 1961(1)(B). Defendants each committed at least two such acts or else aided

and abetted such acts.

  344. Mail Fraud. The Defendants acted under a scheme or artifice to defraud. They engaged in

a scheme to fraudulently transfer assets in violation of the Texas Uniform Fraudulent Transfer Act

(TUFTA).

  345. The Defendants acted under a scheme or artifice for the purpose of obtaining money or

property by means of false or fraudulent pretenses, representations, or promises.

  346. The Defendants or someone associated with the scheme used the mails or “caused” the mails

to be used. For instance, on or around January 31, 2019, the Defendants caused the mailing the Notice

of Forfeiture. The use of the mails was for the purpose of executing the scheme.

  347. Wire Fraud. The Defendants acted under a scheme or artifice to defraud. They engaged in

a scheme to fraudulently transfer assets in violation of the Texas Uniform Fraudulent Transfer Act

(TUFTA).

  348. The Defendants acted under a scheme or artifice for the purpose of obtaining money or

property by means of false or fraudulent pretenses, representations, or promises.

  349. The Defendants or someone associated with the scheme used wires for the purpose of

executing the scheme. For example, as set forth above, the Defendants communicated extensively via

email and over the internet.

  350. Obstruction of the Due Administration of Justice. The Defendants, through illegal

instructions during depositions, solicitation of perjury, obstructionist actions, and perjurious

testimony, corruptly or by threats or force, or by any threatening letter or communication, influenced,


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obstructed, or impeded, or endeavored to influence, obstruct, or impede, the due administration of

justice in violation of 18 U.S.C. § 1503.

   351. Concealment of Assets, False Oaths.             The Defendants knowingly and fraudulently

concealed from a trustee or creditor or other office of the court with a case under title 11 property

belonging to the estate of a debtor in violation of 18 U.S.C. § 152(1); knowingly and fraudulently made

a false oath or account in or in relation to a case under title 11 in violation of 18 U.S.C. § 152(2);

knowingly and fraudulently makes a false declaration, certificate, verification, or statement under

penalty of perjury in relation to any case under title 11 in violation of 18 U.S.C. § 152(3); as an agent

or officer of any person or corporation, in contemplation of a case under title 11 by or against the

person or any other person or corporation, or with intent to defeat the provisions of title 11, knowingly

and fraudulently transferred or concealed property in violation of 18 U.S.C. § 152(7); after the filing

of a case under title 11 or in contemplation thereof, knowingly and fraudulently concealed, destroyed,

mutilated, falsified, or made a false entry in recorded information (including books, documents,

records, and papers) relating to the property or financial affairs of ACET Global in violation of 18

U.S.C. § 152(8).

   352. The violations set forth in the immediately preceding paragraph constitute a “specified

unlawful activity” under 18 U.S.C. § 1956 (money laundering). The Defendants, knowing that

property involved in a financial transaction represented the proceeds of a form of unlawful activity

conducted such financial transaction involving the proceeds of such specified unlawful activity with

the intent to promote the carrying on of the specified unlawful activity or knowing that the transaction

was designed in whole or in part to conceal or disguise the nature, the location, the source, the

ownership, or the control of the proceeds of specified unlawful activity, all in violation of 18 U.S.C. §

1956 (money laundering). 18 U.S.C. § 1956 (money laundering) is a predicate offense to a Civil Rico

charge.


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   353. These racketeering activities have been continuous. They were part of a concerted plan carried

out over the period of several years, and the defendants have continued to engage in racketeering

activities as part of an ongoing effort to obstruct justice to carry out their fraud.

   354. The defendants have demonstrated that they pose a continued threat. They continue to

disregard any obligation to pay the multi-million-dollar debt at issue. Their continued activities will

harm additional victims and will continue to jeopardize the business operations and assets at issue.

   355. The racketeering activities are related to each other. Indeed, they were critical pieces of the

overall fraud.

   356. As alleged above, all Defendants conspired to violate 18 U.S.C. §§ 1962(a) and 1962(c).

   357. Plaintiff accordingly seeks an award of three times the damages it sustained based on the

amount due to Plaintiff under the applicable agreements, and the recovery of reasonable attorneys’

fees and costs of investigation and litigation, as well as any other relief as authorized by statute.

                            Count IV: Common Law Fraud
  (Baymark Partners; Denegre; Szeto; Super G Capital; Cole; Ludlow; Denegre; and Hook)

   358. Plaintiff repeats and realleges each and every allegation contained in the paragraphs above as

if set forth here in full.

   359. The Defendants made materially false representations to Plaintiff with the knowledge of their

falsity or with reckless disregard of the truth with the intention that Plaintiff act on those

representations, and Plaintiff relied on these representations to its detriment. As a proximate result of

this fraud, Plaintiff sustained the damages described more fully herein.

                                Count V: Breach of Fiduciary Duty
                     (Ludlow; Szeto; Hook; Denegre; Baymark ACET Holdco)

   360. Plaintiff repeats and realleges each and every allegation contained in the paragraphs above as

if set forth here in full.




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      361. During the period when ACET Global became insolvent or was in the zone of insolvency,

ACET Global, Ludow (as president), Szeto (as president and CEO), Hook (as president), Denegre (as

acting president), and Baymark ACET Holdco (collectively, the “Fiduciary Claim Defendants”) owed

a fiduciary duty of care to preserve the assets of ACET Global for the benefit of its creditors, including

Plaintiff.72 The Fiduciary Claim Defendants breached their fiduciary duty by willfully and/or through

gross negligence (i) allowing the business and assets to waste, (ii) failing to cause ACET Global to pay

under the D&T Note, and (iii) failing to cause ACET Global to otherwise comply with the terms of the

D&T Note. The Fiduciary Claim Defendants’ breaches resulted in injury to Plaintiff, and also

significant benefit to Defendants.

      362. During the relevant time, ACET Global did not make any payments to Plaintiff. Instead, the

Fiduciary Claim Defendants caused ACET Global to remit revenues and/or accrued payments to the

ultimate benefit of Baymark Management, LLC in the form of Management Fees. As ACET Global’s

financial conditions declined, the Fiduciary Claim Defendants continued to allow ACET Global to make

payments and/or accrue payments to Baymark Management, LLC.                         These payments constituted

improper self-dealing transactions. The improper payments and neglect/waste of the business were the

proximate cause of the damages suffered by Plaintiff. The Fiduciary Claim Defendants caused the

transfer of all of ACET Global’s assets and business operations to Windspeed, a company that they

owned and controlled. This transfer violated their fiduciary duties. It constituted improper self-

dealing.




72       Q. (By Mr. Freeman) Okay. So, at this point, even though you’re still president of
         ACET Global, were you taking any steps to attempt to protect the interests of any
         creditors of ACET Global?
                                     MR. PERRIN: Objection, form.
         A. Like I said many times, I wasn’t involved in the decisions for the company.
         Q. (By Mr. Freeman) Okay. So, as president of ACET Global, you weren’t involved
         in any decisions with respect to the company? A. Yes.
(Exhibit 7, Dep. of David Hook, 86:09-19).

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   363. The conduct of the Fiduciary Claim Defendants was intentional, willful, and/or grossly

negligent. Thus, the Fiduciary Claim Defendants are liable for exemplary and/or punitive damages.

              Count VI: Aiding and Abetting Breach of Fiduciary Duties to Plaintiff
                                      (All Defendants)

   364. Plaintiff repeats and realleges each and every allegation contained in the paragraphs above as

if set forth here in full.

   365. The Defendants (collectively in this section, the “Aiders and Abettors”) aided and abetted the

Fiduciary Claim Defendants in breaching the duties of care and loyalty they owed to Plaintiff.

   366. The Aiders and Abettors knew or should have known that ACET Global was insolvent, and

because it was insolvent, ACET Global owed a fiduciary duty to manage its assets for the benefit of

its creditors, including Plaintiff. The Aiders and Abettors directly controlled Baymark Management,

LLC and its operations inured to their personal benefit. Baymark Management, LLC, and the

Fiduciary Claim Defendants knowingly participated in self-dealing described above by accepting

payments or obligations for management fees from (directly or indirectly) ACET Global while the

Aiders and Abettors had actual knowledge that ACET Global was insolvent. Baymark Management,

LLC’s acceptance, through the efforts of the Aiders and Abettors, of payments from ACET Global

aided and abetted ACET Global in breaching the fiduciary duties owed to Plaintiff. The actions of

the Aiders and Abettors in aiding and abetting such acts were materially and substantially detrimental

to Plaintiff and caused substantial damages to Plaintiff.

                         Count VII: Texas Uniform Fraudulent Transfer Act
                                         (All Defendants)

   367. Plaintiff repeats and realleges each and every allegation contained in the paragraphs above as

if set forth here in full.

   368. The Defendants violated the Texas Uniform Fraudulent Transfer Act, Tex. Bus. & Comm.

Code 24.001 et seq., by transferring substantially all of the assets of ACET Global to Windspeed. These


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transfers were made after or within a reasonable time before Plaintiff’s claims arose. These transfers

and obligations are also fraudulent because the Defendants made the transfers and obligations with

actual intent to hinder, delay, or defraud Plaintiff.

   369. Hook and Ludlow caused ACET Global to be used for the purpose of perpetuating and did

perpetuate actual fraud (i.e., fraudulent transfers) on D&T Partners primarily for one or both of Hook

and Ludlow’s direct personal benefit. These fraudulent transfers involved dishonesty of purpose or

intent to deceive because the transfers were made with the actual intent to hinder, delay, or defraud

any creditor. Further, the transfers were primarily for the direct personal benefit of Baymark Partners,

Super G, and Szeto because all of the assets transferred out of ACET Global went into Windspeed,

which was controlled by BP Management, Super G, and Szeto. ACET Global was a sham to

perpetuate a fraud.

   370. Baymark caused ACET Global; Baymark Partners, LP; BP Management; Super G; SG Credit,

Baymark ACET Holdco, LLC; Baymark ACET Direct Invest, LLC; Baymark Management, LLC;

Baymark; and Windspeed (collectively, the “Transfer Defendants”) to be used for the purpose of

perpetuating and did perpetuate actual fraud (i.e., fraudulent transfers) on D&T Partners primarily for

Baymark’s direct personal benefit. These fraudulent transfers involved dishonesty of purpose or intent

to deceive because the transfers were made with the actual intent to hinder, delay, or defraud any

creditor. Further, the transfers were primarily for the direct personal benefit of Baymark because all

of the assets transferred out of ACET Global went into Windspeed, which was ultimately controlled

by Baymark. The Transfer Defendants were a sham to perpetuate a fraud.

                                     Count VIII: Civil Conspiracy
                                          (All Defendants)

   371. Plaintiff repeats and realleges each and every allegation contained in the paragraphs above as

if set forth here in full.



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   372. Defendants, in combination with one another, agreed to accomplish for an unlawful purpose

or a lawful purpose by unlawful means, each of the violations described above, including to breach

the fiduciary duties owed to Plaintiff. Defendants had a meeting of the minds on the object or course

of action to divert Plaintiffs funds and property under the above causes of action. One or more of the

Defendants committed an unlawful, overt act to further this object or course of action. Plaintiff has

suffered a substantial injury as a proximate result of these wrongful acts.

                                            VI. DAMAGES

   373. Plaintiff seeks monetary relief over $5,000,000 plus treble damages, attorneys’ fees, and costs.

   374. As a result of the foregoing causes of action, Plaintiff suffered the following damages:

                •   Nonpayment of a $3.2 million note plus interest;

                •   Costs incurred in pursuing collection;

                •   Direct and compensatory damages;

                •   Lost profits from the operation of its pre-existing business;

                •   Loss of goodwill;

                •   Inability to engage in new business operations;

                •   Exemplary damages.

   375. Plaintiff further specifically pleads for the remedy of rescission.

   376. Plaintiff further specifically pleads for the remedy of piercing the veil of ACET Global, LLC;

Baymark Partners, LP; Baymark Partners Management, LLC; Super G Capital, LLC; SG Credit

Partners, LLC, Baymark ACET Holdco, LLC; Baymark ACET Direct Invest, LLC; Baymark

Management, LLC; Baymark Partners; and Windspeed Trading, LLC.

   377. Plaintiff further specifically pleads for the remedy of a determination that there is no limited

liability for any director, owner, or other agent of Baymark Partners (or, if it is a different entity,

Baymark Partners, LP).

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The conduct of the Defendants was intentional, willful, and/or grossly negligent. As such, they are liable

for exemplary and/or punitive damages.

                                            VII.     PRAYER

        WHEREFORE Plaintiff asks to be awarded a judgment against Defendants for actual

damages, rescission, court costs, attorney’s fees, and all other relief to which Plaintiff is entitled.

                                                   Respectfully submitted,

                                                           By: /s/ Jason Freeman________________
                                                           Jason B. Freeman
                                                           TX Bar No. 24069736

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